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                          EXHIBIT 1
          To Defendant’s Motion for Summary Judgment

                 Excerpts and exhibits from the
              Deposition of Plaintiff Deborah Helton
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1                      IN THE UNITED STATES DISTRICT COURT
2                            MIDDLE DISTRICT OF GEORGIA
3                                      MACON DIVISION
4       DEBRA HELTON,                              )
5               Plaintiff,                         )        Civil Action
6       vs.                                        )        5:21-CV-00404
7       THE GEO D. WARTHEN BANK,                   )        Volume I of II
8               Defendant.                         )
9
10                                VIDEO DEPOSITION OF:
11                                     DEBRA HELTON
12                                     June 8, 2022
13                                  170 College Street
14                                     Macon, Georgia
15                                Commencing 10:13 a.m.
16                                Adjourning 12:28 p.m.
17                              Susan M. Breedlove, CCR
18                              Mike Brown, Videographer
19
20
21
22
23
24
25

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1       APPEARANCES:
2
3       FOR THE PLAINTIFF:
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1                          CERTIFICATE OF REPORTER
2
3                   I, Susan M. Breedlove, certified court
4       reporter for the State of Georgia, do hereby certify
5       that the foregoing was reported by me at the time and
6       place set out in the caption hereof, and that the
7       foregoing constitutes a true and accurate transcript of
8       the same.
9                   I further certify that I am not related to
10      any of the parties, nor am I an employee of or related
11      to any of the attorneys representing the parties, and I
12      have no financial interest in the outcome of this
13      matter.
14                  I have hereunder subscribed my hand on the
15      17th dat of June, 2022.
16
17                                <%11662,Signature%>
18                                Susan M. Breedlove, CCR B-817
19
20
21
22
23
24
25

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1                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
2                                       MACON DIVISION
3
        DEBRA HELTON,
4
                           Plaintiff,
5                                                       CIVIL ACTION FILE
                    vs.
6                                                       NO. 5:21-cv-00404-MTT
7       THE GEO. D. WARTHEN BANK,                       VOLUME II of II
8                          Defendant.
9
10                                      DEPOSITION OF
                                        DEBRA HELTON
11
12                                      June 8th, 2022
                                Commencing at 1:10 p.m.
13                              Concluding at 3:27 p.m.
14
15                          Held at Cooper, Barton & Cooper
                                   170 College Street
16                               Macon, Georgia         31201
17
18             Reported by Deborah J. Combs, RPR, CCR-B-1000
19
20
21
22
23
24
25

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                                                                   Page 94

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13      The Videographer:
14      Mike Brown,
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1
                                     CERTIFICATE
2
        STATE OF GEORGIA:
3
        GEORGIA, BIBB COUNTY:
4
5                   I, Deborah J. Combs, Certified Court
6       Reporter, State of Georgia, Certificate No. B-1000,
7       CERTIFY that acting in such capacity, I reported the
8       testimony herein, and on the foregoing pages have
9       transcribed a true and correct transcript thereof.
10                  I FURTHER CERTIFY that I am not counsel
11      for, nor am I related to any party to the above case;
12      nor am I interested in the event or outcome.
13      WITNESS my hand and official seal as Certified Court
14      Reporter, State of Georgia, Certificate No. B-1000
15      this 29th day of June, 2022.
16
17
18
19
20                                      <%11662,Signature%>
                                        Deborah J. Combs, RPR, CCR
21                                      Certificate No. B-1000
22
23
24
25

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                                                                   Page 11

1       morning.    In total.      To prepare for today's deposition,
2       how much time, total, did you spend?
3              A    I don't know the direct answer to your
4       question, but this has been going on since October of
5       2019, so I have been preparing since October of 2019 to
6       get this done.
7              Q    Is that when you first started anticipating a
8       potential legal claim against the Bank?
9              A    Well, no, I was fired October 9th of 2019.
10      So, October -- November.
11             Q    October, November of 2019?
12             A    2019.
13             Q    Okay.     So by no later than that date, you
14      were anticipating -- you believe that your legal rights
15      have been violated?
16             A    Yes.
17             Q    And you were anticipating a possible claim?
18             A    Yes.
19             Q    Okay. Let me get back to your preparation.
20      Aside from your lawyers -- and your lawyers are Ken and
21      Emily here in the room with us, right?
22             A    Yes.
23             Q    And their firm?
24             A    Yes.
25             Q    Have you spoken with anyone else about your

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1               Q   Okay, so you signed and dated this Notice of
2       Designation of Attorneys on November the 25th, 2019,
3       right?
4               A   Uh-huh (affirmative).              I signed it that day.
5               Q   Okay.     But it says effective date November
6       19th, 2019, right?
7               A   That is correct.
8               Q   I assume you anticipated litigation or a
9       legal claim against the Bank before going to see a
10      lawyer?
11              A   Yes.
12              Q   Okay. So it would have been certainly before
13      November the 19th, 2019, that you anticipated the
14      claim?
15              A   Yes.
16              Q   Okay. All right. Now, as I mentioned, I'm not
17      going to ask you about every -- every detail right now.
18      I want to get a general understanding of your claim,
19      and then we'll get more specific as we go forward,
20      okay?
21              A   Okay.
22              Q   But, basically, what you're alleging in this
23      EEOC charge is that you believe that the Bank
24      discriminated against you because of your age and
25      because of your sex; is that right?

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1              A     Yes.
2              Q     Okay.    And the form of discrimination, or the
3       adverse action, was your termination?                That was the
4       event, right?
5              A     Right.
6              Q     Okay.    Now, am I correct to assume that you
7       didn't personally type all of the words on this letter?
8              A     Correct.
9              Q     Okay.    But am I also correct to assume that
10      you would have read this and made sure that it was
11      accurate before it was submitted?
12             A     Yes.
13             Q     All right. And, on the fourth page of Exhibit
14      1, you declared under penalty of perjury that the
15      information in the charge was true and correct.
16             A     Yes.
17             Q     All right.       Were there any other lawyers that
18      you communicated with but that you did not retain?
19             A     Yes, there was a lady in Augusta, but I
20      cannot remember her name.
21             Q     And did someone refer you to the Cooper
22      partner firm or did you find them on your own?
23             A     I found them on my own.
24             Q     Was that through like a Google search?
25             A     I don't know. I guess I was just reading and

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1       behavior by women.        That's the gist of the allegation,
2       right?
3              A     That's the gist, yes.
4              Q     All right, so let's go -- let's go to the
5       claims.     Like I said, we're going to kind of cover the
6       middle later, but let's go to page 17.               Next, we're
7       going to have you look at page 17 and page 19. You see
8       what I'm doing?
9              A     Okay.
10             Q     All right.       So you've got two claims or
11      causes of action in this lawsuit. One is wrongful
12      termination under the Age Discrimination and Employment
13      Act. And the other is wrongful termination in violation
14      of Title Seven of the Civil Rights Act. Is that right?
15             A     Yes.
16             Q     Okay. In the Civil Rights Act, the wrongful
17      termination that you're alleging there is based on your
18      sex, correct?
19             A     Correct.
20             Q     Okay.    So you're alleging both age and sex
21      discrimination, right?
22             A     Yes.
23             Q     Okay.    Now, you -- you're the only plaintiff
24      in this case, right?          You haven't filed a class action
25      lawsuit against the Bank, have you?

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1              A     No.
2              Q     Okay, and you're alleging that you were
3       intentionally discriminated against because of your age
4       and your sex, right?
5              A     I don't know that it was intentionally, I
6       know that it happened.
7              Q     Okay, but let me ask it differently. You're
8       not alleging that there was like a neutral -- facially
9       neutral policy that weeds out women and older workers
10      at the Bank, are you?
11                   MR. BARTON:       Object to form.       You can answer.
12                   THE DEPONENT:        I am not alleging. What I'm
13             saying is that if a man raised his voice at
14             another employee, female employee, there was never
15             anything said or done about it.
16      BY MR. BENNETT:
17             Q     Right. But you're saying that you were
18      treated differently than men and younger employees,
19      right?
20             A     Yes.
21             Q     All right. So let me make sure I understand
22      this -- and those are your only two claims, right?
23      You've got age discrimination and sex discrimination.
24      You're not alleging disability or anything like
25      that --

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1              Q      Okay.   So it's both the fact that you are a
2       woman and you're older.
3              A      Yes.
4              Q      But it's mainly the fact that you're a woman.
5              A      Yes.
6              Q      Okay.   So it -- was it a combination of those
7       two things, or are you alleging that you were
8       terminated because you were a woman who was accused of
9       doing the things that you did?
10             A      I was a woman.
11                    MR. BENNETT:       Why don't we take a short
12             break?
13                    VIDEOGRAPHER:       Off the record.       The time is
14             11:08.
15                    (Off the record)
16                    VIDEOGRAPHER: Back on the record.             The time
17             is 11:23.
18      BY MR. BENNETT:
19             Q      Okay, Ms. Helton, we're back from short
20      break.      I want to kind of go through your employment
21      history, okay?
22             A      Okay.
23             Q      So you were first hired by the Bank in 1988
24      as a bank teller, right?
25             A      Correct.

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1              Q     All right. Did you have an interview?
2              A     Yes.
3              Q     Do you remember who interviewed you?
4              A     I do not.
5              Q     Do you remember who the bank president was at
6       the time
7              A     Chris Irwin.
8                    COURT REPORTER:          I'm sorry?
9                    THE DEPONENT:        Chris Irwin, I-r-w-i-n.
10      BY MR. BENNETT:
11             Q     Okay.    Was Ken Bibb employed by the Bank at
12      that time?
13             A     No.
14             Q     When did he come on?
15             A     I believe 2001 -- 2000, 2001.
16             Q     Okay, and what -- what was the next position
17      you held at the Bank after the bank teller?
18             A     I went from bank teller to the CDs and IRAs.
19      At some point in there, I was moved to the branch
20      office and worked on the teller line and did CDs and
21      IRAs and new accounts when needed.
22             Q     What do you mean by the branch office?
23             A     The one that they closed in October of '16.
24             Q     Okay.
25             A     Actually, I was hired at the main office. We

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1       remember.
2              Q     You don't have any information that was
3       anything less than voluntary on her part, correct?
4              A     No, it was voluntary. She and Ronnie May
5       retired at the same time.
6              Q     All right.       At some point after that you
7       became the company's compliance officer, correct?
8              A     Correct.
9              Q     And that was also a decision made by Ken
10      Bibb, right?
11             A     Right.
12             Q     How old were you -- first of all, that was
13      2009, correct?
14             A     I believe so.
15             Q     So you were 47?
16             A     Yes.
17             Q     Was that when you were given that role? You
18      went from loan officer to compliance officer. So that
19      was a lateral move, right?
20             A     Yes.
21             Q     And you didn't get like a raise in pay at
22      that time that, did you?
23             A     I don't believe so.              Let's back up just a
24      minute, if you don't mind.             I actually went to Ken. The
25      compliance officer at that point in time was having

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1       some health issues. And so I went to Ken and asked, if
2       he needed a compliance officer, could I please be the
3       compliance officer?         And he -- because he laughed and
4       said, you're really asking me to be the compliance
5       officer?
6              Q     And who was the former compliance officer?
7              A     Jimmy Jones.
8              Q     Jimmy Jones?
9              A     Uh-huh (affirmative).
10             Q     And did -- did he --
11             A     He's --
12             Q     -- leave because of health issues?
13             A     He retired because of health issues.
14             Q     You don't have any information that he was
15      asked to retire, do you?
16             A     I do not.      I can find out, but I don't think
17      so.
18             Q     Well, you wouldn't have any --
19             A     I don't have any information.
20             Q     You weren't -- you weren't privy to any such
21      discussions, right?
22             A     No.
23             Q     Okay, how old was Jimmy at the time you
24      replaced him in the compliance officer position?
25             A     Estimating in his late fifties. I don't know

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1       for sure.
2              Q     Okay.    And then who replaced you in the loan
3       officer position when you became the compliance
4       officer?
5              A     I kept my loan portfolios, so I did lending
6       and compliance.
7              Q     So you were not replaced?
8              A     No.
9              Q     Okay, as a compliance officer, you were
10      required to be familiar with the company's policies and
11      procedures. Is that right?
12             A     You were -- I was responsible for being
13      familiar with the regulations set by the government.
14             Q     Right. But as a person who was employed by
15      the Bank for over 30 years, am I correct to assume that
16      you were familiar with the company's policies and
17      procedures as described in the employee handbook?
18             A     Yes.
19             Q     Okay.    And, in fact, you remember at some
20      point in 2019, you would propose to Ken Bibb to store
21      all those policies in a certain place, like on the F
22      drive or something like that?
23             A     I don't remember the conver -- conversation,
24      but I know we did put them on the computer.
25             Q     Okay.    And when you -- when you became --

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1       with respect to compliance policies, you allege in some
2       of your documents that you were responsible for
3       training the then current mortgage officer 2012.
4              A     Yes.
5              Q     Okay. So just so I understand the corporate
6       hierarchy of the Bank, there's a board of directors,
7       right.
8              A     Correct.
9              Q     Okay. And there -- there are five directors;
10      is that right?
11             A     Correct.
12             Q     All right. Three of those are not employed by
13      the Bank, but two of them are officers of the Bank,
14      right?
15             A     Correct.
16             Q     Okay, so two of -- the two people who are
17      officers are Chris Irwin, the CEO, and the President
18      Ken Bibb, right?
19             A     Correct.
20             Q     Okay.    Now, Ken is older than you are, right?
21             A     Yes.
22             Q     Okay.    So at the time of your termination,
23      you were 57. And Ken was 60, around that age, right?
24             A     Somewhere around there.
25             Q     And Chris Irwin is older than Ken, correct?

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1              A     Yes.
2              Q     And each of the board members are all older
3       than you, aren't they?
4              A     Except one.
5              Q     Who's that?
6              A     Keenan Howard.
7              Q     Okay.     Did you attend board meetings?
8              A     Only two -- only at times when the board
9       needed training as far as regulations were concerned.
10             Q     So in 2018, 2019, did you attend any board
11      meetings?
12             A     There's a possibility.
13             Q     Well, how many do you think at most you would
14      have attended?
15             A     Maybe two.
16             Q     And how often does the board meet?
17             A     Weekly.
18             Q     Okay, so -- so there's the board, and Mr.
19      Irwin, the CEO, he is the chair of the board and the
20      chief executive officer of the Bank, right?
21             A     Yes.
22             Q     Okay.     And so immediately below him is Ken
23      the president, correct?
24             A     Right.
25             Q     All right. Then immediately below him is

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1       Lamar Doolittle, the chief operations officer and the
2       chief information officer, correct?
3              A     Yes.
4              Q     Okay. And then below that are various
5       officers such as the loan officer, the compliance
6       officer -- I think there's a few others, right?
7              A     Correct.
8              Q     Okay. And you were the compliance officer?
9              A     Yes.
10             Q     And then below that are non-officer, hourly
11      employees, I assume.          Is that right?
12             A     Yes.
13                                  (Defendant's Exhibit Number 3 was
14                                    marked for identification.)
15      BY MR. BENNETT:
16             Q     Okay.    Let me hand you Exhibit 3. This is a
17      long one. We're not going to read the whole thing.
18      We're going to look at a few things.
19                   Okay, just -- just glancing at this, can you
20      -- do you recognize this document as the employee
21      handbook of the Geo D. Warthen Bank?
22             A     Right. I'm not sure that this is the one that
23      was in effect when I was there.
24             Q     Well, sitting here today, you can't tell me
25      any changes that would be in this document as compared

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1       to the handbook that was in effect when you were
2       employed, right?
3              A     Not without comparing them.
4              Q     Okay. And you don't remember there being any
5       companywide announcements in 2018 or 2019 about changes
6       to the handbook, do you?
7              A     No.
8              Q     Okay.    All right. Let's go to page six. And
9       see at the bottom, there's these other numbers. Those
10      are called Bates labels. So we're looking at page six.
11      That's labeled GDWB 000381. You see that?
12             A     Yes.
13             Q     Okay.    All right.         We're only going to look
14      at the words that are, you know, either italicized or
15      in bold. You see those?
16             A     Uh-huh (affirmative).              I do.
17             Q     All right.       So you understood that your
18      employment with the Bank was at will correct?
19             A     Yes.
20             Q     All right.       So you didn't have an employment
21      contract that said, you, Debra Helton, could only be
22      terminated for certain specific reasons or for cause,
23      right?
24             A     Correct.
25             Q     All right.       And you were also free to resign

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1       at any point if you so chose.
2              A     Correct.
3              Q     Okay, let's go to page seven, labeled GDWB
4       382. And, specifically, let's look at the last two
5       paragraphs under customer -- customer relations.
6                    Would you agree with me, Ms. Helton, that it
7       was the Bank's policy for all of its employees to
8       conduct themselves at all times in a professional
9       manner?
10             A     Yes.
11             Q     All right.       And it was also the Bank's policy
12      that its employees and officers should cooperate
13      cheerfully with personnel in their department and any -
14      - in any other departments, correct?
15             A     Correct.
16             Q     This -- this is a business where there are
17      frequently, you know, third party customers in the
18      lobby. Is that right?
19             A     Yes.
20             O
               Q     Okay. And so, if employees of the Bank are
21      arguing, the customers could potentially hear or see
22      that right?
23             A     Yes.
24             Q     And that's not good for business, is it?
25             A     No.

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1               Q    Let's go to page 11, and this is labeled 386.
2       For the record, you should be on the page that has
3       Equal Employment Opportunity policy -- excuse me --
4       Equal Employment Opportunity at the top. Do you see
5       that?
6               A    Yes.
7               Q    Okay.    Now, as the compliance officer, were
8       you tasked with making sure the Bank was also in
9       compliance with, like, the ADA?
10              A    No.
11              Q    Okay.    You were concerned with, like, FDIC
12      regulations and things of that nature, right?
13              A    Correct.
14              Q    Okay. But you would agree with me that it was
15      the Bank's written policy not to discriminate against
16      people based on any status such as race, sex, religion,
17      age, national origin, disability or veteran status,
18      right?
19              A    Correct.
20              Q    And there was also a harassment policy as
21      well as a complaint procedure, which you can see on
22      page 13 of Exhibit 3, correct?
23              A    Correct.
24              Q    Now, I know that you filed an EEOC charge
25      that was marked as Exhibit 1, and that was filed on

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1       January the 6th, 2020. Remember that?
2              A     Yes.
3              Q     Okay. But, during your employment at no point
4       did you send a complaint, formally or informally,
5       alleging that you or anyone else was being treated
6       differently because of your -- your or their sex or
7       age, did you?
8                    MR. BARTON:       Object to form.       You can answer.
9                    THE DEPONENT:        No.
10      BY MR. BENNETT:
11             Q     All right.       Just to make sure that's clear,
12      did you ever raise a complaint, formally or informally,
13      that you or somebody else was being treated differently
14      because of your race or misusing it because of your sex
15      or your age?
16             A     No.
17             Q     Until after.
18             A     Until after.
19             Q     Let's go to page 24 of Exhibit 3.              I'm sorry,
20      this is not the right page. Page 23. Sorry.
21                   Okay, let's look under where it says personal
22      finances. Do you see that?
23             A     Yes.
24             Q     Okay.    Now, as the compliance officer and an
25      employee, long term employee of the Bank, you

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1       understood that even though, as an employee, you could
2       have your personal or business accounts with the Bank,
3       you were supposed to treat those and -- and act on
4       those only as outside of your official capacity as an
5       employee, right?
6              A     Yes.
7              Q     All right.       And, on page 23, at the -- in the
8       last paragraph it says, since you are an employee of
9       the Geo D. Warthen Bank, personal financial affairs
10      should be conducted in such a manner as to be above
11      regulatory or auditing criticisms or concerns, correct?
12             A     Correct.
13             Q     And then on the next page, second -- or the
14      first full paragraph, it says, all employees should
15      assume the position of a regular customer when handling
16      their personal bank business, right?
17             A     Correct.
18             Q     And those procedures applied to your accounts
19      as well as any relatives' banking business, correct?
20             A     Correct.
21             Q     Okay, you can put this aside.
22                   I mentioned loan officer and compliance
23      officer. There was also a head of the operations
24      department. Is that right?
25             A     No, I was not it.

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1              Q     No.    There was a person who was the head of
2       the operations department, right?
3              A     Yes.
4              Q     Was that during last two years? That was
5       actually Haynes?
6              A     Yes.
7              Q     All right. Are there any other people in
8       officer positions during the last two years of your
9       employment?
10             A     Yes.
11             Q     Who?
12             A     Karen Wilson, Alice Matthews, Denise Braddy
13      Griswell.     I'm not sure about Patty Frost, I don't know
14      if she was an officer or not. And I said Karen Duncan
15      and Jennifer Wright. Patty Provo, Jason Prince, Brian
16      Moncus.
17             Q     How do you spell that?
18             A     M-o-n-c-u-s.        Tracy Welch, W-e-l-c-h,
19      Stephanie McAfee. And I think that, you know, there was
20      somebody over in operations.               Lamar Doolittle and Kim
21      Brantley.
22             Q     Did anyone have the term "chief" in their
23      title who you just mentioned other than Lamar?
24             A     Chris Irwin would have had chief.
25             Q     Right. But in terms of officers, all of those

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1       people that you mentioned, Karen Wilson, Alice
2       Matthews, Denise Griswell, Jennifer Wright, Patty
3       Provo, Jason Prince, Brian Moncus, Tracy Welch and
4       Stephanie McAfee we're all officers.
5              A      Yes.
6              Q      There was only one man in that list, right?
7       Or two, I guess. Jason and Brian.
8              A      And Lamar, yes.         Well -- yes.
9              Q      All right. So, as the compliance officer, you
10      were charged with kind of developing, implementing, and
11      administering the compliance management program, right?
12             A      Yes.
13             Q      Okay.   And what was that program?
14             A      Exactly that, compliance management.
15             Q      Okay.
16             A      That was the name of it.
17             Q      It wasn't like a software program.
18             A      That is kind of a yes/no. I mean the policies
19      were you could have software.               We did not have software
20      other than the policies thing on the computer.
21             Q      There were compliance policies, though,
22      right?      Written policies?
23             A      Yes.
24             Q      Did you draft those?
25             A      No.

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1              Q     But you're familiar with that, right?
2              A     Yes.
3              Q     And so you were responsible for implementing,
4       administering, and enforcing this?
5              A     Yes.
6              Q     Who -- do you know who prepared this?
7              A     Steve -- they're out of Statesboro.               Steve
8       Powell Group out of Statesboro, Georgia.
9              Q     Okay.    Is that a law office?
10             A     It's a -- they do audits, financial audits as
11      well as bank audits.
12             Q     Okay. Okay.
13             A     They were instrumental in writing the
14      majority of them.
15             Q     Okay. So in a different -- in addition to
16      your work with the compliance policies and procedures,
17      you had to make sure the Bank was complying with the
18      applicable state and federal bank banking regulations,
19      right?
20             A     Correct.
21             Q     Okay.    And you also assisted with independent
22      reviews, audits, and compliance examinations, correct?
23             A     Yes.
24             Q     Okay.    So there would be people from the FDIC
25      who would periodically do an audit or request

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1       information, and he would assist with gathering and
2       responding to that information?
3              A     That is true.
4              Q     All right.       Okay.      And, obviously, you were
5       tasked with supporting the company's goals and values,
6       isn't that right?
7              A     Yes.
8              Q     And you were supposed to treat people with
9       respect and dignity.
10             A     Yes.
11             Q     And do you believe that it's important for
12      officers of a company to make sure that you're setting
13      a good example for lower ranking employees?
14             A     Yes.
15             Q     Did you have the ability to hire or fire
16      people who were below you?
17             A     No.
18             Q     Who were your subordinates? Your direct
19      reports?
20             A     I did not have anyone that directly reported
21      to me.
22             Q     Did you have the ability to recommend
23      disciplinary action?
24             A     No.
25             Q     Obviously, Ken could -- could do that on his

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1       own, right?
2              A     Right.
3              Q     And what about Lamar?
4              A     He could recommend.            I'm not sure that he
5       couldn't do it on his own.
6              Q     Did you participate in interviews?
7              A     Yes.
8              Q     Did you participate in employee disciplinary
9       conferences or meetings?
10             A     With employees?
11             Q     Uh-huh (affirmative).
12             A     No.
13             Q     Okay.
14                                  (Defendant's Exhibit Number 4 was
15                                    marked for identification.)
16      BY MR. BENNETT:
17             Q     All right, let me show you what's been marked
18      Exhibit 4. Okay. Now, this is a document that says --
19      its title is compliance officer job description. Do you
20      see that?
21             A     Yes.
22             Q     All right.       Now, the date of it is June 30th,
23      2020. Do you see that?
24             A     Yes.
25             Q     And that was after your employment with the

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1       haphazardly.
2              Q     Okay.
3              A     Mainly dealing with the loans. Number
4       eighteen.
5              Q     You're saying you weren't?
6              A     I mean, I did not do anything with EEO
7       policy.
8              Q     Right. But you understood that, during your
9       employment, you were responsible for making sure you
10      weren't engaging in an environment involving harassment
11      of any type, right?
12             A     Correct.
13             Q     Okay.    What you're saying is you weren't
14      responsible for, you know, ensuring compliance with the
15      EEO policy?
16             A     Correct.
17             Q     That was HR?
18             A     Yes.
19             Q     And HR was Karen Wilson.
20             A     Yes.
21             Q     She was also the corporate secretary, right?
22             A     Correct.
23             Q     Karen is older than you, isn't she?
24             A     I think we're close to the same age.
25             Q     Okay.

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1              A     I mean, --
2              Q     There's not a significant difference --
3              A     No.
4              Q     -- in ages there.
5              A     No.
6              Q     You can put this to the side unless was there
7       was additional comments you had.
8                    All right, I want to talk about the Banc PAC
9       Maintenance Program.
10             A     Okay.
11             Q     All right. What -- what was that?
12             A     Banc PAC was our core processing software for
13      all of your account information.
14             Q     Okay.    And does that program allow someone
15      with access to it to make changes to a customer's
16      account?
17             A     Yes.
18             Q     That's not a program that everybody in the
19      Bank has access to, right?
20             A     Not everybody, no.
21             Q     You had access to that and then another
22      program called FLO?
23             A     Yes.
24             Q     And that was because of your duties as a
25      compliance officer, right?

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1              A     Yes.
2              Q     So you had special access to certain programs
3       and software that other employees didn't because of
4       your position.
5              A     No, there were other employees that had the
6       same poss -- responsibilities as I did.
7              Q     Right, but my point --
8              A     Most of the -- excuse me -- most of the
9       officers had access to the information.
10             Q     Okay.    But most of the tellers and, you
11      know, --
12             A     No.
13             Q     -- people working in the loan department,
14      they wouldn't have that type of access, right?
15             A     The loan operations supervisor, yes, and the
16      collateral person would, yes.
17             Q     But non-supervisors did not have that same
18      access? Non-officers?
19             A     No, that's not true because the person
20      responsible for doing the collateral had access to some
21      of the information or some of the possibilities to make
22      changes.
23             Q     But not every single employee of the Bank had
24      access to the Banc PAC Maintenance Program, right?
25             A     True.

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1              Q     Okay.    Was that a program that you could only
2       access using a -- your computer at work?
3              A     Yes.
4              Q     So the laptop that the company gave you, when
5       you were at home, were you able to access the Banc PAC
6       Maintenance Program?
7              A     No.
8              Q     So, in order to make changes to an account on
9       that program, you had to be at your desk on duty on
10      company time.
11             A     Yes.
12             Q     And you were a salaried employee, right?
13             A     Yes.
14                                  (Defendant's Exhibit Number 5 was
15                                    marked for identification.)
16      BY MR. BENNETT:
17             Q     Let me hand you what's marked as Defendant's
18      Exhibit 5.
19                   MR. BARTON:       If you need to take a break at
20             some point.
21                   THE DEPONENT:        Okay, it's good. It's just --
22             I will.
23      BY MR. BENNETT:
24             Q     Okay.    Now, this was a document that was
25      included in the Bank's response to your EEOC charge.

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1       Have you seen this before?
2              A     I have.
3              Q     Okay.     All right.        Now, this is a report
4       that's generated through the Banc PAC Maintenance
5       Program, right?
6              A     Yes.
7              Q     Okay.     And as you can see, at the top on the
8       first -- let's see, first five pages, it says Kim
9       Baucom at the top. You see that?
10             A     I do.
11             Q     All right.       Who is Kim Baucom?
12             A     She is the deposit operations supervisor.
13             Q     Well, in 2018 and 2019, she was the vice
14      president of operations as well as the Bank's internal
15      auditor, right?
16             A     Okay, yes.
17             Q     Is that right?
18             A     Yes.
19             Q     Okay.     All right.        So as the auditor, she was
20      charged with kind of periodically checking what
21      different people were doing to make sure there was no
22      fraud or improper activity, right?
23             A     Correct.
24             Q     Okay.     Am I correct that she had been in that
25      role for about five years, the five years prior to your

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1       separation.
2              A     She'd been there awhile, but I'm not going to
3       say a time, but yes, she had been there awhile.
4              Q     Okay.    But she also managed the operations
5       department as well.
6              A     Yes.
7              Q     So she was kind of like you where she had
8       kind of dual roles.
9              A     Yes.
10             Q     Okay.    All right, so in terms of the
11      operations department, what they do is they, you know,
12      handle the Bank's wires to and from third parties,
13      right?
14             A     Yes, that's usually handled inside the Bank.
15             Q     Are they involved --
16             A     The beginning of it.
17             Q     Are they involved in ACH processing?
18             A     Yes.
19             Q     What about like account balancing and
20      unposted items?
21             A     Yes.
22             Q     Okay.    Now, in terms of internal audits, is
23      that something that is required by federal or state
24      regulations to be done?
25             A     Yes.

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1              Q     Okay.    And you're currently working at the
2       Farmers Bank, right?
3              A     Yes.
4              Q     And do they do internal audits?
5              A     Yes.
6              Q     Do they have a compliance officer?
7              A     Yes.
8              Q     All right.       And so one of Kim's jobs though,
9       was to monitor employee accounts and what people were
10      doing on a periodic basis, right?
11             A     Yes.
12             Q     All right.       So let's look at Exhibit 5, and
13      what -- this is a document that reflects transactions
14      that you conducted while on bank employee time to your
15      account and several other accounts of your relatives?
16             A     Yes.
17             Q     Okay.    All right, so let's look at page one
18      of Exhibit 5. There's an entry dated April the 13th,
19      2019, at the top.        Do you see that?
20             A     I do.
21             Q     Okay.    And there's a reference to a suspended
22      memo post, right?
23             A     I -- it is.
24             Q     All right.       So what I understand -- I don't
25      fully understand this -- but when a change is about to

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1       be made into an account, there's some type of a memo
2       that's placed in the file, right?
3              A     Yes.
4              Q     Okay.    And so what you did here was you
5       suspended the memo to prevent the money from being
6       removed from your account.
7              A     Correct.
8              Q     You also did that on April the 12th, 2019,
9       right?
10             A     Yes.
11             Q     Okay.    There's an entry. On the first page of
12      this exhibit dated June the 25th, 2018, that says,
13      funds transfer purge. Do you see that?
14             A     I do.
15             Q     What does it mean when there's a funds
16      transfer purge?
17             A     It is removed.
18             Q     Okay, so explain to me what happened on June
19      the 25th, 2018.       What did you do?
20             A     Well, unless you have the second part --
21      without the second part, it's hard to tell you. I can
22      tell you that, yes, I did this on the bank computer.
23      But this is not anything I could not -- the funds
24      transfer purge is not anything that I could not have
25      done from a computer anywhere in the world through my

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1       internet banking.
2              Q     But you used the Bank PAC Maintenance
3       Program --
4              A     I did.
5              Q     -- to do it?
6              A     Yes, I did.
7              Q     Okay, we've got to make sure we're not
8       speaking over each other.
9              A     Sorry.
10             Q     And you understood that you were not supposed
11      to use the Bank's software systems in order to conduct
12      a banking -- your own personal banking, right?
13             A     Yes.
14             Q     So that was a violation of that rule?
15             A     Yes.
16             Q     Let's go to the second page of this exhibit,
17      and it's labeled GDWB000449. There are some entries on
18      this page that are dated April the 11th, 2019, and
19      April the 26th, 2019. And we see some other entries
20      throughout this document to other people's accounts on
21      that day.
22                   Okay, so looking at the -- the April 11th,
23      2019 entry involving your account, right?
24             A     Uh-huh (affirmative).
25             Q     Looks to me like what you did was you -- you

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1       added $81 to your account on that day, right?
2              A     No, this was between -- I took $81 off of my
3       account.     This was for my child's loan payment.
4              Q     Uh-huh (affirmative).
5              A     And she had called and said that she needed -
6       - I don't remember.         This was -- we changed her loan
7       payment from my account to her dad's account, plus
8       increased the transfer so that her loan payment would
9       not be behind. And that is what that is there.
10             Q     Okay. So just -- just to break this down, she
11      had a loan with the Bank, right?
12             A     Yes.
13             Q     And it was -- required her to pay the Bank
14      $162 every two weeks?
15             A     Yes.
16             Q     Okay. And instead of her coming to the Bank,
17      and you on your own personal time, and making changes,
18      what you did was you changed it to where basically,
19      only $81 would come from her daughter -- your daughter,
20      and then $81 from your husband towards that loan? Is
21      that the gist of it?
22             A     No, actually, it was moved so that both of
23      them came from my husband.
24             Q     Okay.    So -- but then you then reversed it 15
25      days later, right?

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1               A      No.
2               Q      Is that true?
3               A      Well, I'm trying to see where you said I
4       reversed it because she -- we are still paying this
5       loan.       Funds transfer purged 162.
6               Q      Did you tell anyone at the Bank that you were
7       doing this?
8               A      No, nothing other than if I probably told
9       Ashley Haynes or Kathy Brooks.
10              Q      But you didn't -- you didn't tell Ken Bibb?
11              A      No. Ken probably would have wondered why I
12      was bothering him with it.
13              Q      Let's go to page three of this exhibit, which
14      is GDWB000450.
15              A      Three or four?       Three?
16              Q      Page three of this exhibit which is labeled -
17      - that's the one you should go by.                   It's labeled 450.
18      You see it?
19              A      Uh-huh (affirmative).
20              Q      Okay.    Who is Nicholas Green?
21              A      That is Ashley's husband.
22              Q      So it's an account belonging to your daughter
23      and your daughter's husband?
24              A      Right.
25              Q      Okay.    And so the entries on this page match

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1       the changes that we just looked at, right?
2              A     I can't -- I don't know that they match
3       because one says 120 and one says 162, but I can tell
4       you exactly what happened.
5              Q     Well, I think I understand what happened.
6              A     I mean, Ashley had -- was no longer working.
7       So, instead of -- I mean, you know, you always help
8       your children. So we took the debit off of their
9       account and put the debit on Dean's business account.
10             Q     But you understand what rules are in place
11      that prohibit --
12             A     Oh, yeah.
13             Q     -- folks like you from making changes to
14      their own personal or their family's bank accounts on
15      company time, right?
16             A     Yes.
17             Q     It's to prevent fraud, right?
18             A     Yes.    But, once again, this is something that
19      anybody could do anywhere.
20             Q     But you were the compliance officer, right?
21             A     Yes.
22             Q     You were charged with enforcing compliance
23      rules.
24             A     Yes.
25             Q     And this was a violation of those rules.

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1       was it was an inquiry.           It was not a change because the
2       name had been changed, and that's in my notes. I don't
3       have that information.
4              Q      All right, let's go to the next page, which
5       is labeled 452.        All right. So this page shows some
6       changes made via the Banc PAC system by you to your
7       husband's business checking account, right?
8              A      Right.
9              Q      Okay. You made some transfers in December of
10      2011, as well as in May of 2014 to his account.                  Is
11      that right?
12             A      These were transfers added to pay -- well,
13      the top part where it has relation to my daughter's
14      loans.      The other is, he made a loan.            I mean, this is
15      2011. But this is funds transfers to pay a loan
16      payment, it should be, that he had with the Bank.
17             Q      Okay, but my question is simply, --
18             A      Yes, I did.
19             Q      -- you made those through the Bank PAC
20      Maintenance System in 2011 and 2014, right?
21             A      I did.
22             Q      To your husband's checking account?
23             A      I did.
24             Q      Okay.    And was the business checking account
25      associated with his restaurant?

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1              A      Yes.
2              Q      Let's go to the next page, which is 453.
3              A      453.    That's in connection with the 449.
4              Q      Did you change the payment collection
5       sequence on his loan?
6              A      Okay.    This is where I review real estate
7       loans.      Yes, it was mine, but when you review -- real -
8       - real -- laa (sounding) when you review loans and
9       there are errors, most of the time I was sitting there
10      changing the errors without even looking at whose loan
11      I was looking at.        But, yes, all this I changed.
12             Q      Okay, hold on. Just for the record, you're
13      looking at the page of Exhibit 5 that's labeled 454,
14      right?
15             A      Yes.
16             Q      So yes or no, using the Bank PAC Maintenance
17      System, did you make changes to the payment collection
18      sequence on your husband's personal loan?
19             A      Yes.
20             Q      Okay, and these changes that you made,
21      happened -- and if we look through the rest of this
22      document, it looks like they had -- some of these
23      changes happen as early as the year 2000, is that
24      correct?
25             A      Yes.

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1              Q     And they happened not every day but
2       periodically, correct?
3              A     Yes.
4              Q     All right, just put that aside.
5              A     Okay.    I, of course, am the plaintiff here,
6       but as far as these documents were concerned, if you
7       took the dates here and went back on every employee at
8       the Bank, you would find that they also make changes
9       and do transfers from their accounts.
10                   MR. BENNETT:        I'm going to object as non-
11             responsive.      There was no question.
12      BY MR. BENNETT:
13             Q     Who is Cheryl Wright?
14             A     Okay, can I add one more thing please?
15                   Lamar is IT and is the only person in the
16      Bank that can take a laptop home with him. During his
17      son's high school years, he added programs that his son
18      had access to at the Bank with no dual control. And,
19      you know, to me there's no difference in this and
20      giving your son access to Bank computer.
21                   MR. BENNETT:        Let me object as non-
22             responsive.
23      BY MR. BENNETT:
24             Q     Was Lamar's employee -- son an employee of
25      the Bank?

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1              A      Yes.
2              Q      Were your daughters employees of the Bank?
3              A      No.
4              Q      Was your husband an employee of the Bank?
5              A      No.
6              Q      Who is Cheryl Wright.
7              A      Cheryl Wright was a customer.
8              Q      Who is Amy Morris -- or I'm sorry, Ann
9       Morris?
10             A      A customer.
11             Q      Did she work with Helton Electrical Services?
12             A      Yes.
13             Q      Are you affiliated with Helton Electrical
14      Services?
15             A      No.
16             Q      Does that have anything to do with your
17      family?
18             A      No.
19             Q      Just a coincidence.
20             A      Yes, that's the -- different. There's three
21      sets of Heltons in Washington County.
22             Q      Okay.
23                    MR. BENNETT:       Let's go to about 12:30 if we
24             can.
25                                  (Defendant's Exhibit Number 6 was

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1                                     marked for identification.)
2       BY MR. BENNETT:
3              Q     Let me hand you Exhibit 6.              So at the Bank, -
4       - first of all, let's -- this is -- this exhibit is an
5       email that Kim Baucom sent to every employee of the
6       Bank on September the 4th 2018, right?
7              A     Yes.
8              Q     Okay. So there was a Listserv, whereby you
9       could send an email and every single person at the Bank
10      would receive it, right?
11             A     True.
12             Q     Okay.    So this is an email that you would
13      have received.
14             A     True.
15             Q     Did you read it at the time?
16             A     Probably not because we got so many emails
17      that, you know, we would breeze through them and keep
18      going.
19             Q     But you don't dispute that you would have
20      received this email, right?
21             A     No.
22             Q     All right. And you wouldn't dispute that what
23      Kim wrote was that as -- was basically a reminder that
24      as employees of the Bank, you're not permitted to make
25      changes to anything pertaining to relatives or

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1       immediate family members, correct?
2              A      Correct.
3              Q      Okay.   But some of the transactions we just
4       looked at in Exhibit 5 were after September the 4th,
5       2018, correct.
6              A      Correct.
7              Q      All right. Now, was there any discussion
8       between you, Ken, or Ken or any other manager of the
9       Bank in September of 2018 about the personal
10      transactions that you had been doing?
11             A      Ken, Lamar, and Karen.
12             Q      In September of 2018?
13             A      There should be a document signed in the
14      file. Yes. Should be the only thing in my folder that's
15      -- that -- regarding those transactions that you just
16      had.
17                                  (Defendant's Exhibit Number 7 was
18                                    marked for identification.)
19      BY MR. BENNETT:
20             Q      Let me hand you what's marked as Exhibit 7.
21      It's actually marked on the second page. I don't know
22      why.
23                    So this is a document with two different
24      pages.      Actually, here, let me give you this one. This
25      is -- this is the copy that you should have.

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1              A     Okay.
2              Q     Yeah.
3                    MR. BARTON:       Is it just out of order?
4                    MR. BENNETT:        The ones we have are out of
5              order, the one she had.
6                    MR. BARTON:       There's a second page?
7                    MR. BENNETT:        Yeah.
8                    THE DEPONENT:        Yeah.
9       BY MR. BENNETT:
10             Q     All right. So, for the record, Exhibit 7 is a
11      disciplinary warning and a memo that you signed on May
12      the 13th, 2019, correct?
13             A     Uh-huh (affirmative).
14             Q     Okay.    So I just want to make sure we have a
15      clear record. May -- May 2019 was when the discussion
16      happened between you, Lamar, Karen and Ken about
17      Exhibit 5, right?
18             A     Right.
19             Q     Okay. What I had asked you before was, was
20      there any discussion in September of 2018, after Kim's
21      or around the time of Kim's email, about personal
22      transactions on company time?
23             A     No.
24             Q     Okay.    So before we go to Exhibit 7, a
25      suspended memo post, I want to go back to that.

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1              A     Right, but if you look at your reports, when
2       they were purged, there was another one added.
3              Q     All right. Changing -- if you change a fund
4       transfer, that means that you're either altering a
5       scheduled transfer by either increasing or decreasing
6       the amount, right?
7              A     Yes. In that situation, yes.
8              Q     Isn't it true that there were times that you
9       removed late charges or stopped payments on checks?
10             A     Not personal, no.
11             Q     Well, didn't you set maximum late charges on
12      your accounts or the accounts of relatives?
13             A     I think I increased the one on one of the
14      business loans because it had a lower amount and I
15      increased it.
16             Q     Okay.    So Exhibit 5, what that shows are
17      changes to your account, your personal account, right?
18             A     Personal?
19             Q     Like personal checking, right?
20             A     Yes.
21             Q     Okay.
22             A     And business.
23             Q     And then your husband's business account?
24             A     Yes.
25             Q     Your husband's business loan?

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1              A     Yes.
2              Q     You and your husband's personal loan?
3              A     Yes.
4              Q     What was that affiliated with?
5              A     The personal one?
6              Q     Uh-huh (affirmative).
7              A     That was reviewing the loan where it was
8       added to the system to make sure it was added
9       correctly.
10             Q     All right.       Then you also made changes to
11      your husband's personal account, right?
12             A     That was in regards to -- mmmm (sounding) my
13      -- the -- same as Ashley's loan.                 Changing the
14      transfers.
15             Q     Okay. But you also made changes to a personal
16      line of credit, right?           Your personal line of credit?
17             A     This is in reviewing and changing it to match
18      the policy or the regulations for the -- the account.
19             Q     Okay, but yes or no, you also made --
20             A     Yes.
21             Q     -- changes to your daughters --
22             A     Yes.
23             Q     Hold on -- your daughters, both daughters'
24      personal accounts and your son-in-law's personal
25      account?

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1               A     Yes.
2               Q     Okay.
3               A     All in regards to the loan payment.
4                     MR. BENNETT:           Let's take a break.
5                     VIDEOGRAPHER:           Off the record at 12:28.
6                     (Short break)
7                     (See Volume II)
8
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25                             COURT REPORTER DISCLOSURE

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1                    THE VIDEOGRAPHER:           Back on the record.
2              The time is 1:10.
3                    (Defendant's Exhibit No. 10 marked for
4              identification.)
5       BY MR. BENNETT:
6              Q     I'm going to hand you Exhibit 10.
7                    All right.       This is an email with two
8       attachments that you had sent to Ken Bibb and Chris
9       Irwin on May the 17th, 2019, right?
10             A     Yes.
11             Q     Okay. So this was -- it looks like it was
12      a Friday; is that right?
13             A     Yes.
14             Q     So your meeting with Ken regarding the
15      disciplinary warning, that was a Monday and this was
16      a Friday, correct?
17             A     Yes.
18             Q     Why did you copy Chris Irwin on this email?
19             A     Because he's the CEO and he is the one that
20      hired me.
21             Q     Okay.    All right.         So you opened with Good
22      morning.     I would like to discuss our Monday morning
23      meeting and see if I can get some answers to
24      questions I have tossed around in my mind for a week,
25      right?

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1              A     Yes.
2              Q     And you were referring to the meeting with
3       you, Ken, Lamar and Kent, right?
4              A     Right.
5              Q     All right.       On Page 1 on this second
6       paragraph you wrote, After 30 years of employment,
7       I've never been so devastated, but I am fully aware
8       that I did do and knowledge [sic] completely the
9       transactions until further review, right?
10             A     Right.
11             Q     And at the end of the third paragraph, the
12      last sentence you said, Nonetheless, I am guilty of
13      setting up transfers and deleting, right?
14             A     Right.
15             Q     Were all of those true statements?
16             A     Yes.
17             Q     Okay.    In the fifth paragraph on this page,
18      you wrote that you understood the removal of the
19      administrative rights and BancPac but not FLO, right?
20             A     Right.
21             Q     Okay.    Now, correct me if I'm wrong, but
22      did Ashley Haynes -- she had access to both of those
23      programs before your administrative rights were taken
24      away, right?
25             A     Yes.

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1              Q     Okay.    All right.         Now, just going back to
2       the meeting on May the 13th.
3                    One of things Mr. Bibb told you that you
4       needed to focus on was your compliance duties and not
5       the duties and responsibilities of people in other
6       departments going forward, right?
7              A     Yes.
8              Q     Okay.    All right.         But you deny that during
9       the meeting with Mr. Bibb on May the 13th, 2019 he
10      reminded you of the need to be respectful of your
11      co-workers and that he wouldn't tolerate angry
12      outbursts or a poor attitude?
13             A     We had that conversation, but I don't think
14      it was on that day.
15             Q     Okay.    All right.         So let's go to the
16      second page of Exhibit 10, which is labeled GDWB 779.
17                   Look at the third full paragraph.              You
18      wrote, Attitude - I have addressed my attitude
19      reminding myself every day when I enter the building
20      to have self-discipline regarding attitude, right?
21             A     Right.
22             Q     And you said, Not to mention, we all have
23      an attitude when the last button is pushed, right?
24             A     Right.
25             Q     Okay.    And so does that mean that when

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1       people push your button, so to speak, you can tend to
2       become a little agitated?
3              A     No, not necessarily.             That meant in -- in
4       general when anybody is pushed to the limit, they
5       would have an attitude.
6              Q     Okay.    But in this email, you're recapping
7       your thoughts related to the May 13th, 2019 meeting,
8       right?
9              A     Yes.
10             Q     And so now you would agree with me that
11      your attitude was, in fact, discussed at that
12      meeting, right?
13             A     No, not at that meeting.                Ken and I had had
14      some conversation briefly one afternoon or one
15      morning, but I don't remember with everybody sitting
16      there having a discussion about attitude.
17             Q     Okay.
18             A     It was simply Ken and myself.
19             Q     But you understood that your attitude was
20      also a point of focus between you and Ken going
21      forward?
22             A     Exactly.
23             Q     Okay.    Is there any mention of age, or sex
24      or alleged discrimination in this email?
25             A     No.

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1       well is -- makes it difficult to work with, right?
2              A     It does.
3              Q     This is Exhibit 11.
4                    (Defendant's Exhibit No. 11 marked for
5              identification.)
6       BY MR. BENNETT:
7              Q     Now, do you recognize this as a true and
8       correct copy of an email you sent to Ken Bibb on
9       May the 13th, 2019?
10             A     Yes.
11             Q     Okay.     Take a moment to read it and let me
12      know when you're done.           It's only one paragraph.
13             A     Okay.
14             Q     Okay.     All right.        So you reference -- this
15      is the day of the May 13th, 2019 meeting, right?
16             A     Uh-huh.
17             Q     Okay.     And you say that Ken had made a
18      comment this morning that you had lost your
19      enthusiasm for your job, right?
20             A     Yes.
21             Q     Was that made during the -- the
22      disciplinary conference?
23             A     Yes.
24             Q     Okay.     And you wrote in response, You could
25      not be more right.        This is a tough position and it

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1       is hard to work and keep a good attitude when you can
2       not get the staff to make changes when they are
3       needed, right?
4              A     Yes.
5              Q     And you wrote, In my 38 years of working, I
6       have never ever had the problem with attitude that I
7       do now, right?
8              A     Yes.
9              Q     Okay. Did -- he didn't respond to this
10      email either, did he?
11             A     No.
12             Q     And so it's true that you were having
13      difficulty maintaining a positive attitude at work
14      at that time?
15             A     Yes.
16             Q     Okay.    Why was that?           Why was that?
17             A     Well, lack of communication.
18             Q     Between you and the younger staff?
19             A     No, Ken and Chris.
20             Q     Between Ken, Chris and the bank?
21             A     And everything that was going on with it,
22      everything listed here.
23             Q     Okay.    So --
24             A     I mean, when you ask questions, you don't
25      get an answer, it makes it hard to concentrate and

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1       keep going forward.
2                    (Defendant's Exhibit No. 12 marked for
3              identification.)
4       BY MR. BENNETT:
5              Q     Let me show you what's marked as
6       Exhibit 12.
7                    This is another document that I believe was
8       included in the bank's response to its -- or excuse
9       me, the bank's position statement.
10                   Have you seen it before?
11             A     No.
12             Q     Okay.    You mentioned Denise Griswell
13      before.
14                   Do you remember what her title was in April
15      of 2019?
16             A     BSA officer.        I don't -- she wasn't a head
17      teller.     BSA officer, and I think she may have had
18      another title.
19             Q     What does BSA mean?
20             A     Bank Secrecy Act, but I'm not sure.
21             Q     Okay.    Well, in this particular document,
22      it -- that's her signature, right?
23                   Do you recognize that?
24             A     It looks like it.
25             Q     Okay.    Well, what her title is listed as is

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1       Banking Officer of Teller Operations.
2              A     Uh-huh.
3              Q     Was that her official title?
4              A     I know she did the teller operations, so I
5       would say yes.
6              Q     Okay.     All right.        So this is a statement
7       about an incident that happened on April the llth
8       2019, right?
9              A     Yes.
10             Q     Okay.     And as I understand it -- actually,
11      before I ask you that question, this is obviously a
12      copy of a document.         And it looks like there was a
13      sticky note that was on top of it, right?
14             A     Uh-huh.
15             Q     Do you recognize the handwriting on the
16      sticky note as that of Karen Wilson?
17             A     Yes.
18             Q     Okay.     Okay.     So as I understand it, at the
19      bank, you have to -- you have to close the bank,
20      which involves counting the money and making sure
21      it's all reconciled, right?
22             A     Uh-huh.
23             Q     Okay.     And different people are in charge
24      of doing that at different times, right?
25             A     Right.

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1               Q    Okay.     On this particular week, it was
2       Jennifer Wright who had been assigned to close the
3       bank, but she had to go on vacation and you ended up
4       being the one that volunteered to do that, right?
5               A    Yes.
6               Q    Okay.     And when did you volunteer?           Like,
7       how soon before this week?
8               A    The week -- the Friday before.
9               Q    The Friday before?
10              A    Uh-huh.     Because she came and said she
11      couldn't find anybody.
12              Q    Okay.     And so on April the llth, you were
13      the officer in charge of the -- of closing the
14      bank --
15              A    Yes.
16              Q    -- right?
17                   Okay.     And so that includes making sure
18      that everybody who's there has counted and documented
19      all the monies, what's in the coin machine, the
20      teller drawers, the drive-in teller and the vault,
21      right?
22              A    No.     The only thing I was there for was to
23      make sure the door was locked.                The head teller is
24      always there to make sure all the job duties are
25      done.

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1              Q     Okay.     But you were the officer in charge
2       of the closing, right?
3              A     Only locking the door.
4              Q     Only locking the door.
5                    But you were there?
6              A     Yes.
7              Q     You were required to be there?
8              A     Yes.
9              Q     And there were other people there, right?
10             A     Yes.
11             Q     And the other people who were there were
12      Belinda Salisbury, Pat Herringdine, Starkayla Wiley,
13      Alice Mathews, Jimmy Lewis and Denise Griswell,
14      right?
15             A     Right.
16             Q     Was anybody else there who's not listed on
17      this document?
18             A     I don't think so, no.
19             Q     All right.        Did you have an appointment
20      that afternoon?
21             A     Yes.
22             Q     What kind of an appointment?
23             A     A doctor's appointment.
24             Q     What doctor?
25             A     I don't remember.

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1              Q     Okay.     Now, this is, like, between 4:45 and
2       5:15, right?
3              A     Yes.
4              Q     Okay.     Now most doctors don't have
5       appointments after 5:00, right?
6              A     No, they don't, correct.
7              Q     You had a hair appointment, didn't you?
8              A     No, I didn't have a hair appointment.
9              Q     Where do you get your hair done?
10             A     Let's see.       We can find out exactly what we
11      have, hopefully.
12                   (Whereupon, there was a pause in the
13             proceedings.)
14                   THE WITNESS:                Okay.       It could have
15             been a hair or nail.           Probably nail on
16             Thursday.
17      BY MR. BENNETT:
18             Q     A nail appointment?
19             A     Uh-huh.
20             Q     Where do you get your nails done?
21             A     At Heather Rogers.
22             Q     And where do you get your hair done?
23             A     Salon 126.
24             Q     Okay.     And if it was a doctor appointment,
25      who would it have been with?

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1               A    Chandler McDavid.
2               Q    Chandler?
3               A    McDavid.
4               Q    Is that a general practitioner?
5               A    Yes.
6               Q    What's the name of his practice?
7               A    Sandersville Family Practice maybe?               I just
8       always look up Chandler McDavid.
9               Q    Okay.     But you would have had an
10      appointment with one of those three in advance?
11              A    Yes.
12              Q    And you think it was probably hair or nail?
13              A    I think it's hair or nail.
14              Q    Do you remember telling people at the time
15      that it was a doctor's appointment?
16              A    No.     I just remember saying I had an
17      appointment, because Denise had an appointment as
18      well.
19              Q    Well, you -- you would agree with me,
20      wouldn't you, that if it was a hair or a nail
21      appointment, that that's something that could have
22      been moved once you found out that you were going to
23      be the officer in charge of closing?
24              A    Yes.
25              Q    And it would not have been an emergency?

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1              A     No.
2              Q     Okay.     All right.        So as I understand it,
3       basically what happened was at 4:45 you announced
4       you've got this appointment, let's be quite quick.
5                    I'm paraphrasing, but that's the gist of
6       it, right?
7              A     Yes.
8              Q     Okay.     And then at 5:15 or around then, the
9       person who was in charge of the drive-thru teller
10      line was having issues and announced that they needed
11      to do, like, a recount or something?
12             A     To count the drawer, yes.
13             Q     Okay.     And that was Alice Mathews?
14             A     Yes.
15             Q     Okay.     Now, when that happens, that's the
16      closing officer's responsibility, right?
17             A     Yes.
18             Q     Okay.     And so you were annoyed --
19             A     Yes.
20             Q     -- it's fair to say, right?
21             A     Uh-huh.
22             Q     And you felt this was something that she
23      could have asked for assistance with previously?
24             A     Right.
25             Q     Okay.

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1              A     At 5:00 o'clock.
2              Q     Okay.    And you became frustrated?
3              A     Yes.
4              Q     And then you verbally said something to the
5       effect of, Shit, I have a damn appointment?
6              A     Yes.
7              Q     And do you remember Nakia -- I'm sorry
8       Star- -- Starkayla Wiley starting to cry?
9              A     No, I did not.
10             Q     Do you deny that she cried?
11             A     I don't know why she would have any reason
12      to cry.
13             Q     Okay.    But you did use a profane term,
14      right?
15             A     Yes.
16             Q     Were the exact words that you said, Shit, I
17      have a damn appointment?
18             A     I could not tell you.              That's been three
19      years ago.
20             Q     All right.       Well, do you remember
21      specifically what was said?
22             A     No, I don't.        I remember getting very ill.
23             Q     You got ill?
24             A     Well, I mean I got upset.               Ill -- ill not
25      throwing up, but ill-tempered.

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1               Q    Ill-tempered.        Oh, okay.          I see what you
2       mean.
3                    And I mean, you made a scene, right?
4               A    I mean, I don't know that it was a scene.
5       All -- I mean, when I start at 4:45 asking can I help
6       with anything and, you know, at 5:15, oh, the
7       teller -- the teller's drawer needs counting at the
8       drive-in, well -- at 5:00 o'clock, I could -- they've
9       pulled the window or closed the curtain.                   I could
10      have been there at 5:00 o'clock to take -- count of
11      the teller drawer had you known.
12              Q    Was Denise Griswell the department
13      supervisor?
14              A    Denise and Alice were both officers.
15              Q    Okay.
16              A    There was no reason for a third officer to
17      be there that day.
18              Q    And do you have any basis for disputing
19      Denise's statement that she tried to allay the
20      situation by replying, Don't take it personally,
21      everyone, because no doubt Debra's upset with me
22      because I refused to close the bank this afternoon
23      for her?
24              A    Yeah.    Yes.
25              Q    She said that?

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1              A     Yes.
2              Q     And how did you respond?
3              A     I didn't say anything.
4              Q     Okay.    So after this -- well, first of all,
5       would you agree that the language that you used was
6       inconsistent with the company's policies?
7              A     Yes, but if we --
8              Q     And it was profane?
9              A     Yes.
10             Q     And inappropriate?
11             A     Yes.
12             Q     Okay.    And unprofessional?
13             A     Yes.
14             Q     All right.       And you -- you understood that
15      it was problematic behavior, right?
16             A     Yes.
17             Q     Okay.    And then there was a discussion
18      between you and Ken on April the 15th, correct?
19             A     I -- actually I thought it was the next
20      morning, but --
21             Q     Okay.    Close in time --
22             A     -- was -- that was a Thursday.             Yeah, it
23      was -- yes, sir, it was close in time, but I was
24      thinking it was the next morning.
25             Q     Okay.    Okay.      Was your discussion only

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1       between you and Ken, or was someone else present?
2              A     Just Ken and myself.
3              Q     And was this in his office?
4              A     Yes.
5              Q     What do you remember about the
6       conversation?
7              A     Just that I needed to apologize to the
8       teller line, and I told him that I realized I had
9       lost my temper and that I was planning to apologize.
10             Q     Did he tell you that you were going to have
11      to control your tone and language to co-workers?
12             A     Yes.
13             Q     Okay.    And then you subsequently
14      apologized?
15             A     Yes.
16             Q     Did you -- did that make you feel
17      undermined?
18             A     No.
19             Q     Did it make you feel embarrassed?
20             A     No.
21             Q     Okay.
22             A     I mean, I knew before I left that afternoon
23      that -- or as I got in the car that I should not have
24      acted the way I did.
25             Q     And so did you apologize to people one at a

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1       time, or did you -- was everybody gathered and you
2       just came and --
3              A      Well, they were all there talking earlier
4       in the morning, so I just, Hey, girls, I just need
5       to tell you I'm very sorry for the way I acted
6       yesterday.
7              Q      Do you -- did you also speak with
8       Ms. Mathews, Alice Mathews?
9              A      I think I talked to her one-on-one.
10             Q      One-on-one.
11                    Did you talk to Denise one-on-one?
12             A      It seems like I did, because she was back
13      there.      Her office was next to mine.
14             Q      Do you remember telling Alice that if she
15      had a problem with you in the future, that she
16      should, you know, talk to you before going above you
17      to Ken or one of the other supervisors?
18             A      Uh-huh.     Yeah, I did, per Denise.
19             Q      Okay.
20             A      Denise and I had a, you know, conversation.
21      And she said, I did not say anything.                I knew that
22      you were upset with me.           She said, It had to be
23      Alice.
24             Q      Okay.     But you understand that, like, under
25      the reporting policy, for it to be effective,

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1       somebody's got to be able to go to HR or somebody
2       above --
3              A     Yes.
4              Q     -- the person in question, right?
5              A     Yes.
6              Q     And is it true that from time to time
7       before this, while not documented in writing, there
8       were occasions where Ken had talked to you about your
9       delivery in speaking with other workers?
10             A     Yes.    A couple of times we had talked about
11      it.
12             Q     And had he kind of suggested, you know,
13      here's different wordings you might have used or
14      maybe try to keep your voice lower, things of that
15      nature?
16             A     Yes.
17             Q     How many times would you say that happened
18      over the years?
19             A     Two, maybe three.
20             Q     Now, I have what my wife tells me is a loud
21      voice.
22             A     I do, too.
23             Q     I'm not using my loud voice in here, but
24      I have to close my office door when I'm on a
25      conversation.

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1       already gotten this done.
2              Q     Do you maintain that what you said was not
3       offensive?
4              A     Well, I mean, you know, it wouldn't have
5       been offensive to me, but I guess if you look at
6       everybody that was there, it was probably more
7       offensive to the younger people.
8              Q     All right.       And so after this April
9       counseling and then the May one, you started to send
10      your personal email copies of certain communications,
11      right?
12             A     Yes.
13             Q     Okay.    And that's because you were
14      concerned about your employment status, correct?
15             A     Yes.
16             Q     Okay.
17                   (Defendant's Exhibit No. 13 marked for
18             identification.)
19      BY MR. BENNETT:
20             Q     Let's go to Exhibit 13.
21                   We're not going to spend much time on this,
22      but this is an email chain -- true and correct copy
23      of an email chain between you and Mr. Bibb between
24      March the 22nd, 2019 and March the 23rd, 2019, right?
25             A     Right.

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1              Q     Okay.    And it -- basically what happened
2       was one of your duties was to communicate with the
3       FDIC representative about compliance exam response,
4       right?
5              A     Right.
6              Q     And there was a response that was due on
7       March the lst that you had forgotten about, right?
8              A     I don't know that I forgot about it because
9       I was waiting on John Henwood and Matias to get some
10      information back to me.
11             Q     Okay.    But you don't dispute that what Ken
12      said was that on March the 22nd, he got a call from
13      someone with the FDIC to follow up on the compliance
14      exam response?
15             A     Right.
16             Q     Okay.    And he asked you to let him know as
17      soon as you had made the call and gotten the
18      information, right?
19             A     Right.
20             Q     Okay.    And you basically said -- and your
21      response the next day, which looks like a Saturday,
22      you said, This had slipped my mind.                  I'll do it
23      promptly, right?        I'm paraphrasing, but you did say,
24      It slipped my mind?
25             A     I thought I had sent that that night

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1       after -- my daughter got married that Saturday.                  I
2       thought I had sent it that night, but maybe it was
3       the next morning.
4                    Yes, I did reply to him.
5              Q     Okay.     And you wrote, The response has
6       completely slipped my mind, right?
7              A     Right.
8              Q     Okay.     Okay.     You can put that aside.
9                    Do you remember an issue where a couple of
10      years prior to the events of 2019, Lamar Doolittle
11      was working with a vendor to implement an e-signature
12      system?
13             A     Yes.
14             Q     Okay.
15             A     We implemented an e-signature system.
16             Q     Okay.     So that you didn't have to
17      physically come in and sign certain bank-related
18      documents, right?
19             A     Uh-huh.
20             Q     Okay.     You could DocuSign?
21             A     Right.
22             Q     Okay.     And he -- he was the CIO, so that
23      was within his purview, right?
24             A     (Witness nods head affirmatively.)
25             Q     You've got to give a verbal, I'm sorry.

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1       BY MR. BENNETT:
2              Q     Okay.     I'm handing you what's marked as
3       Exhibit 14.
4                    Have you seen this before?
5              A     This doesn't have anything to do with
6       e-sign.
7              Q     Well, I'm moving to a different topic.
8              A     Yes.
9              Q     Okay.     When is the first time that you saw
10      this document?
11             A     I think you sent it to my -- the attorney.
12                   THE WITNESS:                  Do you have this?
13      BY MR. BENNETT:
14             Q     Okay.     Okay.      Do you recognize the
15      signature of Ashley Haynes on this document?
16             A     I'm going to be honest, I -- I have not
17      seen Ashley's signature that much, so I can't tell
18      you yes or no.
19             Q     That's okay.         That's okay.
20                   All right.        So, you know who Ivan Gonzalez
21      is, right?
22             A     Yes, I do.
23             Q     And what is -- what was his position in
24      October of 2019?
25             A     He -- October of 2019?

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1              Q     Uh-huh.
2              A     If we were scanning, he did the scanning
3       and he put together a report and other jobs in the
4       loan operations department.                I cannot be specific.
5              Q     Okay.     But he was in the loan operations
6       department?
7              A     Yes.
8              Q     His supervisor was Ashley Haynes?
9              A     Yes.
10             Q     Who was in charge of the operations
11      department?
12             A     Yes.
13             Q     Okay.     And then who was Peggy Veal?
14             A     She did escrow.
15             Q     Okay.     Also in operations, right?
16             A     Yes.
17             Q     And she's since deceased; is that right?
18             A     That's correct.
19             Q     But she also reported to Ashley, correct?
20             A     Yes.
21             Q     Okay.     So what's described on Exhibit 14
22      is an incident where Ashley was informed by Ivan and
23      Peggy on the week of September the 23rd, 2019, that
24      you had raised your voice at Ivan about the rates on
25      ARM loans.

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1                    Do you see that?
2              A     Yes, I see that.
3              Q     All right.       What is -- is that adjustable
4       rate mortgage loan?
5              A     Yes.
6              Q     Okay.    Now, is it true that you asked
7       Mr. Gonzalez to make a change to a loan while Ashley
8       was out?
9              A     I do not remember that.
10             Q     Okay.
11             A     I don't remember ever hollering at Ivan,
12      because he was -- I mean, he was just -- I don't know
13      why he would have had to do anything with ARM loans
14      at that time.
15             Q     Do you have any reason to believe that he
16      would make this up?
17             A     No.
18             Q     And you don't know any reason why he would
19      be untruthful under oath, do you?
20             A     The only thing that I can remember is that
21      we put together a report for the board on Mondays.
22      And the report was built in Report Writer.                And if
23      that was not something to do with this, I don't
24      remember what it was.
25             Q     Okay.    But you would agree with me that as

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1              Q     Uh-huh.
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3       and he put together a report and other jobs in the
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1                    Do you see that?
2              A     Yes, I see that.
3              Q     All right.       What is -- is that adjustable
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1       of May the 13th, 2019 you had been instructed to
2       stick to your compliance duties and to stay out of
3       other departments, right?
4              A     Right.
5              Q     Okay.     And if you were asked -- if you had
6       asked -- if you had, in fact, asked Ivan to make a
7       change to a loan, that would be something within the
8       purview of the operations department, right?
9              A     No, because I reviewed all real estate
10      loans the way they were put on the system.                  And if
11      there was a problem or something that needed to be
12      corrected, then at that point, I had to ask somebody
13      in the loan operations area to correct it.
14             Q     Okay.     Let's go to the other parts of this
15      letter.     You remember the events of October the 7th,
16      2019, don't you?
17             A     Yes.
18             Q     Okay.     So as I understand it, there was
19      a -- a ongoing dispute or disagreement between you
20      and Ashley about the collection sequence for loans,
21      right?
22             A     Correct.
23             Q     Okay.
24             A     For the overpayment.
25             Q     Right.

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1                    And so at the time, it was defaulted to
2       principal, interest, escrow and late fees, right?
3              A     That's what we needed to change it to.                  It
4       needed to go -- it needed to be -- the first one is
5       what it needed to be.
6              Q     But you --
7              A     -- yes.
8              Q     You're saying you wanted the sequence for
9       overpayments, meaning if someone had a mortgage --
10             A     Uh-huh.
11             Q     -- for $500 a month and you paid $600 --
12             A     Uh-huh.
13             Q     -- you wanted the sequence for that extra
14      hundred dollars to be applied in the order of
15      principal, interest, late fees and escrow?
16             A     True.
17             Q     Okay.     And the way it was defaulted was
18      principal, interest, escrow and late fees, right?
19             A     Right.
20             Q     So the only disagreement was the order of
21      escrow and late fees?
22             A     Right.
23             Q     Okay.     Okay.      And Ashley supervised the
24      loan department, correct?
25             A     Yes.

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1              Q     Okay.     And so -- so y'all had been
2       discussing this over time, had you not?
3              A     Right.
4              Q     Okay.
5              A     Along with Karen Duncan.
6              Q     Okay.     And then on the morning of
7       October the 7th, 2019, there was a verbal
8       disagreement between you and Ashley, correct?
9              A     Right.
10             Q     Okay.     And as -- as part of this, you
11      raised your voice, didn't you?
12             A     Yes.
13             Q     Okay.     And then you ended up leaving the
14      office?
15             A     Yes.
16             Q     You kind of rushed out of the office,
17      didn't you?
18             A     Yes.
19             Q     And you turned the lights off in your
20      office?
21             A     Yes.
22             Q     Okay.     Did that happen in front of other
23      employees?
24             A     Well, I was in Ashley's office, so -- yes,
25      I guess would be the same -- best way, because she's

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1       got windows, yes.
2               Q    Would you agree that your voice was higher
3       than its normal level?
4               A    Yes.
5               Q    All right.       At some point did you return
6       that day or did you not come back?
7               A    No, I didn't come back.                 I took vacation
8       that afternoon.
9               Q    You took vacation that afternoon?
10              A    Yes.
11              Q    To cool -- to kind of cool off?
12              A    Yes.
13              Q    Okay.
14              A    Well, actually, no.            I was terminated about
15      12:30 on this -- oh, that was the 9th, okay.                    Yes.
16              Q    Okay.    I've handed you Exhibit 15.
17                   (Defendant's Exhibit No. 15 marked for
18              identification.)
19      BY MR. BENNETT:
20              Q    Is this a true and correct copy of an email
21      that you sent to Ashley Haynes on October the 7th,
22      2019?
23              A    Yes.
24              Q    All right.       And this is 10:26 a.m., right?
25              A    Yes.

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1              Q     So this is after the incident that we just
2       discussed; is that right?
3              A     Uh-huh.
4              Q     Okay.     And you wrote, Hey, after thinking
5       about it, this is not a compliance issue, so don't
6       working -- worry about making that change, correct?
7              A     Right.
8              Q     And you were referring to the sequence for
9       overpayments to loans that we were just talking
10      about?
11             A     Right.
12             Q     Okay.     And I take it you sent this from
13      your iPhone?
14             A     No, I sent it from my office computer.
15             Q     Well, it says, Sent from my iPhone.               Do you
16      see that?
17             A     Okay.
18             Q     And I thought you said you had taken --
19             A     Yes, I left.        So, yes, it would have been
20      from my own iPhone.
21             Q     So this incident happened in the morning,
22      and then you left and took vacation the rest of
23      the day?
24             A     Uh-huh.     Yes.
25             Q     At that point, were you aware that you

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1       were probably about to lose your job with the bank?
2              A       Yes.
3              Q       And you had already started to look for
4       other jobs, hadn't you?
5              A       Yes.
6              Q       Okay.   And would you agree with me that
7       if a company honestly believed that, you know, an
8       officer level employee had engaged on multiple
9       occasions within a seven-month period of abusive,
10      unprofessional behavior towards co-workers, that that
11      would be a legitimate reason for separating the
12      employee?
13             A       Yes.
14                     MR. BARTON:               Object -- object to
15             form.     Sorry.   Go ahead.
16                     THE WITNESS:              Answer it?
17                     MR. BARTON:               Yeah.
18                     THE WITNESS:              Yes.
19      BY MR. BENNETT:
20             Q       Well, you would -- you would agree that an
21      employer should not have to tolerate an employee who
22      doesn't conduct themselves in a professional and
23      courteous manner in communicating with employees,
24      right?
25                     MR. BARTON:               Object to form.     You

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1       you did it monthly, you'd -- you'd have greater
2       payments over time?
3              A     Uh-huh.
4              Q     So you were pondering an early retirement
5       at that time?
6              A     I was checking into it.
7              Q     So you're looking for jobs and at the same
8       time you're looking --
9              A     To see --
10             Q     -- you're considering whether you need a
11      new job?
12             A     Right.
13             Q     Okay.     Okay.
14                   MR. BENNETT:                  Y'all good to keep
15             going?
16                   THE WITNESS:                  Uh-huh.
17      BY MR. BENNETT:
18             Q     I want to talk about your termination
19      meeting.
20                   As I understand it, you -- you were at the
21      bank and Ken and Karen Wilson came to meet with you
22      on October the 9th, 2019; is that right?
23             A     I went to his office.
24             Q     You went to his office?
25             A     Uh-huh.

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1               Q    Okay.     Ken's office?
2               A    Uh-huh.
3               Q    All right.       So this is two days after the
4       incident of October the 7th, 2019, right?
5               A    Yes.
6               Q    Okay.     Was anyone present other than you,
7       Ken and Karen?
8               A    No.
9               Q    Did you make a recording of the meeting?
10              A    No.
11              Q    Do you remember what time of day it was?
12              A    It was before lunch.
13              Q    It was in the morning?
14              A    (Witness nods head affirmatively.)
15              Q    How long did the meeting last?
16              A    Maybe ten minutes.
17              Q    All right.       And tell me -- actually, let
18      me -- let me do it this way.
19                   At the beginning of the meeting, did
20      Mr. Bibb basically just come right out and tell you
21      that you were being terminated?
22              A    No, he said, I don't know what we are going
23      to do about your attitude.
24              Q    Okay.     That was the first thing that was
25      said?

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1              A     Uh-huh.
2              Q     And how did you respond?
3              A     I said, What are you talking about, I
4       think.
5                    And he said, The meeting with you and
6       Ashley.     Someone told me that y'all had a
7       confrontation.       And I really don't remember the rest
8       of it.
9              Q     Did he tell you who told him?
10             A     No.
11             Q     But he -- he reported that he had learned
12      from someone about the confrontation?
13             A     Yes.
14             Q     And I take it you presumed that person was
15      Ashley?
16             A     No, I didn't presume the person was Ashley.
17             Q     Who do you believe it was?
18                   MR. BARTON:                 Object to form.
19                   THE WITNESS:                I really don't know.
20      BY MR. BENNETT:
21             Q     Okay.     You've never been told who it was,
22      right?
23             A     No.
24             Q     Okay.     And then how did you respond?
25             A     I think I told him that Ashley wouldn't

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1       listen to anything anybody tried to show her how to
2       do.
3              Q     And what did he say?
4              A     He didn't say anything.
5              Q     Well, how did -- what else was said in the
6       rest of the meeting that led to the discussion of
7       your termination?
8              A     I do not know.         I could speculate, but I do
9       not know.
10             Q     Well, what do you remember?
11             A     What do I remember?            I remember the
12      discussion that he had the package and I could sign
13      the document and he would continue to pay me until
14      year end.     And I would come in and work as he needed
15      me, maybe five hours a week, to train someone.
16                   And I had maybe seven days, I think -- I
17      don't remember that exactly, to sign the document.
18      Let's see.     What else do I remember?              That's pretty
19      much all I remember.
20             Q     All right.       So there was no mention of your
21      sex or your age?
22             A     No.
23             Q     He mentioned the altercation with Ashley
24      Haynes?
25             A     Yes.

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1              Q     And he mentioned that the issues with your
2       attitude had been unresolved?
3              A     Yes.
4              Q     Okay.     All right.        So then you were
5       presented with a -- basically a severance agreement
6       which had you executed, it would have paid you
7       through the end of the year, right?
8              A     Uh-huh.
9              Q     Okay. And COBRA continuation, I believe,
10      through the end of the year or something like that?
11             A     Yes.
12             Q     Okay.     Now, you were not intoxicated during
13      this meeting, right?
14             A     No.
15             Q     You weren't under the influence of some
16      medication that made your -- your mind unclear,
17      right?
18             A     No.
19             Q     Okay.     And nobody threatened you in any way
20      that something would happen if you didn't sign the
21      document, right?
22             A     No.     He told me that I needed to sign it
23      in order to get my pension.
24             Q     In -- in order to get your pension?
25             A     (Witness nods head affirmatively.)

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1              2:06.
2                      (Whereupon, a recess was had from 2:06 p.m.
3              until 2:19 p.m.)
4                      THE VIDEOGRAPHER:         Back on the record.
5              The time, 2:19.
6       BY MR. BENNETT:
7              Q       Okay.    Back on.
8                      All right.     So during the termination
9       meeting, nobody told you that you were being
10      terminated because of your age or sex, right?
11             A       No.
12             Q       And that was never set forth in any written
13      document you were given about your termination,
14      right?
15             A       Right.
16             Q       You understood that it was Ken who had made
17      the decision; is that right?
18             A       Yes.
19             Q       And he's older than you, isn't he?
20             A       Yes.
21             Q       Is it true that at the time of your
22      termination, the bank had about 32 employees?
23             A       Yes, I would -- I thought there were more,
24      like 49, but we had at least 32.
25             Q       Less than 100?

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1              A     Yes.
2              Q     Less than 50?
3              A     Yes.
4              Q     And would you agree that less than a third
5       of the employees are under the age of 40?
6              A     Yes.
7              Q     And nearly half of the employees at the
8       time of your separation were older than you?
9              A     I don't agree that they were older.               Some
10      were close to the same age.
11             Q     Well, would you agree that during the last
12      year of your employment, the bank had more people
13      employed over the age of 60 than under the age of 40?
14             A     No.     That's a -- that's a tough question,
15      but I don't think so.
16             Q     You would need a roster, right?
17             A     I would need a roster.
18             Q     Okay.     Now, you don't have any personal
19      knowledge of what happened to your duties after your
20      termination, right?
21             A     Yes.
22             Q     Yes, you do or you agree that you do not?
23             A     Yes, I do.
24             Q     From who?
25             A     I'm not going to disclose -- I don't want

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1       to disclose the name, but just different employees
2       talking.
3              Q     You have to tell me who it was.
4              A     Well, at that time Kathy Brooks, Jennifer
5       Wright.     I think that's it.
6              Q     Okay.    Well, then you're aware, aren't you,
7       that a -- a third-party contractor by the name of
8       Stephen LeBlanc (phonetically) Compliance Services
9       started assuming most of your compliance duties?
10             A     Yes.
11             Q     Okay.    And do you have any basis for
12      disputing that the bank also, following your
13      separation, formed an internal compliance committee
14      to work with Mr. Moore to manage the compliance
15      responsibilities?
16             A     Yes.
17             Q     Okay.    And are you aware that there's seven
18      people on that committee?
19             A     Yes.
20             Q     One of whom is Mr. Bibb, right?
21             A     Yes.
22             Q     One of whom is Karen Duncan?
23             A     Yes.
24             Q     She's over 60, right?
25             A     Yes.

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1              Q     Denise Griswell?
2              A     Yes.
3              Q     Stephanie McAfee?
4              A     Yes.
5              Q     Tracy Welch?
6              A     Yes.
7              Q     Kim Balcom?
8              A     Yes.
9              Q     And Ashley Haynes, right?
10             A     Yes.
11             Q     Okay.    So six women and one man?
12             A     Yes.
13             Q     And everyone but Ashley and Kim would have
14      been over the age of 40 as of October 2019?
15             A     Yes.
16             Q     Okay.    All right.         So what was
17      Stephanie's -- Stephanie Wright's position at the
18      time of your separation?
19             A     Stephanie?
20             Q     Stephanie Wright.           I'm sorry, Stephanie
21      McAfee.
22             A     And what was her now?              What was her...
23             Q     What was her position at the time of your
24      separation?
25             A     I'm going to be honest, I don't really know

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1       what Stephanie did.         She was the -- she, like, looked
2       after customer service and did a lot of reviews on
3       the computer to get rid of old accounts and stuff.
4              Q     Okay.     All right.        And Stephanie was in --
5       I'm sorry.     Ashley was over compliance and
6       operations -- or I mean, she was over loans and
7       operations --
8              A     Uh-huh.
9              Q     -- right?
10                   And the FDIC requires a bank to have a
11      compliance officer, right?
12             A     Uh-huh.
13             Q     Okay.     And are you aware that Ashley Haynes
14      was named the bank's interim loan compliance officer
15      and Stephanie McAfee was named the -- the interim
16      deposit compliance officer?
17             A     Yes.
18             Q     Okay.     So your duties were not absorbed by
19      male employees?
20             A     Right.
21             Q     Okay.     With respect to your allegation that
22      the bank has a pattern of, you know, terminating
23      people close to the age of 60 and making them sign
24      severance packages, that's one of your allegations,
25      right?

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1              A     Yes.
2              Q     Okay.    And that's based on the 2016 events
3       surrounding the branch closure, right?
4              A     Yes.
5              Q     Okay.    Now, isn't it true that of
6       the individuals who were over 60 who were affected by
7       that reorganization -- and it was a reorganization,
8       right?
9              A     Yes.
10             Q     They were not actually terminated, they
11      were given the option to retire early, right?
12             A     Right.
13             Q     Okay.    Four of them accepted that, but one
14      of them did not; is that true?
15             A     I don't know exactly.              I don't -- I mean, I
16      don't really know about anyone that did not accept
17      it.
18             Q     But were you even a part of that
19      decision-making process?
20             A     No.
21             Q     And you don't have any personal knowledge
22      of what was discussed with those people at the time?
23             A     No.
24             Q     Are you aware that Pat McAfee - I mean Pat
25      Herringdine was offered an early retirement and she

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1       decline it?
2               A    Yes.
3               Q    And then she continued -- she continued
4       working until she voluntarily retired, right?
5               A    Right.
6               Q    Okay.    And do you remember a person by the
7       name of Andrea Calloway?
8               A    Yes.
9               Q    Do you remember she was initially separated
10      as part of the closure process?
11              A    Yes.
12              Q    But then she was subsequently rehired,
13      wasn't she?
14              A    Yes.
15              Q    Do you remember she was about 49, 50 at the
16      time?
17              A    Yes.
18              Q    Do you remember Ashley Hooks?
19              A    Yes.
20              Q    Okay.    She was about 33 years old and she
21      was terminated as part of the branch closure, right?
22              A    Yes.
23              Q    Who is Andrea Helton?
24              A    She was working in the loan department.
25              Q    No relation to you, right?

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1              A     Yes, my niece.
2              Q     Okay.    But she's your niece?
3              A     Yes.
4              Q     Okay.    And she was about 23 years old,
5       right?
6              A     Yes.
7              Q     And she was separated as part of the branch
8       closure?
9              A     Yes.
10             Q     Okay.    So people of all ages were impacted,
11      right?
12             A     Yes.
13             Q     Okay.    And you were not terminated as part
14      of the branch closure, were you?
15             A     No.
16             Q     None of those people who lost their jobs as
17      part of that reorganization were terminated for poor
18      performance or attitude problems, were they?
19                   MR. BARTON:                 Object to form.     You
20             can answer.
21                   THE WITNESS:                Not that I'm aware of.
22      BY MR. BENNETT:
23             Q     Do you have any knowledge that any of them
24      had been accused of conducting personal banking
25      business on company time?

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1              A     No.
2              Q     Okay.    Are you aware of any male employees
3       who were accused of violating the bank's policies
4       regarding personal financial transactions?
5              A     No.
6              Q     Are you aware of any male employees who
7       were accused of inappropriately speaking to multiple
8       co-workers within a seven-month period and yet
9       remained employed?
10             A     Yes.
11             Q     Within a seven-month period?
12             A     Of today or seven month...
13             Q     Are you aware of any male employee who was
14      accused of inappropriately speaking to co-workers by
15      three different co-workers within a seven-month
16      period and remained employed?
17             A     Read it one more time.
18                   MR. BENNETT:                Will you read it?
19                   MADAM COURT REPORTER:              Yes.
20                   (Whereupon, requested portion of record was
21             read by the court reporter.)
22                   THE WITNESS:                Yes.
23      BY MR. BENNETT:
24             Q     Who?
25             A     Lamar Doolittle.

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1              A    The -- the request for their statements.
2                   (Defendant's Exhibit No. 20 marked for
3              identification.)
4       BY MR. BENNETT:
5              Q    Let me show you Exhibit 20.
6                   So this is a composite exhibit which has
7       some statements from Jessica Ford, Della Brown, Pat
8       Herringdine and Rachel Black, right?
9              A    Right.
10             Q    Did you tell each of these people that they
11      were going to be witnesses in the lawsuit and likely
12      deposed if they gave you a statement?
13             A    No.
14             Q    Did you tell them that you were going to be
15      sending their statements to your lawyer?
16             A    Yes.
17             Q    But you didn't tell them that they were
18      going to be witnesses in a lawsuit?
19             A    I asked them if they would be a witness and
20      would they please write their story, and they said
21      yes, be glad to.
22             Q    All right.       Who's Jessica Ford?
23             A    She was the ACH coordinator at the bank.
24             Q    Okay.     So she was the coordinator over
25      online banking?

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1              A    Yes.
2              Q    Okay.     She was terminated on August the
3       23rd, 2013, right?
4              A    Yes.
5              Q    So six -- over six years after you were
6       terminated?
7              A    Yes.
8              Q    So she has no personal knowledge of
9       anything that happened in 2018 or 2019?
10             A    No.
11             Q    All right.       And do you remember there was
12      an incident -- an incident in 2012 when the bank was
13      experiencing frequent complaints regarding the online
14      bill pay program?
15             A    Yes.
16             Q    She was the coordinator for that, right?
17             A    Yes.
18             Q    Okay. And she claims that while Lamar
19      Doolittle was out at a conference, more complaints
20      came in and she reached out to you for help?
21             A    Yes.
22             Q    Is that true?
23             A    Yes.
24             Q    Okay.     And then she says that you reached
25      out to whoever the vendor was?

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1              A    Right.
2              Q    Was that during the e-signature process?
3              A    I can't answer that honestly.                If -- I
4       don't believe it was.
5              Q    Okay.
6              A    I think we had had an update to the
7       software that had caused some problems.
8              Q    Okay.     And what she claims is that when he
9       got back, he was firm and ugly with her for reaching
10      out to you, right?
11             A    Yes.
12             Q    All right.       There's no allegation in this
13      letter that she ever complained to Karen Wilson or
14      Mr. Bibb about this incident, right?
15             A    Right.
16             Q    Or Chris Irwin, right?
17             A    Right.
18             Q    And you didn't actually witness the
19      incident between her and Lamar, right?
20             A    I didn't witness it, no.                Lamar did tell me
21      about it, but I didn't witness it.
22             Q    Okay.     What did Lamar tell you?
23             A    That he had terminated Jessica.
24             Q    Now, one of the things you alleged in your
25      complaint was that she was forced to sign the

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1       severance agreement.
2                   You're aware of that, right?
3              A    Yes.
4              Q    That never happened, did it?
5              A    She never told me for sure that she did or
6       didn't sign it.
7              Q    She doesn't say anything in this statement
8       about being forced to sign a severance, right?
9              A    Right.
10             Q    It says she was given a severance pay?
11             A    Right, yes.
12             Q    And you don't have any knowledge that she
13      was required to sign anything to get that pay, right?
14             A    Right.
15             Q    You weren't present in her termination
16      meeting, were you?
17             A    No.
18             Q    You also allege that she was demoted at
19      some point.
20                  Do you remember that?
21             A    Yes.
22             Q    She was never demoted, was she?
23             A    Other than she said she was, I do not know.
24             Q    Okay.     And you don't have any personal
25      knowledge that her salary was reduced at the time of

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1       termination, right?
2              A    No.
3              Q    So did she tell you those things?
4              A    She told me that she had been demoted.
5              Q    Did she tell you that she had her salary
6       reduced?
7              A    No.
8              Q    So you would agree that that's not true,
9       that that would be a lie?
10                  MR. BARTON:                 Object to form.
11      BY MR. BENNETT:
12             Q    Let's go to the second page of this
13      exhibit, which is your email from Della Brown.
14                  Okay.     Now, she retired from the bank on
15      November the 2nd, 2012.
16                  Do you have any basis to dispute that?
17             A    No.
18             Q    Okay.     And she voluntarily retired, right?
19             A    Yes.
20             Q    Do you know how old she was at the time?
21             A    No.
22             Q    Okay.     And she was a customer service rep,
23      right?
24             A    Yes.
25             Q    So she wouldn't have any personal knowledge

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1       she's a very meek person.
2              Q    Well, you know that she continued working
3       for the bank --
4              A    Yes.
5              Q    -- right?
6              A    (Witness nods head affirmatively.)
7              Q    Okay.     And if this -- if this incident
8       actually happened, it had to have been some point
9       before Ms. Brown retired in 2012, right?
10             A    Yes.
11             Q    And you understand she continued to work
12      through 2022 as far as you know, right?
13             A    Yes.
14             Q    Now, you and Mr. Bibb had totally different
15      jobs, right?
16             A    Yes.
17             Q    He was the president, you were an officer?
18             A    Yes.
19             Q    You and Lamar had different jobs too,
20      right?
21             A    Yes.
22             Q    Let's go to Page 3 of this exhibit.
23                  This is an email from Pat Herringdine to
24      you, right?
25             A    Yes.

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1       know if she did reply?
2              A    I don't think so, and I don't have her in
3       my contacts.
4              Q    Okay.     Okay.     Another person you identify
5       is -- as a witness is Kathy Brooks?
6              A    Uh-huh.
7              Q    And you allege that when she worked in the
8       loan department, she found herself in disagreement
9       with a manager concerning a compliance issue and that
10      after the disagreement she was demoted?
11             A    Yes.
12             Q    Okay.     What was her position?
13             A    She was doing the collateral.
14             Q    Collateral.
15                  Were you employed when that happened?
16             A    Yes.
17             Q    Okay.     Isn't it true that what actually
18      happened was her position was eliminated because it
19      was determined that the loan department was
20      overstaffed?
21             A    Yes.     But we still had after school help.
22             Q    Okay.     And so a teller was needed on the
23      teller line.       And she was transferred from the loan
24      department to the teller line?
25             A    Yes.

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1              Q     And you understand she filed an EEOC charge
2       but then withdrew it?
3              A     Yes.
4              Q     Has she given you a statement or anything
5       like that?
6              A     She didn't withdraw it.                She -- the guy
7       didn't complete it or -- I don't know exactly what
8       happened.     She missed a deadline.                Her salary was cut
9       $15,000.
10             Q     Have you obtained a statement from her?
11             A     No.
12             Q     Have you had any communications with her?
13             A     Nothing in general, except just in general
14      conversation.
15             Q     Have you talked to her about your lawsuit?
16             A     No.
17             Q     Have you talked to her about your
18      employment?
19             A     She knows I'm working at the Farmers Bank.
20             Q     No, no.     Your employment with the bank?
21             A     I mean, we worked side by side, so she is
22      perfectly aware.
23             Q     Do you have those communications?
24             A     No.    It was verbal.
25             Q     Are there any other women who you think

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1              A     I don't know of anything that would be
2       relevant for Jen- -- Jennifer.
3              Q     Okay.     You never heard Mr. Bibb make any
4       age-based kind of discriminatory comments, have you?
5              A     No.
6              Q     What about sex-based discriminatory
7       comments?
8              A     No.
9                    (Defendant's Exhibit No. 21 marked for
10             identification.)
11      BY MR. BENNETT:
12             Q     Okay.     Let me hand you Exhibit 21.
13                   All right.       Do you recognize Exhibit 21 as
14      a copy of your -- your responses to our
15      interrogatories?
16             A     Yes.
17             Q     Okay.     And if you look at the second to
18      last page, you verified that these were true and
19      correct to your -- the best of your knowledge on
20      March the 31st, 2022, right?
21             A     Yes.
22             Q     And I think you said these were -- this is
23      one of the documents that you looked at in
24      preparation for today?
25             A     Yes.

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                                                                                                COOPER,
170 College Street       (478) 841-9002 fax                                                     BARTON &
Macon. Georgia 31 201    c,,operbartomzom
                                                                                                COOPER
                                                                                                TRIAL ATTORNEYS




                                                 }CENNETI tE.   BarrroN
                                                KER@COOPPnBAnTON.COM


                                                  January   6, 2020

    VIA CERTIFIED MAIL/                                                                   LVED
    RETURN RECEIPT REQUESTED &
    VIA FACSIMILE TO: (404) 562-6909                                             Al
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                                                                                          t.L.
    Equal Employment Opportunity Commission
    Atlanta District Office
    100 Alabama Street, S.W., Suite 4R30
    Atlanta, Georgia 30303                                                 EEOC-ATDO
         Re:     Charge of Discrimination
                 Debra Helton v. The Geo. D. Warthen Bank
                 Equal Employment Opportunity Commission (Charge No. 410-2020-00723)
                 Cooper, Barton & Cooper File No.: 15974.0001

    To Whom It May Concern:

         Our law firm has been retained to represent Ms. Debra Helton, and we wish to file a Charge of
    Discrimination on her behalf. Enclosed, please find atrue and correct copy of aNotice in which Ms. Helton
    has designated me and our law firm as her legal representative. The Equal Employment Opportunity
    Commission will find that, while Ms. Helton was employed with The Gee. D. Warthen Bank (hereinafter,
    "Bank"), she was wrongfUlly terminated due to her sex and age in violation of Title VII of the Civil Rights
    Act and the Age Discrimination in Employment Act, respectively.

         Ms. Helton has made an initial inquiry with the EEOC and has an interview scheduled for January 22,
    2020. With the submission of this Charge, we do not believe that the interview will be necessary, but we
    will be more than happy to provide additional information upon request.

         Ms. 1-lelton began her employment with the bank on October 31, 1988, and other than nine months of
    leave in 1995, she  has been consistently employed with the bankfor the intervening thiny'one (31) years.
    At the time of her termination, Ms. I-ielton was fifty-seven (57) years old and she planned on working for
    the Bank until she reached the age of retirement. Most recently, Ms. Helton served as Vice President and
    the Bank's Compliance Officer. The Bank's principal office is located at 216 North Harris Street,
    Sandersville, Washington County, Georgia 31082. The flank has employed in excess of 20 individuals for
    20 calendar weeks in 2019 and in prior calendar years.

          At all relevant times, Ms. Helton's performance was exemplary. In fact, for the first thirty years and
    sL'c months, she was never disciplined or issued any write ups. However, this began to change in April 2019,
    when Ms. Helton began to be targeted by Bank President Ken Bibb. From April until September, Ms. Helton
    was targeted several times by Mr. Bibb for minor issues that should not have resulted in any discipline.
    During that same time, Mr. Bibb began removing Ms. Hclton's access to certain flank records and be began
    to reassign many of her duties to oilier employees. As explained herein, Ms. lielton's termination appears




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                                                                                                       Def Ex. 1
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to be consistent with the Bank's notions sex stereotyping, in that the Bank takes issue with female officers
who assert their authority, but certainly permits their male counterparts to engage in offensive conduct while
not suffering any adverse consequences. Moreover, the Bank has ahistory of forcing its older employees
out of their positions.

     Specifically, around October 2019, Mr. Bibb reassigned all of Ms. Helton's responsibilities to the
Bank's thirty (30) year old Loan Operations Supervisor, Ashley Haynes. The EEOC will find that Ms.
Haynes was named the Interim Loan Compliance Officer after Ms. Helton was terminated. Ms. Haynes had
not received any prior training for these duties and she did not have the requisite knowledge or experience
regarding loan and banking compliance. However, before she was terminated, Ms. Helton remained
ultimately responsible for the Bank's compliance as the Compliance Officer which was aduty that Ms.
                                                                                -




Helton took very seriously.

     On one day in early October, Ms. Helton requested that Ms. Haynes make corrections to the Bank's
database of loans because some of the information was incorrect or inaccurate. Ms. Haynes flatly refused
to make any corrections to the inaccurate information, and she insisted that the information was not wrong.
Ms. Helton believed that these corrections were crucial because the Bank could be subject to liability and/or
fines if the information was not corrected and the Bank were to be audited. Ms. Helton told Ms. Haynes that
she was not going to certif  yany of this loan information as being correct unless the appropriate changes
were made. The discussion became somewhat heated and Ms. Helton admits that she was stem; although,
Ms. Helton certainly did not yell, use profanity, make threats, or engage in any other conduct that would not
be expected in any workplace. Critically, before Mr. Bibb had started taking away Ms. Helton's
administrative tights to the Bank's databases over the prior several months, Ms. Helton could have simply
made these corrections herself.

     On the next day, October 9, 2019, Mr. Bibb called Ms. Helton into his office, where Ms. Helton Ihund
that arepresentative from Human Resources was also present. The conversation was relatively brief,
especially in light of Ms. Helton's three decades of service to the Bank. Mr. Bibb simply said to Ms. Helton,
"I don't know what we're going to do about your attitude." He also stated that one employee who overheard
the prior day's discussion "felt uncomfortable." However, Mr. Bibb did not ask Ms. Helton anything about
the conversation with Ms. Haynes or the circumstances giving rise to it.

     Interestingly, when Ms. Helton was terminated, the Bank offered her aseverance package. The Bank
wanted Ms. Helton to work for Ifive hours per week during atransition period until the end of the year. In
exchange, Ms. Helton would have been required to waive and release any claims that she had against the
Bank. The Bank's request suggests that Ms. Helton was indeed avalued employee who should not have
been terminated. Ms. Helton did not accept the severance because she believed that her termination was
discriminatory and improper.

     Ms. Helton's supervisors had only ever raised an issue with her "attitude" on one prior occasion. On
April 8 2019, another Bank officer had been assigned to close the Bank. However, this other person was
       ,



also scheduled for avacation that week and she had not been able to find someone else to fill in for her.
Upon request, Ms. Helton agreed to help by supervising the closings for the week. However, Ms. Helton
had an appointment on Wednesday afternoon, and she asked the other Bank officers if they could fill-in for


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her. She was unable to find someone to replace her, so Ms. Helton asked the tellers to try to hurry so
everyone could get out shortly after the 5:00 pm closing. Finding that the tellers were actually moving
slower than normal, Ms. Helton' offered her help and she asked them to move faster. In no way did Ms.
Helton raise her voice or do or say anything that should have been considered offensive. The next day, Mr.
Bibb called Ms. Helton into his office, told her that she had an "attitude" when she rushed the tellers to
finish their work, and he demanded that she apologize to all of the tellers, which Ms. Helton did. There was
no other disciplinary action taken as aresult of this situation.

     The Bank's problem with Ms. Helton's "attitude" appears to actually be the Bank's problem when
female officers assert their authority. However, the Bank tolerates similarly-situated male officers who raise
their voice, argue with other employees, and even use profuxñty in the workplace. For example, Ms. Helton
can recount when Mt. Bibb, himself, has argued with another employee. On several occasions, Mr. Bibb
was so mean to afemale employee that he made her cry. There have been several occasions when Lamar
Doolittle, another officer of the Bank, has argued with other employees and even raised his voice at Mr.
Bibb in ameeting; yet, no actions have ever been taken again him, Mr. Doolittle has also been known to
have used profanity when speaking to female employees whom he supervises. Moreover, Mr. Ronnie May
was so harsh in how he spoke to his secretary, Pat Herringdine, that he made her nervous and fearful. His
treatment of Ms. Herringdine was so offensive that she was diagnosed with anxiety due to this treatment.
Mr. Bibb observed this behavior and even admitted that Mr. May needed anger management classes;
however, no action was ever taken against him and he worked at the Bank until his voluntary retirement.

      The EEOC will also find that the Bank has ahistory of targeting and either terminating or separating
its older employees. For example, in October 2016, the Bank closed its second branch and consolidated its
workforce. When it did so, the Bank terminated asixty-seven (67) year old Loan Officer, asixty-nine (69)
year old Loan Supervisor, and its Vault Custodian who was sixty-one (61). Similar to its offer to Ms. Helton,
the Bank offered all three of these individuals aseverance package in exchange for awaiver of all possible
claims, which the three individuals accepted due to the likelihood of being unable to find new work due to
their ages.

     Through its inve.tigation, the EEOC will find that on October 8, 2019. The Geo. D. Warthen Bank
subjected Ms. Helton to discrimination by terminating her employment due to her sex and sex stereotypes
in violation of Title VU of the Civil Rights Act and/or due to her age in violation of the Age Discrimination
in Employment Act. We appreciate the EEOC's time and attontion to this matter and please do not hesitate
to contact us if you have any questions or concerns.

                                            Sincerely yours,




                                            KENNETH B. BARTON
KEB/nagm
Enclosure
cc:        Ms. Debra Helton (via email)
ISS97000LLOLEEOC Charge



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1want this Charge filed with both the EEOC and the State or local Agency, if any. Iwill advise the agencies
if Ichange my address or phone number and Iwill cooperate fully with them in the processing of my
Charge in accordance with their procedures.

Ideclare under penalty of perjury that the above is true and correct.

                                      Jan 6, 2020
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DEBRA HELJON                         DATE




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                                           ATTORNEYS AT LAW
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!?0 coflege Sirear       478) 841-9003 fax                                                     BARTON &
!acoit, Gurgia 31201    cuoprbatton.corn
                                                                                               COOPER
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                                             Notice of Designation of Attorney

                                             Effective Date: November 19, 2019

          1, DEBRA HELTON, do hereby designate the individual(s) and law firm(s) named below to act as
          ray attorney/representative in all matters pertaining to my formal Charge of Discrimination to be
          filed with the Equal Employment Opportunity Commission.


           Charging Party:                                     Attorney/Representative;
           Ms. Debra Helton                                    Kenneth E. Barton. Esq.
                                                               COOPF,R,.BARTON & COOPER, LU'
           Sandersville, Georgia 31082                         170 College Street
                                                               Macon, Georgia 31201
                                                               (478) S41-9007- telephone
                                                               (478) 841-9002- facsimile
                                                               keb®cooperbarton.com


           Iunderstand thai 1, or any other individual thtst Iso delegate, may cancel this notice, andThnt Iam
           responsible for notifying the Equal Employment Opportunity Commission in writing in the event
           of acancellation.




                                                                  /I- 2s-≥i9
                 RA 1-JELTON                                     DATE




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                           IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

   DEBRA HELTON,

            Plaintiff,                                                  Civil Action No.:

  V.
                                                                          5:21-cv-00404

  THE GEO. D. WARTHEN BANK,

            Defendant.                                            JURY TRIAL DEMANDED


                                               COMPLAINT

        COMES NOW, Plaintiff Debra Helton, and brings this action pursuant to Title VII of the

Civil Rights Act of 1964, 42 U.S.C.         §2000e,   et seq. and the Age Discrimination in Employment

Act, 29 U.S.C.     §623.    Plaintiff alleges that Defendant The Geo. D. Warthen Bank subjected

Plaintiff to discrimination based her sex and age, including through said Defendant's termination

of Plaintiff's employment, respectfully showing the Court as follows:

                                   JURISDICTION AND VENUE

                                                       1.

        This Court has original jurisdiction over the subject matter of this civil action pursuant to

28 U.S.C.   §§   1331 & 1343 and the enforcement provisions of Title VII of the Civil Rights Act of


1964 and the Age Discrimination in Employment Act.

                                                       2.

        Venue is proper in this judicial district pursuant to 28 U.S.C.    §1391 because Plaintiff was

employed, and the events underlying this action occurred, in Washington County, Georgia, which

is located within this judicial district.                                                   DEFENDANT'S
                                                                                              EXHIBIT




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                                             PARTIES

                                                  3.

        Plaintiff Debra Helton (hereinafter, "Plaintiff' or "Helton") is acitizen of the United States

and aresident of Georgia, and she was between 40 and 70 years of age at all times at issue. At all

times relevant to this suit, Ms. Helton was employed with Defendant The Geo. D. Warthen Bank.

                                                  4.

        At all relevant times, Ms. Helton was considered acovered, non-exempt employee under

Title VII of the Civil Right Act of 1964 and the Age Discrimination in Employment Act.

                                                  5.

        Defendant The Geo. D. Warthen Bank (hereinafter, "Defendant") is adomestic banking

corporation, incorporated under the laws of the State of Georgia. Defendant's principal address is

216 North Harris Street, Sandersville, Washington County, Georgia 31082. Defendant may be

served with process through its Registered Agent, Karen Wilson, located at 213 North Thomas

Street, Davisboro, Washington County, Georgia 31018.

                                                  6.

        Defendant is aprivate employer engaged in interstate commerce with an annual revenue in

excess of $500,000.00. Defendant has employed in excess of 20 employees, working for at least

twenty calendar weeks, in 2020 and preceding years. Defendant is acovered employer within the

meaning of Title VII of the Civil Rights Act and the Age Discrimination in Employment Act.

                                    STATEMENT OF FACTS

                                                  7.

        Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1through 6, as if the same were set forth herein.




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                                                  8.

          Ms. Helton began her employment with Defendant on October 31,1988,working as abank

teller.

                                                  9.

          On October 8, 2019, as Ms. Helton approached nearly thirty-one years of service to

Defendant, she was abruptly terminated from her position.

                                                 10.

          Before she was fired, Ms. Helton had risen through Defendant's ranks, and she served most

recently as Defendant's Vice President and Compliance Officer, working out of Defendant's sole

branch in Sandersville, Georgia.

                                                 it.

          At all relevant times, Ms. Helton's performance was exemplary, and, but for the incidents

alleged herein, Defendant had not subjected Ms. Helton to any disciplinary action in any of the

four decades that she was employed.

                                                 12.

          However, Defendant is known to target its older employees on occasion.

                                                 13.

          By way of example, in October 2016, Defendant closed its second banking location, and

underwent apurported consolidation of its workforce.       During this process, Defendant laid off

three of its employees who were all in their sixties, and whose performance had otherwise been

satisfactory. Like Ms. Helton, Defendant offered these employees aseverance package, which the

three employees accepted on account of the difficulty that they anticipated in finding other work,




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but despite the fact that the agreement purportedly required such employees to waive and release

any claims of age discrimination.

                                                14.

       Moreover, Defendant not only ignores, but effectively encourages, its male employees and

officers who exhibit assertive or aggressive conduct toward other employees, behavior that often

rises to the level of being inappropriate for the workplace. As aresult, male employees who exhibit

such assertive or aggressive conduct generally do not receive disciplinary action.

                                                15.

       Conversely, when Defendant's female employees express conduct that is seen as

aggressive, abrasive, or even merely assertive, they are generally subjected to disciplinary action,

up to and including demotion or termination of their employment.

                                                16.

       When Defendant considers its female employees' behavior to be assertive, Defendant's

frequently justifies its response as having aproblem with the woman's "attitude."

                                                17.

       Byway of example, Ken Bibb, one of Defendant's other officers who is male, was known

to routinely speak to other employees so harshly that they ultimately ended up in tears and

considered resigning their employment as aresult. Defendant refused to subject this male officer

to any disciplinary action or otherwise address his conduct in any way.

                                                18.

       Lamar Doolittle, another male officer, displayed aggressive conduct much more

frequently; however, Defendant has entirely failed to address the conduct.       According to one

female employee, Della Brown, Mr. Doolittle spoke to her disrespectfully over aperiod of years.




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On one specific occasion, when Ms. Brown asked Mr. Doolittle for assistance over amatter in

which he supervised, Mr. Doolittle yelled at Ms. Brown, telling her that he did not like her

"attitude."

                                                 19.

        On another occasion, Mr. Doolittle got upset with asubordinate, Rachel Black, when the

teller's counting of cash in anticipation of opening prevented him from performing routine

maintenance on the computers that the tellers were assigned.         According to Ms. Black, Mr.

Doolittle "lost his marbles," yelling at the tellers in amanner so harshly that it caused the female

tellers to be concerned for their own safety. While Mr. Doolittle spoke severely to Ms. Black, he

actually invaded her personal space and yelled in her face, telling Ms. Black that if she did not like

the way that Mr. Doolittle was speaking to her, she could pack her stuff and go. Not only was Mr.

Doolittle's conduct not addressed by Defendant, Defendant subjected Ms. Black to disciplinary

action for this incident instead.

                                                 20.

        Jessica Ford last served as Defendant's coordinator for online banking and manager over

credit card transactions.    Defendant had been receiving anumber of complains concerning its

online banking, but when Ms. Ford asked for Mr. Doolittle's help on several occasions, she was

ignored. When Mr. Doolittle was out of the office and Defendant received several more online

banking complaints, Ms. Ford instead asked Ms. Helton for help since she was the next person in

Ms. Ford's chain of command. Ms. Helton and Ms. Ford were able to quickly resolve the issue

with the vendor. However, when Mr. Doolittle found out about what happened, he got very loud

and disrespectful with Ms. Ford, used profane language toward her, and from that point forward

would tell Ms. Ford that she was not a"team player." Even though Ms. Ford had not received any




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discipline in her nine-year tenure, she was first demoted, and then she found herself terminated

soon thereafter. Defendant also had Ms. Ford sign aseverance agreement, waiving and releasing

any claims of discrimination, at her separation.

                                                   21.

        Like Ms. Helton, Kathy Brooks has worked for Defendant for approximately thirty years,


and she previously worked in Defendant's loan department. Like Ms. Helton, Ms. Brooks found

herself in adisagreement with amanager in the loan department concerning acompliance issue.

After the disagreement, Defendant ultimately demoted Ms. Brooks and slashed her salary by

approximately $16,000.00, explicitly telling Ms. Brooks that Defendant took issue with her


"attitude."

                                                   22.

        Mr. Doolittle was not only rude and disrespectful to female employees.        On several

occasions, Mr. Doolittle actually raised his voice and yelled at the bank's president in ameeting

and in front of subordinate employees. Defendant did not subject Mr. Doolittle to any disciplinary

action for such conduct.

                                                   23.

        Similarly, another one of Defendant's officers, Ronnie May, was frequently so rude to his

female secretary that it made her so nervous and anxious that she and her doctor felt it necessary

to prescribe medication.   Not only was the bank's present aware of Mr. May's behavior, he

acknowledged that Mr. May may need anger management classes; however, Mr. May was not

subjected to any discipline for this conduct.




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                                                24.

        Ms. Helton had achieved much success during her career that had entered its fourth decade

with Defendant, both for herself and for the bank.

                                                25.

        In the 1990s, Ms. Helton earned her certification as an accredited Automated Clearing

House ("ACM") Professional. After earning this certification, Ms. Helton was responsible for

implementing Defendant's ACM program, which allowed Defendant to process electronic

transfers of funds.

                                                26.

        Subsequently, Ms. Helton oversaw the department over services for certificates of deposit

and individualized retirement accounts ("IRA").

                                                27.

        Ms. Helton was promoted to the position of loan officer in the year 20011 and in 2009, she

became the Compliance Officer after she completed banking school and compliance school.

                                                28.

       In 2012, Ms. Helton and one other person were responsible for initiating Defendant's

escrow program, which required extensive study of the applicable rules and regulations. This was

a significant accomplishment because it was something that Defendant's officers had simply

written off as being too complicated up to that point.

                                                29.

       While this matter was pending before the Equal Employment Opportunity Commission,

Defendant contended that Ms. Helton engaged in grossly improper conduct in Summer 2018.




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                                                30.

        However, Ms. Helton engaged in no such violations, and she was not subjected to any

discipline for any incidents in Summer 2018, suggesting that these new allegations were false.

                                                31.

        Moreover, had Ms. Helton engaged in such violations now alleged by Defendant,

Defendant would have been required to report the incident to the appropriate federal authorities.

Defendant failed to do so, which suggests that Ms. Helton's conduct did not violate rules of any

kind.

                                                32.

        Defendant's assertion concerning the Summer 2018 incident is false, and it had nothing to

do with her termination over ayear later.

                                                33.

        On April 11, 2019, there was aseparate incident that, by Defendant's own statements, did

not play into Ms. Helton termination.

                                                 34.


        During that week in April 2019, one Defendant's employees, who was normally tasked

with overseeing the nightly closure of the bank, was out of work on personal leave for the week.

Since all of Defendant's other authorized officers declined to step into oversee the nightly closure,


Ms. Helton volunteered to do so.

                                                 35.

        However, when the day came for Mr. Helton to stand in as the supervisor for the nightly

closing, she remembered that she had amedical appointment scheduled the same day after work.




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As aresult, Ms. Helton asked another officer to take her place. The other officer declined Ms.

Helton's request, responding that she too had an appointment scheduled that afternoon.

                                                36.

        At 4:45 pm on the day in question, Ms. Helton began watching the clock, and she offered

her assistance to the employees who were counting money to close out for the day. Around ahalf-

hour later, around the time that Ms. Helton would have needed to leave to arrive at her appointment

on time, the employees just began counting the drawer of money from the drive-in window. This

made Ms. Helton upset, not only because the employees had known that this drawer needed to be

counted athirty minutes earlier when Ms. Helton's offer to help had been declined, but because

Ms. Helton's coworker who was present, who was also considered one of Defendant's officers,

could have supervised the closing without requiring Ms. Helton's presence.

                                                37.

        When Ms. Helton got upset, she acknowledges that, while she did not raise her voice at the

other employees, she did use aprofane word in speaking to them. The word that she used was far

from the worst that had been used in this workplace, but Ms. Helton still felt the need to apologize

to her coworkers for her reaction the next morning.

                                                38.

        Ms. Helton was not subjected to any disciplinary action because of the April 11, 2019

incident.

                                                39.

       However, in ameeting the day after the incident, the bank president told Ms. Helton that

she had an "attitude" the prior day.




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                                                 40.

        Still, the April 2019 incident did not appear to be an issue, and within the next several

weeks, the bank president told Ms. Helton that she had been doing a"fabulous job."

                                                 41.

       Defendant later claimed that it felt like Ms. Helton had not been "respectful" to her

subordinates.   This is a term that Defendant has never used to describe its male employees'

conduct.

                                                 42.

       Ms. Helton had previously observed what Defendant had done to female employees with

an "attitude," so she tried her best to avoid controversy over the course of the next several months.

                                                 43.

       However, in hindsight, it is now clear that Defendant had begun its attempts to remove Ms.

Helton due to her age, and because she had exhibited conduct contrary to Defendant's expectations

of how its female employees should behave.

                                                 44.

       In May 2019, Defendant began slowly removing many of Ms. Helton's duties, and gave

such responsibilities to its thirty-year-old Loan Operations Supervisor, Ashley Haynes.

                                                 45.

       However, unlike Ms. Helton, Ms. Haynes had not completed compliance school, and she

neither had any training or experience with banking compliance at that time.

                                                 46.

       During this time, Defendant also removed Ms. Helton's access to certain electronic tools


and record-keeping programs. As a result, Ms. Helton had to notate compliance issues and




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necessary changes to accounts by hand, which was extremely inefficient and caused Ms. Helton

to experience frustration as she simply attempted to perform herjob.

                                                47.

       It became even more clear that Defendant was trying to push Ms. Helton out when

Defendant reassigned Ms. Helton's loan portfolio to other officers in the first week of October

2019. Which, given that this was the week before Ms. Helton was terminated, would suggest that

Defendant was already planning to fire Ms. Helton, and the reason provided was pretextual.

                                                48.

       As the designated Compliance Officer, one of Ms. Helton's duties was to review

Defendant's electronic records to ensure that the information contained therein was consistent with

the agreement underlying acustomer's loan.

                                                49.

       Similarly, Ms. Helton was required to ensure that the electronic system applied customers'

payments in the manner consistent with agreement. Specifically, she had to ensure that

overpayments were applied to principal, interest, escrow, and late fees in amanner consistent with

the loan agreement.

                                                50.

       By October 2019, there had been anumber of discussions between Ms. Helton and Ms.

Haynes concerning changes that Ms. Helton believed needed to be made to the payment sequences

for numerous loans,




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                                                  51.

           Before Ms. Helton raised the issue with Ms. Hayes, Ms. Helton had sent several emails to

both the bank's president and the Chief Information Officer to seek their clarification. However,

these men refused to respond to Ms. Helton's emails.

                                                  52.

           Because she did not get a response, Ms. Helton was able to verify with amember of

Defendant's Compliance Committee that the approach that Ms. Helton intended to suggest to Ms.

Haynes was indeed the correct and appropriate approach.

                                                  53.

           When Ms. Helton asked Ms. Haynes to make changes to the sequence of payments, Ms.

Haynes flatly refused.

                                                  54.

           Indeed, Ms. Helton and Ms. Haynes had adisagreement concerning this compliance issue.

However, there is nothing to suggest that Ms. Helton's conduct was anything less than professional

or that she had been rude, disrespectful, abusive, or even that she used any inappropriate language.

                                                  55.

           When Ms. Haynes described this discussion, purportedly on the same day, she merely

stated that Ms. Helton kept "fussing about the payment collection sequence for the loans" and

further.

                                                  56.

           Ms. Helton had indeed asserted herself during her attempts to ensure that the bank was in

compliance with its loan agreements with its customers.




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                                                57.

       Ms. Helton was certainly frustrated by the dispute and the fact that Ms. Haynes, a

subordinate employee, refused to comply with Ms. Helton's directives. As aresult, she calmly

stepped away from the conversation, collected afew of her personal belongings, and left the bank

to take an early lunch break.

                                                58.


       Ms. Helton decided that the disagreement was not worth her time, and afew minutes after

she excused herself from the conversation with Ms. Haynes, Ms. Helton sent an email to Ms.

Haynes from her mobile phone, stating, "[h]ey after thinking about it, this is not acompliance

issue so don't worry about making that change. Iwon't check that part anymore. Iwill just do

the exceptions on the loan code sheet and documents that go with the real estate loans. This will

keep it simple."

                                                59.

       However, two days later, on October 9, 2019, the bank president called Ms. Helton into a

meeting with the Human Resources Manager. Mr. Bibb did not ask Ms. Helton anything about

the conversation or for her side of the story. Instead, the bank president told Ms. Helton that her

conversation with Ms. Haynes had made another employee "feel uncomfortable."

                                                60.

       At that time, Mr. Bibb said to Ms. Helton, "I don't know what we're going to do about

your attitude."

                                                61.

       This conversation occurred merely twelve days prior to Ms. Helton's thirty-first


anniversary of working for Defendant.




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                                                62.

          However, Ms. Helton would not make it to that milestone as Mr. Bibb advised Ms. Helton

that she was being fired, effective immediately.

                                                63.

          At that time, Defendant attempted to coerce Ms. Helton into signing a"Resignation and

Transition Agreement."

                                                   64.

          This severance agreement would have required Ms. Helton to waive and release her claims

of discrimination based on her age and sex.

                                                65.

          In exchange for this release, the severance agreement would have allowed Ms. Helton to

continue receiving her salary and health insurance until alittle over two months later when such


payments would end on December 31, 2019.

                                                   66.

          However, what Defendant tried to force Ms. Helton to sign was not actually aseverance

agreement. Defendant wanted Ms. Helton to continue working, including to train the employee

who would be replacing her, during the entire time that Defendant continued to compensate Ms.

Helton.

                                                   67.

          Defendant threatened Ms. Helton, telling her that, if she did not sign the severance

agreement, she would not receive the pension that she would have otherwise been entitled.




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                                                68.

        At that time, Ms. Helton knew that she had been discriminated against based on her age

and because Ms. Helton did not conform to the stereotypes held by Defendant concerning how its

female employees should behave. As aresult, she refused to sign the severance agreement and

waive her claims against Defendant.

                                                69.

        Defendant's personnel policies provide the following:

        If an involuntary termination is due to reasons other than for lack of work, such as
        insubordination, failure to follow instructions, inability to perform job
        requirements, attendance, malfeasance, or asituation where the employee violated
        bank policy or showed disregard for the best interests of the bank, [Defendant] will
        generally not pay severance pay.

                                                70.

        Defendant's desire for Ms. Helton to continue working under the terms of the severance

agreement, along with the payment of aseverance itself in light of Defendant's policies, suggests

that Ms. Helton was not terminated for any misconduct or failure to perform herjob.


                                                71.

        Defendant's stated reasons for terminating Ms. Helton are false, and instead, she was fired

because of her age and because she did not conform to Defendant's stereotypes concerning how it

expected its female employees and officers to behave.

                                                72.

        Defendant ultimately replaced Ms. Helton with afemale who was not known to be strong

willed or assertive.

                                                73.

        Ms. Helton's replacement was nearly thirty years her junior.



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                              Procedural/Administrative Background

                                               74.

        In December 2019, Ms. Helton made initial contact with the Equal Employment

Opportunity Commission (hereinafter, "EEOC").

                                               75.

        On or about January 6, 2020, Ms. Helton submitted her Charge of Discrimination to the


EEOC, alleging that she had been subjected to discrimination based on her age and sex. The EEOC

assigned Ms. Helton Charge Number 410-2020-00723.

                                               76.

        Defendant had actual notice of the EEOC Charge, participated in the administrative

proceedings, and was represented by counsel at that time.

                                               77.

        Ms. Helton subsequently requested that the EEOC issue a"Right to Sue letter."

                                              78.

        On August 16, 2021, the EEOC issued its Notice of Right to Sue, which Ms. Helton

received, through counsel, on the same day.

                                              79.

        Ms. Helton has exhausted her administrative remedies as to the claims in her Charge of

Discrimination, and she is filing the instant action within ninety days of the EEOC's issuance of

the Notice of Right to Sue.




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                                    COUNT I:
                     WRONGFUL TERMINATION IN VIOLATION OF
                   THE AGE DISCRIMINATION IN EMPLOYMENT ACT

                                                 80.

        Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs Ithrough 79, as if the same were set forth herein.

                                                 81.

        Pursuant to the Age Discrimination in Employment Act, it is unlawful for an employer to

discriminate against any individual with respect to the compensation, terms, conditions, or

privileges of his or her employment because of such individual's age. 29 U.S.C. §623.

                                                 82.

        As alleged herein, Defendant has routinely treated its older employees less favorably than

those who are younger. Specifically, Defendant has ahistory of terminating, including laying off,

its older employees, and when so doing Defendant attempts to have the separated employee waive

and release any claims of discrimination.

                                                 83.

        Plaintiff is between the ages of forty and seventy.

                                                 84.

       As alleged herein, Plaintiff was qualified for the positions of Vice President and

Compliance Officer. Plaintiff had been performing the duties and responsibilities of her positions,

and her performance was exemplary.

                                                 85.

       On October 9, 2019, Defendant terminated Plaintiff's employment.




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                                                 86.

        Even if the reasons that Defendant gave for the termination were true, which they are not,

Defendanthas failed and refused to take similar adverse actions against similarly situated, younger

employees who purportedly engaged in the same conduct as Plaintiff.

                                                 87.

        Defendant replaced Plaintiff with someone who is significantly younger than Plaintiff and

who is under the age of forty.

                                                 88.

       Defendant will be unable to present any evidence of alegitimate, nondiscriminatory motive

for terminating Plaintiff's employment and for otherwise treating Plaintiff less favorably than her

coworkers who were younger than Plaintiff.

                                                 89.

        Plaintiff will prove that the Defendant's stated reasons are pretextual, and that Defendant's

actions were willful and indeed motivated by Plaintiff's age.

                                                 90.


       Plaintiff has been injured by Defendant's discrimination based on age, and she is entitled

to all damages allowed under the Age Discrimination in Employment Act, including back pay and

all fringe benefits of her employment, including but not limited to health, dental, and vision

insurance, accrued paid leave, contributions to a40 1(k) plan and pension benefits, front pay or


reinstatement, injunctive relief, liquidated damages, and attorney's fees and costs of litigation, all

in an amount to be proven at trial.




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                                        COUNT II:
                                  WRONGFUL TERMINATION
              IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT

                                               91.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1through 79, as if the same were set forth herein.

                                               92.

       Under Title VII of the Civil Rights Act, it is unlawful for an employer to discharge any

employee on the basis of sex. See 42 U.S.C.   §2000e-2(a).

                                               93.

       "In the specific context of sex stereotyping, an employer who acts on the basis of abelief

that awoman cannot be aggressive, or that she must not be, has acted on the basis of gender."

Price Waterhouse v. Hopkins, 490 U.S. 228, 250 (1989).

                                               94.

       As alleged herein, Defendant and Plaintiff are a covered, non-exempt employer and

employee under Tide VII, respectively. See 42 U.S.C.   §§   2000e & 2000e-l.

                                               95.

       Plaintiff is amember of aprotected class in that she is female.

                                               96.

       Defendant values and rewards its male employees and officers who exhibit assertive traits

or are considered strong-willed. Moreover, Defendant has ahistory of failing and refusing to

address its male employees and officers when they conduct themselves in an aggressive, hostile,

abusive, or even offensive way.




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                                                97.

       Defendant also has ahistory of taking adverse actions, including demotion and termination,

against female employees or officers who are assertive or considered by Defendant as being strong-


willed. In such situations, Defendant often cites its female employee's "attitude" as the reason for

taking such adverse action.

                                                98.

       Plaintiff's job performance during her nearly thirty-one year tenure working for Defendant

was exemplary.

                                                99.

       Before she was terminated, Plaintiff acted assertively in the performance of her duties on

several occasions.

                                                100.

       However, as alleged herein, Plaintiff's conduct was neither aggressive nor inappropriate

for the workplace.

                                                101.

       At the time of her termination, Defendant explicitly referenced Plaintiff's "attitude."

                                                102.

       When Defendant terminated Plaintiff, Defendant was acting on the basis of abelief that a

woman was unable to act in an assertive manner in the performance of her duties, or in the


alternative, that awoman must not be assertive.

                                                103.

       Defendant terminated Plaintiffs employment on October 9, 2019, due to Defendant's


notions of sex stereotyping.




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                                                104.

        Accordingly,     Defendant terminated    Plaintiff's   employment on     October 9,    2019,

specifically on the basis of her sex.

                                                105.

        Plaintiff will prove that Defendant's stated reasons for terminating Plaintiff's employment

are inaccurate and were instead pretext to hide Defendant's discriminatory animus based on sex.


                                                106.

        Plaintiff has been injured by Defendant's wrongful termination of her, and Plaintiff is

entitled to all damages allowed under Tide VII of the Civil Rights Act, including an award of back

pay and all fringe benefits of her employment, including but not limited to health, dental, and

vision insurance, accrued paid leave, contributions to a 401(k) plan and pension benefits,

reinstatement and/or front pay, compensatory and punitive damages in an amount of not less than

$300,000.00, or such other amount as limited by statute, and attorney's fees and costs of litigation,

all in an amount to be proven at trial.

                                          JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Debra Helton respectfully prays for the following relief:

        1)      That Summons and Process be issued to Defendant The Geo. D. Warthen Bank,

and that said Defendant be served as provided by law;

        2)      That this matter be tried before ajury;




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        3)      That judgment be awarded for and in favor of Plaintiff Debra Helton and against

Defendant The Geo. D. Warthen Bank on Count Ifor discrimination based on age, and grant

Plaintiff all relief allowable under the Age Discrimination in Employment Act;

        4)      That judgment be awarded for and in favor of Plaintiff Debra Helton and against

Defendant The Geo. D. Warthen Bank on Count II for discrimination based on sex, and grant

Plaintiff all relief allowable under Title VII of the Civil Rights Act; and,

        5)      For such other relief as this Court shall deem just and proper.

        Respectfully submitted, this   12th   day of November, 2021.




                                                      KENNETH B. 94R10N III
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Welcome to The Geo. D. Warthen Bank family!

This handbook outlines personnel policies, benefits, and standards that should help you feel
more at home. This is your personal guide to policies that we developed to reach our
commitment to excellence in the banking business, to provide the environment employees
need to do their job effectively and achieve job satisfaction. You should study the handbook
carefully from time to time.   You will receive new pages and updates to insert, so we suggest
that you keep this booklet convenient for ready reference.


Perhaps some statements will need clarification.         Personnel in your Human Resources
Department will explain policies and assist you in any way possible.


The public looks upon every employee as a representative of the bank. This is true regardless
of whether your job brings you into direct contact with our customers. We are confident that
you will do your part in maintaining our high quality of service to our customers and the
community.


Ihope you will like being amember of the Geo. D. Warthen Bank family. Management will do
all we can to make your employment ahappy and satisfying experience.


Sincerely,




The Geo. D. Warthen Bank
Chris F. Irwin, Ill, CEO




                                                S

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We are happy that you have joined our bank family. As you learn more about the banking
business, we hope you will find The Geo. D. Warthen Bank afertile field for the development of
your talents.

Our progress depends directly on you and your fellow employees' contributions, measured by
the effort exerted and the results achieved. You, in turn, will be directly affected by your
contribution to our progress, both in salary and advancement. Your conduct, character, dress,
speech, and manners all affect the bank.    Remember to take pride in yourself, your job, and
your organization.


The bank's purpose in using this manual is to help ensure that each employee will be treated
fairly, equally, with dignity, as an individual, and as an important part of the bank. Although
this manual contains human resource policies for the bank, it is not an employment contract.
None of the provisions of this handbook are meant to guarantee employment for any specific
duration. As such, these policies are guidelines, and the management of the bank reserves the
right to change and interpret them. Although we hope you are happy here, all employees have
aright to resign if it is in their best interest. The bank has acommensurate right to take actions
in the bank's best interest. In other words, the bank is an employment-at-will employer.


This handbook is designed so all employees may be aware of the policies of the bank in matters
that pertain to them. Employees should feel free to discuss its contents with the Human
Resources Department.


Attitudes, environments, and society are in aconstant state of change. The bank must keep
pace with these changes and encourage suggestions from its employees regarding employment
policies. All policy changes will be reviewed and approved by the Board of Directors.


The rules and policies stated in this handbook are guides and do not cover every possible
situation. This manual contains the authorized employment policies and procedures and
renders obsolete any other versions. Management reserves the right to exercise its discretion
as needed.


This handbook is the property of The Geo. D. Warthen Bank and intended solely for the use by
the bank, its managers, and its employees. Distribution to anyone outside the bank requires
the prior approval of the president or human resources manager.




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SERVICE TO CUSTOMERS


Cultivating the goodwill of our customers requires the teamwork, customer sensitivity, and
cooperative effort of every department and every member of our staff.            We must first
understand our customers and their needs. The most important part of our customer relations
program starts when we persuade new customers that we can meet their banking needs. This
is because our main product to sell is service, and we are judged not by what we say about it,
but how we actually deliver it.


The Geo. D. Warthen Bank has many products and services to offer individual and business
customers, many of which can be tailored to fit the special needs of the person or organization.


You should have a basic knowledge of all of the bank's services even if you do not work with
them every day. You can help to sell the bank's products at any time.


Other banks offer the same services we do. So, good customers can simply move their business
if they become dissatisfied. Therefore, understanding and meeting our customer needs are
essential. Whether you deal directly with customers or not, the way you do your job influences
the opinions of our customers. At the bank, service includes the following actions:


           > Seek the customer out; do not wait for the customer.
           > Smile and say hello.
           > Address the customer by name at first opportunity.
           ) Ask how you can help the customer.
           > Satisfy the customer's need or escort the customer to someone who can meet
             the need.
           > Say "Good to see you, Mr. or Ms.                    •1




To the customer, you are the bank.



CUSTOMER RELATIONS


You are expected at all times to conduct yourself in a professional manner. Cooperate
cheerfully with personnel in your department and in other departments. Customers know
when our team is cooperating. Always be courteous, considerate, and congenial in any contact
with the public.

Maintaining a reputation for quality, integrity, and services is our primary objective.   In your
contacts with customers, you represent the bank.        We have everything to gain by being
courteous, friendly, and helpful.




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No matter what work you do at the bank, it is important to our basic objective of providing
quality service to our customers.     The customers will appreciate your contribution.


OUR EMPLOYEE RELATIONS POLICY


We cannot meet our customer needs without acomplete team of employees. To attract and
retain this team of employees, we have developed the following employee relations policy.


The objective of our employee programs is to build one of the most competent, harmonious
teams in banking. Teamwork involves effort and cooperation by management and every
member of our organization.


With that philosophy in mind, we have developed the following homework to our employee
relations policy. Please consider that to protect the bank and its employees' interests, business
is always aprimary consideration.


      • We value each employee as an individual. "Courtesy," "dignity," and "consideration"
        are key words for how we should treat each other.
      • We believe our best resource is ateam of well-trained, efficient, and loyal employees.
      • We will provide competitive wages and benefits, and good working conditions.
      • We encourage frank, open discussions, and constructive comments.
      • Where feasible, we will promote from within.
      • We will encourage equal opportunity employment to broaden our choices of
            qualified candidates.


GENERAL POLICY AND PROCEDURE


As employees of the bank, we assume aduty to the bank, its customers, its stockholders, and
our fellow employees. This duty is to act in all matters in away that will encourage public trust
and confidence. This extends to both personal and professional activities.


All bank employees will be governed by two fundamental principles:


       1.     Bank employees will place the interests of the bank ahead of their own private
               interests when conducting bank business.

       2.     Bank employees will make full disclosure of any situation that may appear to be a
               potential conflict of interest.


If any employee believes that extenuating circumstances will justify participation in an activity
that may be in potential conflict with this policy, the employee may request an exception from
bank management or the board of directors.



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OUR HISTORY


Shortly after returning from the Civil War, Mr. Geo. D. Warthen entered the mercantile
business in partnership with Jeff A. Irwin, Sr. and began business in abuilding on West Haynes
St. (present location of Hair Force)

In 1871, arear corner of the building was partitioned off and they entered the banking business
under the name of Warthen & Irwin, Bankers, private bank, not incorporated.

This firm grew and continued to operate until 1915, at which time Mr. Jeff A. Irwin, Sr.
withdrew from the partnership. Subsequently, Mr. Warthen operated under the name of The
Geo. D. Warthen Bank, private bank, not incorporated, until his death in 1927.


Early in 1928, astate banking charter was obtained and the bank continued to operate as The
Geo. D. Warthen Bank. In 1932, anational charter was obtained and the bank's name became
The Geo. D. Warthen National Bank. The bank continued to operate as anational bank until the
mid-fifties, when the national charter was surrendered and new state charter obtained. The
bank has operated as astate chartered bank since that time.


Today the bank is the oldest in Washington County and enjoys a reputation as a leading
business both in the county and surrounding area.




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                         Section 1:


            Employment Policies
                                and
                        Procedures




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EQUAL EMPLOYMENT OPPORTUNITY


The Geo. D. Warthen Bank is an equal opportunity employer.           It is the bank's policy to grant
equal employment opportunity (EEO) to all qualified persons without regard to race, sex,
religion, age, national origin, physical or mental disability, or veteran's status,        The bank
provides equal opportunities in employment, promotion, wages, benefits, and all other
privileges, terms, and conditions of employment.  It is our policy to make reasonable
accommodations for the disabled. We will endeavor to concentrate on the disabled person's
abilities and not disabilities. This policy has the support of the highest levels of management.


HARASSMENT: SEXUAL RACIAL RELIGIOUS, AGE


The bank does not approve of harassment and feels harassment of any kind is not productive
and does not belong in a work setting. Any individual who is subject to verbally abusive
language relating to sex, race, religion, or age or who experiences sexually oriented physical
touching is expected to report it immediately to the human resources representative or to the
manager with whom the employee is most comfortable. Any individual who is aware of such
verbally, physically, or visually abusive, hostile, or offensive conditions, as described in this
section, should report such activity immediately.


Senior management will:

       1.   Initiate an investigation of the allegations within 24 hours of receiving acomplaint.
            The investigation will consist of an initial interview with the complainant and a
            written record of the complaint, and interviews with the individual who is accused
            and any other employee who might have information regarding the incident.               All
            discussions will be confidential.


       2.   Protect the identity of the person reporting the harassment.


       3. Take prompt actions to ensure that the reported harassment will not occur in the
            future. These actions will include:


               a.   If the allegations are found to be true, appropriate disciplinary action, up to
                    and including termination will be taken against the offending party.


               b.   If the allegations are found to be false, no action will be taken against the
                    alleged party and no notation will be made in the party's file. If afalse
                    complaint is determined to be in any way malicious or meant to do harm to
                    the bank or the alleged offender, appropriate discipline will be taken to
                    maintain the effectiveness of this complaint procedure.




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                If sufficient evidence is not discovered to support or deny the allegations, both
                parties will be advised. Every effort will be made to ensure that the alleged events
                will not occur again.


           4.   Ensure that in the event of harassment or retaliation against the person filing the
                complaint or the alleged offending party, the employee responsible for the
                harassment or retaliation will be subject to disciplinary action up to and including
                termination.

           5. Ensure that these matters are dealt with in the most confidential manner possible
                to protect the best interest of all parties.


           6. Attempt to ensure that no one will suffer from false accusations.


HOW AND WHY YOU WERE SELECTED


The bank's success and your future job security depend to alarge degree upon you. That is why
we carefully select our employees through the use of awritten application, an interview, and
thorough reference and background check.

Our purpose in being this thorough is to find employees who want to do ajob well. We need
people who can accomplish their work with good abilities and are comfortable working in our
offices.


TRAINING AND DEVELOPMENT


We ask that all employees strive to continue learning new and better ways to do their job.
Please ask your supervisor and fellow employees about things you do not understand. If you
feel acourse would help you do your job better, please let your supervisor know. If you see a
better or more efficient way to do something, talk with your coworkers and supervisor. Your
suggestions will be considered, but all changes must be approved by proper authorities.


INTRODUCTORY PERIOD                 -   FIRST 90 DAYS


A 90-day introductory period exists for newly hired and promoted employees. Management
may, at its sole discretion, extend the introductory period. During the introductory period, you
will have an opportunity to demonstrate whether you can meet the job requirements and can
determine whetheryou like working here.


Introductory employees may resign or terminate at any time. The existence of the introductory
period is atraining period and in no way limits the bank's ability to discipline employees during
or after an introductory period. We are an employment-at-will employer.             Please refer to the
Leave and Benefits Sections to determine your benefit eligibility.


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EMPLOYEE DEFINITIONS


The following are definitions of different employment categories at the bank:


1.     Regular full-time: Employees who are regularly scheduled for at least 30 hours in aone-
       week pay period.


2.     Regular part-time:     Employees hired to work fewer than 30 hours in aone-week pay
        period.   Part-time employees are hired for an indefinite period.


3.     Temporary: Employees hired for period known to be less than six months. Temporary
       employees are not eligible for benefits.


4.     Leave of absence: Employees on an approved leave for family and medical, military, or
       similar purposes.


Except for benefits eligibility, which is discussed in further detail later in this handbook, the
policies and procedures described in this handbook apply to all of the employment categories.


TRANSFERS AND CAREER OPPORTUNITIES


Career opportunities are provided to all employees through promotion, transfer, and other job
changes. Job postings communicate to employees the availability of jobs for which they may
apply based on their qualifications, including education skills, work experience, past
performance, attendance, and length of service. Outside applications for employment may be
sought by such methods as advertisements at the same time jobs are posted internally.


The most qualified candidate will be chosen. Internal candidates will be given preference when
equally qualified. When transfers are requested, the primary consideration will be whether the
transfer is in the best interest of the bank.




COMPLAINT PROCEDURE


The sole purpose of our complaint procedure is to help you work out any complaint or problem
you might have to the satisfaction of both you and anyone else concerned. Remember, the
only way we can understand and help you with your problems or complaints is if you give us a
chance to talk with you about them.


This complaint procedure may be used by all employees who have any complaints about pay,
working conditions, supervision, coworkers, or any other job-related problems.         Problems
dealing with discrimination or harassment are dealt with in aprevious section of this handbook.



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Here is how the procedure works:

       1.   First, talk with your supervisor within two work days of the occurrence of the
            problem. If your problem is with your supervisor, omit this step and go directly to
            step 2.


       2.   If you have not received a satisfactory resolution from your supervisor within five
            days of discussing your complaint, talk with the human resources department within
            the next five-day period. The human resources department will make every attempt
            to give you an answer within five days of your having contacted them.


       3.   If you are not satisfied with the response from the human resources department,
            please talk with the president within five days after you receive the response. The
            president will make every attempt to get back with you within five days of the
            conversation with you.    Any decision made by the president will be the final
            decision.


The times described here are guidelines.      Keep in mind that circumstances might prevent
management from meeting the exact guidelines provided.


Please remember that this complaint process works only if you use it.




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NEPOTISM POLICY



The Geo. D. Warthen Bank recognizes the possibility that both positive and negative
consequences exist when hiring members of the same family.         It is our philosophy that the
hiring of family members should not be ayes or no situation but rather adecision guided by a
number of job-related factors and circumstances.       Factors that will be considered include:
reporting to a family member; working in the same department; reporting to the same
supervisor; uniqueness of and/or the bank's need for the individual's skills; and meeting the job
requirements.

To ensure that these and other important factors are considered, any supervisor or manager
who wishes to hire a person related to a current or previous employee, must obtain written
approval from management prior to ajob offer being discussed or made with the individual.


Employment of married couples is prohibited.




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LENGTH OF SERVICE


We believe in recognizing your seniority and length of service. If there is no break in service,
your seniority date is your date of hire. If there is a break in service, you will be assigned a
seniority date that will give you credit for the total time worked but not for the time you did not
work. Your seniority is important to you and the bank because:


           V It enhances your ability to perform your job and your ability to be promoted to
             other jobs.
           V Seniority increases certain benefits, such as vacation.



DISCHARGE


Advance notice is not normally given in discharge cases. If an involuntary termination is due to
reasons other than lack of work, such as insubordination, failure to follow instructions, inability
to perform job requirements, attendance, malfeasance, or a situation where the employee
violated bank policy or showed disregard for the best interest of the bank, we will generally not
pay severance pay. All severance pay is subject to management's discretionary review of the
facts.


TERMINATION


Whether an employee resigns or is discharged, please remember that we operate under an
employment-at-will policy, as outlined in the preface of this handbook.


The following policies also relate to resignations and terminations:


           > All references must come from the human resources department.
           ) Supervisors are not permitted to provide references in any form. Please do not
             ask.
           > Personnel leaving in good standing may receive favorable consideration for
               reemployment if they wish to return at alater date.
           > Personnel leaving between pay periods will be paid on the next regular payday.
             (Please see the payroll section for additional details.)
           > Where permitted by applicable laws and to the extent possible, the bank will
               withhold from the employee's check or final paycheck the cost of any items that
               are not returned when required.


EXIT INTERVIEWS


An employee leaving the bank for any reason, whether at the decision of the bank or at the
request of the employee, may want to request an exit interview. If appropriate and if time is


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available, an exit interview will be conducted by using an exit interview form as aguide. The
reason or reasons for leaving and beliefs about how the bank might improve will be addressed
in the interview.


Return of Bank Property


All bank property must be returned to the human resources department before leaving the
bank. This includes any credit cards, keys, employee handbook, and any bank equipment or
property in your possession.     We require that arrangements be made concerning any
outstanding debts owed to the bank, or to you, such as travel advances, mileage, etc. before
the last day of work. Any employee checking account, overdrafts, MasterCard and VISA
accounts, bank loans, or other bank relationships will automatically be converted to a
nonemployee status.


Resignation


We hope that your employment experience at the bank will be successful and rewarding.
However, you may elect to leave us for any reason. Sometimes personal or other concerns
force achange in jobs.


If you are thinking of resigning or seeking other employment, please talk with your supervisor
or the human resources department. A two week notice is preferred if possible.


Sometimes, an employee is discharged for other reasons, such as violating abank rule or policy.
We do not anticipate this happening often. It you are discharged and believe you have been
treated unfairly, you may appeal to the human resources department or the president. You
also have a right to provide a letter that will be placed in your personnel file stating your
opinions.


WORK SCHEDULES


The regular work week for full-time employees is 40 hours. However, because of our need to
meet our customers' requirements, your work schedule may vary from time to time. You are
hired with the understanding that your work hours may be decreased when work is slow or
increased during peak periods.    Hours also vary in case of an emergency. Your regular work
schedule is set by your supervisor.


Periodically, we may schedule meetings that do not fall within your normal working hours.
Such staff meetings are designed to provide information to you about the bank, its procedures
and your benefits. These meetings are voluntary unless you are otherwise notified, but you
should make every effort to attend so you can learn and grow with the bank.




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Time Records


For nonexempt employees, the laws and regulations are very strict about recording the exact
number of hours that these employees work. Nonexempt employees are those employees who
are not specifically exempt under the Fair Labor Standards Act (ELSA).


Exempt employees are not required to keep time records. These are employees who are
defined by the FLSA as executives, administrators, outside sales persons, or professionals.


If you are anonexempt employee (not an executive, administrator, etc.), it is your responsibility
to keep atime report on adaily basis and to make sure it is accurate.


A time record is very important because the information on it is used for payroll computation
and gives you an accurate record of your earnings. Please be sure to record the exact time you
begin your work each morning and the time you complete work each evening. Also, record any
other time you leave the building or take lunch or breaks other than those outlined below.


Fill out your time record each day. Each person is responsible for his or her own time record.
Do not complete anyone else's time record.


When leaving work on the last day of the week, please review your time record carefully to see
that all hours of work are properly recorded. Time records must be submitted to the human
resources department by all nonexempt employees. Be sure your name appears on the time
record just as it does on your pay check. Your signature and that of your supervisor certify the
accuracy of the time recorded.


If you make an error on your time record, please notify your supervisor at once,             Your
supervisor will make the correction, and both you and your supervisor will initial it.


LUNCH


Your work and lunch schedule will be set by the department supervisor.           Lunch time is not
counted as time worked.


Overtime


If overtime is required, please cooperate with your supervisor. Working assigned overtime is a
condition of employment. Overtime work will be distributed as equally as possible.


No overtime work is authorized except at the request of your supervisor. All hours worked over
40 per week are paid at the rate of one and one-half times your regular hourly rate for all
eligible employees. Overtime should not be a regular and continuous practice in any area or
department.

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WAGES AND SALARIES


We regard wages and salaries as aconfidential matter between you and the human resources
department.    Management feels strongly that it is not in the best interest of employees to
discuss their compensation with anyone but their supervisor or the human resources
department. Employees who gain unauthorized access to other employees' salaries or private
financial data will be subject to disciplinary action up to and including termination.


It is our policy to pay wages and salaries that are competitive with those paid for similar jobs in
our surrounding area.        We maintain the accuracy of our wage and salary structure by
periodically checking what the competition pays.           We also comply with, as necessary, the
business and general economic conditions of the industry.


Your compensation       is   based   on   several   factors,   such   as   the   education,   experience,
responsibility required to do your job, and your performance. All employees' performance will
be reviewed annually.


You will be considered for a pay increase if you are meeting expectation and if the economic
position of the bank allows it. The amount of your increase will vary depending on your
performance, your position, and your current placement in your salary range.                   If a salary
increase is not awarded, you will be told why. A special review may be set up later.


Formal performance reviews summarize discussions between you and your supervisor about
improving the quality and quantity of your work and your level of customer service.                During
your review, your supervisor will discuss your performance and development openly with you.
Please initiate talks with your supervisor to see how you are doing and to see what you can do
to improve your performance.


Payday


All employees will be paid by direct deposit weekly following the end of each pay period.


Your Payroll Deductions


Your paycheck will not represent the full amount of your earnings due to payroll deductions. As
an example, we are required to deduct your federal withholding tax (income tax) from your
paycheck. The deducted amount is forwarded to the U.S. Treasury, and you are given credit for
it on your income tax at the end of the year. The amount of the tax deduction is determined by
your earnings, marital status, and the number of dependents you claim.               Each year, you will
receive a W-2 form showing your total earnings for the prior year and the amount of
deductions withheld.




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Social Security and Medicare deductions will come out of your paycheck at the rate established
by law.   As you probably know, this rate can change from time to time, depending on
Congressional action. The bank matches dollar for dollar the amount of Social Security and
Medicare tax you pay. All other deductions must be authorized by you and will appear on your
pay voucher.

The bank allows employees to have automatic deductions deposited to their savings account,
Christmas club, or other accounts. You should discuss these deduction options with the human
resources department.


Bonuses


The bank does not pay bonuses as a benefit or as a matter of routine policy.       However, the
board of directors may, in aprofitable year, elect to pay abonus to officers or employees at the
board's discretion.


CHECKING ACCOUNTS


As an employee of the bank, you will be provided with a checking account with no service
charge. The new accounts supervisor can help you select the right account for you. Basic styles
of checks are furnished to you free of charge. Payroll deposits will automatically be made into
your account. The account may be held jointly with another person if you desire.


All employee accounts must be maintained in strict accordance with bank rules and regulations.
Do not attempt to bypass proper banking procedures or use your position with the bank to
delay or defeat avalid financial obligation.


Abuse of an account may result in returning of all future checks presented against insufficient
funds, cancellation of checking privileges, payment through asavings account with no checking
privileges, or more serious disciplinary action.



Travel and Expense Reimbursement


Authorized travel by employees will be reimbursed at the current rate-per-mile allowance
established by the IRS for the use of a personal car.      Employees, who at the request of
management, report to a location other than their normal office, may file for reimbursement
for the mileage commuted in addition to their normal commuting distance. Please discuss with
the human resources department the types of travel and expenses that are eligible for
reimbursement before traveling or incurring expenses. The bank will normally reimburse
reasonable out-of-pocket business expenses. Large expenditures, such as conferences and out-
of-town trips, should always be approved in advance.



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Employee Parking


A designated employee parking area has been provided for bank employees. As acourtesy to
our customers, do not park in the customer parking spaces during banking hours.          Keep your
vehicle locked. The bank is providing free parking but is not liable for damage occurringto your
car while parked at the bank.


If you must work late at the bank, please move your car during daylight hours to aspace near a
well-lit exit close to the building. Keep your car locked when practical, and exit the building in
groups after hours. Have your keys in your hand.


CODE OF ETHICS


The bank's reputation for honesty and integrity is determined by the personal reputations of
our individual staff members. To protect this reputation and to warrant our customer's trust,
each of us must strive to avoid situations that might cause a conflict of interest among the
bank, its customers, its suppliers, and ourselves. The following principles have been established
as the bank's code of ethics. Any exceptions to these policies must be approved in writing.


Conflict of Interest


It is the policy of the bank that all staff members conduct their business affairs in such amanner
and with such ethics and integrity that no conflict of interest, real or implied, could exist. Avoid
developing a personal relationship with an employee that will interfere with your impartial
judgment in bank matters.


Extension of Credit to Relatives and Business Associates
No employees shall not make or approve loans to any bank, partnership, estate, trust,
association, or other entity or person in which they have an interest directly or indirectly
(whether as a director, officer, shareholder, manager, lender, joint venture, or other
otherwise controlling investor), or in which amember of their immediate family has such an
interest or business associate. Any such request for credit extension is to be referred to
another bank officer with no connection or affiliation to the potential borrower.                All
transactions are to be arm's-length transactions.


Employee Indebtedness


Employee loan requests must be presented to the employee lending officers. Approval of the
loan is granted based on the bank's loan policy. See staff lending section of this handbook.


Borrowing by an employee from an individual or business customer of the bank should always
be avoided (unless the customer is arecognized lending institution). The approval or denial of



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such arequest imposes awrongful burden on the customer and can impair the judgment of the
employee when making business decisions involving the customer.


Executive officers of the bank are reminded of the reporting requirements of Regulation 0, If
you are unclear about these requirements, please contact the president.



STAFF LENDING PROGRAM


Our Staff Lending Program will make all in-house loan programs (installment, single pay, first
and second mortgages, home equity lines, lines of credit) available at reduced costs to staff
members. This program will be open to all staff of The Geo. D. Warthen Bank (including
officers, directors, principal shareholders and inside staff)

Loans will be subject to the following terms. Any loan not covered by this program will be made
on terms available to the public.

*All loans will be approved by the Employee Lending Officer, and prior board approval will be
obtained where required by regulation or law.


*Installment and single pay loans will be made at afixed rate of prime or afloor of 5%
(whichever is greater), unless adifferent rate is approved by the Board. Home Equity Lines will
be made at avariable rate of prime or afloor of 5% (whichever is greater). Real Estate loans
will be made at Prime (or afloor of 5%) on a5year adjustable rate mortgage. If there is a
special rate available and employee qualifies for this rate, it will be available to the employee.
Any applicable loan fees shall be waived. All other terms and conditions will be the same as
that offered to the public.

   Documentation:       *   Application


                       *    Satisfactory credit history

                       *    Debt to income ratios


                       *    Collateral


                       *    Any other credit factors which could affect the debt payback.


Applications that exhibit asignificant weakness in any of the areas listed above, will
not qualify for the "staff lending program" and may be subject to less favorable terms outside
the staff lending program or may be denied.


   Minimum Amount:         '$1,OOO.00.



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   *   All loans must be made to staff members for the direct benefit of the staff member or
spouse (not children of employee) and collateral must be titled in the name of staff member.
Loans may be joint with aspouse if requested or if necessary to perfect alien on jointly owned
collateral (or assignment may be taken from the spouse).

   *   At the time the loan is made, employee must sign a statement indicating that he/she
understands the loan will revert to the market rate of interest which was in effect at the time a
loan was originally made should employee leave the bank for any reason. Also, if employee's
loan is delinquent more than two times over 30 days, the rate will revert to the market rate in
effect at time loan was originally made.


   *   All loans to insiders will be in full compliance with REG 0 where applicable, including being
callable if an executive officer's borrowings at another lender exceed the borrowing limit at The
Geo. D. Warthen Bank.


   *   Any type loan that has alower published rate than this program (for example, secured by
Certificate of Deposit) may be made at alower rate.


   Transition Rule: Requests to convert existing loans into this program should be submitted
to employee lending officer and/or President.

   Any change in terms for an insider loan must be approved in advance by Board of Directors.




CREDIT CARD ACCOUNTS


The same staff lending rules apply to credit card accounts.

*May have one (1) credit card with the GDWB and must be in the employee's name or joint
with spouse.




Personal Finances


Because of our position of trust in the community, personal finances should be managed with
prudence. Officers should discuss any financial emergency with the president. Employees may
discuss any financial emergency with the human resources department.



Since you are an employee of The Geo. D. Warthen Bank, personal financial affairs should be
conducted in such a manner as to be above regulatory or auditing criticisms or concerns. The
bank will not allow any employee to overdraw their account The $30 overdraft fee will apply

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to each NSF transaction. Proper management of your personal bank accounts, borrowings, and
all other financial affairs is expected of all who are employed.

All employees should assume the position of a regular customer when handling their personal
bank business. All transactions should be handled in the normal over-the-counter procedure.
No employees will be permitted to transact their own or a relative's bank business (including
boyfriend, girlfriend, or partner). Avoid direct or indirect financial interest with competitors,
customers, and suppliers.



Confidential Information


All of our records are confidential and may not be copied or disclosed without authorization
from management. Never discuss customer affairs, accounts, files, or printed material, except
on aneed-to-know basis with other employees. Confidential information includes all personnel
and payroll records, information about our customers, and anything else about the way we
operate.


On aperiodic basis, the bank is examined. The reports that examiners furnish must remain the
property of the regulatory agency and are strictly confidential.    Information contained in the
reports is privileged information and should not be communicated to anyone not officially
connected with the bank.

The bank respects the right of employees to privacy in matters that have no relation to their
employment.     Matters of a personal nature concerning fellow employees should be treated
with the utmost confidentiality.


Financial information regarding the bank is not to be released to any person unless it has been
published in reports to shareholders or otherwise made available to the public in agreement
with applicable disclosure regulations currently in effect    Any questions regarding disclosures
of confidential financial information should be reviewed with the president and legal counsel
prior to disclosure.


Confidential information obtained as aresult of comments made within our bank should not be
used for private interests.


Abuse or misuse of confidential information will result in severe discipline, and possible
termination.




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Outside Employment


The bank does not wish to control the personal affairs of employees, nor will it attempt to
regulate the use of their time outside their employment with us. However, the bank does not
look with favor upon afull-time employee working elsewhere if such outside employment in
any way affects the individual's work, fellow employees, or the bank. Of particular concern and
requiring the president's approval are jobs working for a competitor, supplier, or customer.
Engaging in self-employment that in any way competes with bank is prohibited.


Working second jobs may cause a conflict of interest with your job.      Whenever this outside
employment causes aconflict of interest or aconflict in schedules, the bank definitely will not
permit such outside employment.


Gifts and Fees


Employees and their families (as well as their agents or attorneys) are not to solicit or accept a
personal benefit from any customer, vendor, individual, or organization seeking to do business
with the bank. A personal benefit is any type of gift, gratuity, loan, fee, compensation, or
anything of monetary value. Any deviation from the above must be specifically approved in
writing by the president. The bank does recognize that situations may arise when it would be
appropriate for astaff member to accept the benefit of agift. Such situations include:


    • Gifts of nominal value (not in excess of $50.00) given at Christmas or other holidays or
       special occasions that represent expressions of friendship.
    • Reasonable entertainment such as luncheon, dinner, or business meetings with present
       or prospective customers and suppliers, when the return of the expenditure on a
       comparable basis is likely to occur and is properly chargeable as abusiness expense.
   • Gifts or bequests based strictly on afamily relationship.


Political Contributions and Activities


Individual participation in political and civic activities is encouraged, including the making of
personal contributions to political candidates or activities. The bank, or anyone acting on its
behalf, is prohibited from making an expenditure or contribution either directly or indirectly in
connection with an election to political office.


Therefore, the bank will not make political contributions to individual candidates or political
parties. Employees who wish to donate money or services to acandidate or party may do so as
individuals, and not as representatives of the bank.      To avoid any interpretation of bank
sponsorship or endorsement, neither the bank's name nor its address should be used. Do not
use the bank name in or associated with any political advertisements or literature.




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Business Conduct


In the conduct of the bank's business, no bribe, kickback, or similar remuneration or
consideration of any kind is to be given or offered to any individual or organization. The
activities of the bank must always be in full compliance with all applicable laws and regulations.
The bank expects its staff to comply fully with the letter, spirit, and intent of all laws and
regulations.

It is the policy of the bank to comply fully with the anti-bribery provisions. It is acriminal
offense for any U.S. enterprise to offer abribe to an official, political party, party official, or
candidate for political office for the purpose of obtaining, retaining, or directing business to any
person, regardless of whether that person is the one making the bribe. A bribe may take the
form of an offer, payment, promise to pay, or authorization of the payment of any money or
anything of value.


Customer Referral


Bank employees may be requested by bank customers and the general public to provide a
referral to professional services, such as attorneys, securities brokers, certified public
accountants, insurance agents, and real estate agents. Employees shall, when approved by
management, recommend several qualified sources from which the customer can select. Bank
employees should not make any adverse or negative comments regarding any outside
professional. If an employee cannot give a positive recommendation regarding the outside
profession, the employee should indicate to the customer that the employee has no
recommendation to give regarding the particular professional.             If you do make a positive
referral, it should be limited to astatement that you have heard good comments regarding the
professional but you or the bank cannot make any specific referrals or endorsements.                  The
employee should exercise extreme care not to make any statement that could subject either
the employee or the bank, or both, to an action for libel or slander.

In several instances, discussions with customers may lead to arequest that the employee give
an opinion or statement about the legality of a particular transaction.            Employees are not
qualified to give legal advice.     The bank also does not engage in the business of giving
investment or tax advice. These are areas that are best left to the professional in that particular
field.   Extreme care must be exercised in discussions with customers, and nothing should be
said that could be construed as the giving of legal advice, tax advice, or investment advice.


Fiduciary Appointment


Without specific approval, employees are not to act as agent or deputy in any signing capacity
on any account (except for members of their families) held in the bank.            Further, employees
may not act as executor, administrator, trustee, guardian, custodian, or in any fiduciary capacity



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without authority granted by the bank. This would normally be granted only to act for spouse,
mother, father, brother, sister, son, daughter, or dependent.


There may be instances whereby abank employee is requested to accept an appointment as a
fiduciary or co-fiduciary (personal representative, trustee, administrator, guardian, executor, or
custodian) with the bank, another person, or afirm or corporation. Except where the request is
for amember of the immediate family, all employees must obtain prior approval of the bank's
board of directors before acceptance of the positions.


Employees are reminded to consult senior management because federal or state regulations
govern the acceptance of fees as afiduciary.


VISITORS, FRIENDS, AND CHILDREN


Because the bank is designed to serve our customers in an efficient and professional manner,
we must ask you to restrict visitors on the job to brief, infrequent visits.   Friends should not
interrupt your work time for purely social reasons. This does not include business associates
who have valid business or business development opportunities.


VOTING


Normally, you will be able to vote before or after work. However, if this not feasible, you will
be allowed asufficient amount of time off with pay to vote in local, state, and federal elections.
You must get the prior approval of your supervisor to be away from work. The right to vote is a
treasured obligation in our country, and we hope that all employees will fulfill this civic
responsibility.


PROGRESSIVE DISCIPLINE


The rules, policies, and procedures of our bank have been developed so each employee will be
treated fairly, equally, and consistently. One of our most important rules is to do your work
accurately and timely. Most of our employees perform their work, abide by the policies, and do
not break the rules.


If rule or policy violations or improper conduct do occur, normally we use a system called
progressive discipline. That is, for most violations, employees will receive averbal warning. A
note will be made and placed in the personnel file. Some form of disciplinary action may be
appropriate for some initial violations.     For second violations, or serious first violations,
employees will receive a written reprimand, which will be placed in the personnel file.       The
bank may also suspend an employee with or without pay pending an investigation for cases of
misconduct or violation of policy.




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An employee committing a serious offense is subject to discipline or discharge on the first
occurrence. When discipline is deemed to be appropriate instead of discharge, management
reserves the right to decide what disciplinary action is appropriate. Depending on the nature of
the offense, first or repeated violations may result in your discharge. Remember that we are an
employment-at-will employer.


These actions are designed to help you improve your performance and work-related behaviors.
Our rules and policies are a guide and do not cover every possible situation. They are not
exclusive. There may be additional areas of nonperformance or misconduct that would warrant
disciplinary action.


When disciplinary action is taken, we may request your signature to show the problem has
been discussed with you. Signing a warning does not necessarily mean you agree with the
charge or the disciplinary action. You will be required to comply with all instructions on how to
improve, particularly when disciplinary action is involved,


SUBSTANCE ABUSE


The bank strives to provide a sate work environment and encourages good personal health
habits.     The bank considers the abuse of drugs or alcohol on the job to be an unsafe and
counterproductive work practice. The bank respects your right to conduct your personal life as
you wish. However, your conduct while you are at work affects the people you work with, your
coworkers, and our customers.       Use of alcohol or drugs by our employees can influence our
customers' confidence in us. Therefore, we have established the following policy about the
use, possession, or sale of drugs and alcohol. This policy applies to all bank employees.


Definitions


The following definitions apply:


    > Legal drugs     Prescribed drugs and over-the-counter drugs that have been legally
                       -




      obtained and are being used for the purpose for which they have been prescribed or
      manufactured.
    > Illegal drug     -   Any drug: (a) that is not legally obtainable; (b) that may be legally
          obtainable but has not been legally obtained; or (c) that is being used in amanner or for
          apurpose other than as prescribed.


Pre-employment Drug Testing


During the pre-employment process and before hire, applicants at this bank may undergo
screening for the presence of illegal drugs (or alcohol) as acondition for employment.




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Applicants may be required to voluntarily submit to drug and alcohol testing at a laboratory
chosen by the bank.     By signing a consent agreement, the employee releases the bank from
liability.


Any applicant who tails to test negative will be denied employment at that time but may
reapply with the bank after six months.


The bank will not discriminate against applicants for employment because of past use of drugs
or alcohol.    However, the bank will not tolerate any current abuse of drugs or alcohol that
prevents employees from properly doing their jobs.


Policy


The bank's policy is to employ awork force free from the use and effects of illegal drugs and
abuse of alcohol during working hours. Any employee found to be in violation of this policy is
subject to disciplinary action, up to and including termination even for the first offense. To
implement this policy, the bank has established and will maintain the programs and rules set
forth below.


General Procedures

An employee who reports to work while impaired or who is unable to properly perform the
required duties may not continue to work. It the supervisor suspects the employee is impaired,
the supervisor should consult with senior management for determination of action to be taken.


Prescription drugs prescribed by the employee's physician, or other legal drugs, may be taken
during working hours.    It the use of such drugs, as prescribed, will affect an employee's work
performance, the employee should so notify the employee's supervisor to determine if
accommodation can be made. However, we will not tolerate the abuse of prescription drugs,
and will address such abuse in the same manner as for illegal drugs.


Employee Drug and Alcohol Testing Only for Cause


The bank will maintain testing procedures, via an independent and qualified laboratory, to
verify suspected use of illegal drugs or abuse of alcohol. If poor performance or visibly erratic
physical or emotional behavior of an employee suggests that the employee is using or has used
illegal drugs or alcohol and is under their influence during working hours, the employee must
consent to drug and/or alcohol testing as condition of continued employment.


Grounds for Termination or Discipline


An employee is in violation of the substance abuse policy for illegal drug use if the employee:




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   • Brings onto the bank's premises or property, has possession of, or is under the influence
       of any detectable amount of an illegal drug as determined by drug or alcohol testing for
       cause.
   • Uses, consumes, transfers, sells, or attempts to sell or transfer any form of illegal drug,
     as defined above, while on bank business or at any time during the hours between the
       beginning and ending of the employee's work day, whether on duty or not.


The violating employee is subject to disciplinary action up to and including discharge or
suspension without pay from employment, even for the first offense.


An employee is in violation of the substance abuse policy for alcohol abuse if the employee:


   • Is under the influence of alcohol at any time while on bank business.
   • Is under the influence of alcohol at any time during the hours between the beginning
       and ending of the employee's work day, whether on duty or not.


The violating employee is subject to discharge or suspension without pay from employment,
even for the first offense.    This bank strongly discourages consumption of alcohol during
business lunches or business calls.


Failure to Consent to Tests


Failure to consent to medical or physical examinations or tests required by the bank is a
violation of this policy and is grounds for discharge or suspension without pay.


Failure to Test Negative


An employee's failure to test negative for use of illegal drugs or alcohol abuse, if and when
tested for cause, may result in disciplinary action up to and including discharge or suspension
without pay.


Authority


Only the president or the president's designate is empowered to require drug or alcohol testing
or impose termination under the above policy.




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                      Section 2:


                Your Employee


                        Benefits




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YOUR VACATION/PERSONAL DAYS


We believe that adequate time must be provided to employees annually for rest, relaxation and
achange of environment. This provides atime to be away from work and enjoy your family and
personal life, and it's a refreshing change that will help your productivity upon return to work.
Vacation is also one of the ways we show our appreciation to you for your length of service and
good work.


Each employee will be accountable for keeping records of their own annual and sick leave on
sheets provided to you by Human Resources entitled "2XXX Attendance Calendar".            You will
mark your time as you take it, tally the numbers of both vacation time and sick time each
month, and turn form in to your supervisor at the end of each month for reconciliation. These
attendance calendars will be returned to you each month.

Paid vacations are granted to full-time employees. A new employee, in the calendar year in
which they are hired, will earn 2   l/7   hours per week vacation time up to amaximum of five (5)
days. In the next calendar year, they will be entitled to one week of vacation until they have
completed 5years of service. If an employee is transferred from part-time and full-time status,
vacation will begin to accrue on the date of transfer.


The following schedule indicates the amount of vacation available effective 9/1/2013 for new
hires:


         Length of Service                       Time Allotted
         1—syears                                iweek
         6—loyears                               2weeks
           11                                    2weeks -i-lday
           12                                    2weeks   +   2days
           13                                    2weeks   +   3days
           14                                    2weeks +4days
           15                                    3 weeks (+ extra day for additional year up to 20
                                                 years)
           20                                    4weeks (Maximum that can be earned)


The Geo. D. Warthen Bank also grants five (5) personal days per year to each employee that has
worked for at least one (1) year,         These days may be used for personal or family illness,
personal commitments, funerals (other than immediate family members*) or as vacation time.
Vacation days and personal days DO NOT carry over to the following year unless extenuating
circumstances are initiated by the bank, i.e. FDIC exam.


*Please refer to personnel manual that addresses immediate family members as spouse,
children, parents, brothers, sisters, grandparents, parents-in-law, brothers-in-law and sisters-in-


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law.   (Death in the immediate family is considered as bereavement leave and is granted
differently)


Scheduling Your Vacation


All vacation and personal days will be taken subject to the needs of the bank and your
supervisor's approval. Please schedule your vacation days with your supervisor well in advance
and preferably use your vacation days BEFORE November 15 1h of each year. One or two
vacation days may be taken between November            15th   and December 31' tprovided an adequate
number of personnel remain to completely cover all departments of the bank. These two days
may not be taken before or after Thanksgiving and Christmas. The bank allows afree holiday
during this time and we must be respectful to all co workers. These vacation days will have to
be approved by your supervisor. So there is a possibility that if an employee saves days until
the end of the year, those days may be lost.


Employees with two (2) weeks vacation and five (5) personal days must take one full week
vacation. The remaining ten days may be taken any way the employee chooses.


Employees with three (3) weeks vacation and five (5) personal days must take one full week,
and the remaining fifteen days may be taken any way the employee chooses.


Employees with four (4) weeks vacation and five (5) personal days must take two full weeks,
not consecutively, and the remaining fifteen days may be taken any way the employee chooses.


When avacation is taken during aholiday week, the employee will be eligible for an additional
day of vacation. The additional vacation day is scheduled at the supervisor's discretion.


Vacation may not be carried over from one year to the next. If ascheduled vacation is canceled
by asenior officer so late in the year that it cannot be rescheduled, you will be paid for that
vacation time that was previously scheduled. No pay will be granted in lieu of vacation
otherwise.

Order of vacation choice is based on seniority.


Vacation Pay


Vacation pay is computed as your standard work week multiplied by your straight-time hourly
rate or, for full-time employees, your weekly salary. Employees who leave the bank voluntarily
Will be paid for unused vacation. If you resign or are terminated, adjustments will be made to
your final pay for unearned vacation you have used during that year.


Although vacation pay can be used during leave under the Family and Medical Leave Act,
vacation pay cannot be used to extend family and medical leave unless approved in advance.


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HOLIDAYS


The bank is normally closed for most legal holidays as approved by the Federal Reserve. The
exact dates of these holidays will be posted each year. If aholiday falls on aSaturday, it will not
be a paid holiday.   If a holiday falls on a Sunday, the bank will be closed on the following
Monday, or the day formally designated by the Federal Reserve Bank.


Holidays that may be observed include:


New Year's Day                               Labor Day
Martin Luther King, Jr. Day                  Columbus Day
President's Day                              Veteran's Day
Memorial Day                                 Thanksgiving Day
Independence Day                             Christmas Day


To receive payment, you must work the scheduled day before and after the holiday unless time
off is approved in advance by management.         When a holiday falls in a scheduled vacation
period, avacation day may be added to this or another scheduled vacation.


The amount of holiday pay an employee is paid will be determined by the number of hours the
employee would have been normally scheduled to work had it not been a holiday. If, for any
reason, business needs require you to work on a holiday, you will be paid for the hours you
work in addition to your holiday pay. If you work the entire holiday, you may choose to take
another day off with pay, subject to approval of the Human Resources Department.

If you need special consideration to observe areligious holiday, we will make every reasonable
accommodation to let you have the day off without pay.


SICK LEAVE


Full-time employees are entitled to time off with pay if they become ill. Our sick leave policy
helps ensure you against loss of wages during periods of illness.      Each employee is allowed
thirteen (13) sick leave days per calendar year. The thirteen days will be categorized by payroll
as 104 hours and may be used on an hourly basis.             Each employee will be entitled to
accumulate up to 90 days (720 hours).


Payment for sick leave will be computed on the following basis:


   • No payment will be made for unused sick leave time upon separation from the bank.
   • Payment for accrued sick leave during periods of illness will be made through normal
       payroll.




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Employees who are absent due to illness for more than three (3) consecutive working days may
be required to provide the human resources department with a letter from their attending
physician, verifying the need for the absence and/or permitting the return to work.


Unused sick time may be used by employees for illness in their immediate family (spouse,
children, parents, parents-in-law, brother and sister) when their presence is required.


When making adoctor's appointment, please try to schedule it before 9a.m. or after 4p.m. if it
cannot be made on aday that you are not working.


If you are not able to work due to illness, or if you need to take personal time, you must contact
your supervisor before your work time begins on each day of absence.


We encourage you to use sick leave days wisely and safeguard this financial protection for you
and your family.


'A DAY OFF FOR SATURDAY TIME


Saturday time off may be scheduled on Monday, Tuesday or Wednesday afternoon. Saturday
time cannot be accumulated.     It must betaken the week after the Saturday you work unless
approved by your supervisor. There is NO Saturday time off on Fridays. If you are going to be
off on Friday for vacation or such, you may take Saturday time rather than being off two
afternoons with supervisor approval.

If staffing demand requires it, you may be asked to not take off your half day.   Non-exempt
employees will be paid for overtime.



EDUCATION


We strive to provide on-the-job instruction and training to all employees. It is our belief that as
you expand your banking knowledge and expertise through on-the-job training and formal
education, you become more valuable to the bank. We also believe that this interest and
action on your part indicates initiative. We will keep a record of your educational training
which will be a consideration as promotions become available.            Please keep the human
resources department informed of your educational activities.


Your local American Institute of Banking (AIB) chapter offers a number of courses directly
related to the banking industry. The human resources department will distribute course
information and enrollment forms throughout the year. If you enroll during the time of
registration, we will pay 100% of your tuition, which includes the cost of the textbook.




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Full-time employees may also be eligible for tuition assistance for work-related courses taken
outside of the AIB through acommunity college or university. However, the human resources
department must approve each course before you enroll, if you wish to receive tuition
assistance.


HEALTH CARE      /INSURANCE        PLAN


A health insurance plan is available to full-time employees. If you choose to enroll in this plan,
we will pay 100% of the cost of your coverage. The human resources department will provide
you with an insurance booklet that explains the provisions of the insurance plan. So you and
your family will have acomplete understanding and appreciation of the many benefits available
under the plan, we suggest thatyou read your insurance booklet.


If your coverage is terminated, your health care coverage and that of your dependents may be
extended by using Consolidated Omnibus Budget Reconciliation Act (COBRA) provisions, under
certain circumstances.   Contact the human resources department about how to extend your
coverage at group insurance rates.


If you have any questions, please address them to the human resources department.


LIFE INSURANCE


We are pleased to offer life insurance to our full-time employees.      The bank pays the total
premium for life insurance.    Be sure to review your designation of beneficiaries from time to
time to keep current.


DISABILITY


The bank has adisability insurance policy that provides 60% of your pay after you have been
disabled 90 days. If you become disabled, apply for family and medical leave and inquire about
the documentation that is required to begin receivingyour disability pay.


SOCIAL SECURITY AND MEDICARE


You will be entitled to retirement, disability, and survivor benefits under the federal
government's Social Security program. The cost of your Social Security and Medicare benefits is
shared by you and the bank. If you have any questions concerning this additional protection,
the local Social Security office can give you complete details.




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                         Section 3:


               Leaves of Absence




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FAMILY AND MEDICAL LEAVE


The bank recognizes the need for employees to participate in child rearing and the care of
family who have serious health conditions. The bank also recognizes that employees may need
to deal with their own serious health conditions from time to time. The bank understands the
need to balance these demands with job requirements and the bank's needs. To promote the
stability of families and to comply with the Family and Medical Leave Act of 1993, the bank has
established the following family and medical leave policy. Family and medical leave is unpaid
leave, except to the extent that the employee has available sick leave or vacation time.


Eligibility for Family and Medical Leave


Eligibility and entitlement for family and medical leave is determined as follows:


   • The employee must have been employed for at least 12 months with the bank.
   • The employee must have worked at least 1,250 hours during the 12-month period
       preceding the beginning of the leave.
   • When parental status is applicable, the individuals must be natural parents or adoptive
       parents, foster parents, or an individual standing in "loco parentis" for a child who is
       under 18 years of age or, if the child is older, the individual must be incapable of self-
       care because of amental or physical disability.
   • When the leave is to care for aspouse, the term "spouse" means a legal husband or
       wife.
   • Full-time employees who are not eligible for family and medical leave and have more
     than six (6) months of employment will be eligible to apply for leave under aseparate
       minimum medical leave policy. This is described in detail below.

Additionally, the employee's position may not be available at the end of family and medical
leave if an undue hardship is caused because:


   • The employee is in the highest paid 10% of the bank's workforce.
   • The employee is in aposition where reinstatement from the leave will cause substantial
       and grievous economic injury to the bank's business if family and medical leave is
       granted.


Types and Duration of Leave


Management reserves the right to review and approve the required documentation and
conditions of the leave. Conditioned upon that approval, eligible employees may receive leave
for up to 12 workweeks during any 12-month period for one or more of the following reasons:


   • The birth of the employee's child
   • The placement of achild with the employee for adoption or foster care.


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   • The employee's need to care for a child, spouse, or parent who has a serious health
     condition.
   • The employee's inability to perform the functions of the position because of a serious
       health condition.


Scheduling Family and Medical Leave


The timing and scheduling of family and medical leave (starting date, ending date, etc.) will be
determined as follows:


   • The start date for the leave will be:
           > The date of birth or placement of achild.
           > In the event of disability, the first day an employee cannot perform the
                requirements of his/her job.
           )'   The first day of medical necessity for the employee's presence by the qualifying
                family member.


   • The ending date is the earliest of the following dates:
           > When the employee requests to return to work.
           > When a total of 12 weeks of leave has been taken for one or more of the
             qualifying reasons
           > In the event of aleave related to disability of the employee or family member,
                the end of the medical necessity for the leave.


   • The leave must be taken as consecutive weeks for each incident of family and medical
       leave. Alternatively, leave may be taken as follows:


           > Intermittent family and medical leave.         Any leave involving nonconsecutive
                weeks of leave, will be allowed only in the event of aspecific medical necessity
                forthe intermittent family and medical leave based on:
                           • The employee's own serious and certifiable health condition or
                           • The serious and certifiable health condition of achild, parent, or
                               spouse


           > Reduced schedule family and medical leave,           Requests to work fewer hours or
                days than the employee's normally scheduled workweek require:
                           • A specific medical necessity for the reduced schedule leave based
                             on the employee's own serious, and certifiable health condition or
                               the serious and certifiable health condition of achild, parent, or
                             spouse and
                           • The approval of bank management at its sole discretion.




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            • In the event of intermittent leave and reduced schedule leave, the bank may
                require employees to transfer temporarily to an alternate position that better
                accommodates the intermittent or reduced schedule leave.          The alternate
                position will provide equivalent pay and benefits.


If two or more members of the same family who are entitled to leave under this policy are both
employed by the bank, they are together eligible for a combined total of no more than 12
weeks of leave during a12-month period for the same qualifying event.


Certification of Leave


The bank will require aphysician's certification of the medical necessity for all leaves that are
based on the serious health condition of an employee or the need to care for a seriously ill
child, spouse, or parent of the employee. The certification process will include:


   • For the employee's own disability leave, certification must include astatement that the
         employee is unable to perform the functions of the job and an estimate of the amount
     of time it will take the employee to recuperate.
   • To care for a seriously ill child, spouse, or parent, the documentation must include
         certification of the medical necessity of the employee's care and an estimate of the
         amount of time the employee is needed to care for the child, spouse, or parent.
   • If the bank so desires, it may at its sole discretion require and pay for asecond medical
         opinion of the necessity for family and medical leave.
   • If first and second opinions differ, the bank may require and pay for abinding opinion of
         athird health care provider, jointly approved by the bank and the employee.
   • The bank may require, at its discretion, periodic recertification,
   • The bank may also require employees on family and medical leave to report on their
         leave status and re-verify their intention of returning to work.



Pay During Leave

As previously mentioned, leaves are unpaid unless vacation and sick leave are available. The
bank will generally require employees to use paid days off during family and medical leave.
Employees will receive pay during family and medical leave to the extent that they have any
accrued paid days off and any disability insurance policy in effect at the time of the leave. Any
paid leave and any unpaid leave will count toward the total 12 weeks of family and medical
leave.


Employees who receive bank-provided disability insurance payments will not receive an
amount in excess of 100% of pay when such payments are combined with paid absences.




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Benefits during Leave


During the leave period, the bank will maintain the employee's group health care coverage
under the same arrangements that were in effect while the individual was an active employee.
If the health care plan is amended, the employee will be treated the same as all other currently
active employees in comparable positions.


Duties of the Employee

Employees using family and medical leave must meet the following requirements.


Notice Requirements


in the event of need for family and medical leave, the employee must submit aleave request to
the bank no less than 30 days prior to the date the leave is to begin.   Whenever practical,
employees will make every effort to schedule elective or planned medical treatments to
minimize the interruptions of their duties at the bank. In the event of medical emergencies, the
employee will provide the bank with such notice as is practical.


The employee will keep the bank advised of the probability and date of return. The employee
must cooperate with any certification requirements requested by the bank.


Failure to Return from Leave


If the employee fails to return from leave after the end of the 12-week period or the end of the
qualifying event, as certified by the physician, the bank will recover from the employee the
premiums paid for maintaining the coverage during the leave.       Premiums will not be recovered
when the reason for the employee not returning is the continuation of or the onset of a
certifiable health condition.


Employees who do not return from leave may apply for reemployment when they are able to
return to work. If rehired, these employees will be offered available positions for which they
are qualified, if any exist, They will receive the then-current rates of pay and the associated
benefits for the job they accept.


Returning from Leave


Employees must deliver a request to return to work to the human resources manager 30 days
prior to their desired date of return.


The bank will require a statement from the employee's physician upon return from the
employee's own medical leave, certifying that the employee is able to resume work.




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Reinstatement


Employees returning from family and medical leave within the 12-week period will be placed in
the same or an equivalent position upon return from leave. Seniority will not accrue, nor will
any benefit increase during the period of family and medical leave. Seniority and eligibility for
benefits will not decrease as aresult of the employee taking family and medical leave. In other
words, employees will be treated the same as if they had not taken family and medical leave
but credit will not be given for the time spent on leave.


The bank is an equal opportunity employer and as such will ensure that no discrimination
against the employee occurs as a result of the employee having requested or having received
family and medical leave.


Minimum Medical Leave Policy


Full-time employees who are not eligible for family and medical leave and who need time away
from work for family and medical reasons may apply for minimum medical leave.


If you have been employed for six (6) months or longer, you may be eligible to obtain aleave of
absence if you must be absent from work for sickness, disability, pregnancy, or related
conditions. Absences of longer than ten (10) days at a time are considered to be leaves and
must be requested in writing and accompanied by adoctor's statement.          Employees who do
not return from leave will be considered to have resigned. Leaves are granted for up to 30 days
at atime and may not be taken for personal reasons. Leaves may be extended twice up to a
maximum leave time of 90 days, at management's discretion regarding the medical necessity
for the leave based on the documentation furnished.


If your illness or disability causes you to be absent for an extended length of time, you will be
placed on leave, and your seniority is protected in the following way:


   • If you are absent for 90 consecutive calendar days or fewer, we will attempt to place
       you in your old job or the first available job that is similar in terms of status, pay, and
       seniority to your former job.


   • Employees whose leave lasts longer than 90 days may reapply for work when they are
       physically able.


While on leave, you must make arrangements to pay for your part of the insurance premium.
The bank will pay its normal part of the premium for the first 90 days, and you must pay the
full premium for the remainder of your leave.




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BEREAVEMENT LEAVE


The bank's intent is to lessen the hardships associated with adeath in the family. Therefore, if
a death in the employee's immediate family (spouse, children, parents, brothers, sisters,
grandparents,   parents-in-law,   brothers-in-law,     and   sisters-in-law)     occurs,   time   off and
continuance of pay will be granted as follows:


   • Spouse/children    -   to be determined with supervisor
   • Parents-5 days
   • Brothers, Sisters, Grandparents      -   3days
   • Sister-in-law/Brother-in-law    -   1day
   • Vacation leave can be used to attend funerals if the person is not immediate family with
       supervisor approval.


      the funeral is more than 300 miles away, extra days may be taken with approval of
supervisor.

Please give your supervisor as much notice as possible that you will need bereavement leave. If
the death in the family is unexpected and no notice can be provided, please call your supervisor
at the first opportunity on the first work day missed to advise your supervisor that you are
taking bereavement leave, the relationship of the person, whose funeral you are attending, and
your expected date of return.


JURY DUTY PAY


Employees should fulfill jury duty obligations when possible.         Provide the human resources
department a copy of the jury summons as soon as you receive it.               Full salary will be paid to
employees serving on jury duty, provided the employee reports to work during hours the
employee is not required to be in court.


MILITARY SERVICE LEAVE FOR ACTIVE DUTY


The bank's policy is to provide military leave for regular, non-temporary employees.                  The
following policies and procedures are intended to simplify and comply with, not expand the
provisions of the Uniformed Services Employment and Reemployment Rights Act of 1994.


Please realize that it is possible that the bank's circumstances will have changed to make
reemployment impossible or unreasonable because it might cause undue hardship in the form
of requiring significant difficulty or expense. However, the bank will attempt to minimize the
disruption to the lives of members of uniformed services through the following policy.




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Reemployment Rights


The bank will offer the first available position for which the person is qualified that:


    • Does not cause undue hardship to the bank.


    • Is aposition as similar as is practical to the prior position and if possible aposition that is
       estimated to be similar to the position that might have been reasonably achieved (in
        management's judgment), had the employee remained in the continuous employment
       of the bank for the duration of uniformed service.



    • If disability is incurred (after reasonable accommodation) is as similar as feasible to the
        prior position.


Reemployment Requirements

Whether the duty is voluntary or involuntary, National Guard members and Reservists are
entitled to reemployment rights if they meet the following requirements:


   • They were employed as regular employees and not as temporary employees before
        beginning military duty.


   • The employee is on cumulative leave of absence from the bank in the uniformed
       services for aperiod not longer than five (5) years (excluding military training time and
       time spent on active duty during awar or national emergency declared by the President
       or Congress or other exempted duty under the Act).


       The employee received an honorable discharge.


   • The employee properly gives advance written or verbal notice, submits necessary
       documentation and applies for reinstatement within the required amount of time as
       follows:
           > On the first work day following eight hours after the elapse of safe travel time
               from the place of service to the person's residence if the service in the
               uniformed services was fewer than 31 days.


            > Within 14 days of the completion of the period of service if the service in the
               uniformed services was more than 30 days but fewer than 181 days.


            > Within 90 days of the completion of the period of service if the service in the
               uniformed services was 180 days or longer.




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      Failure to report for employment within the appropriate period will be considered to be
      voluntary termination, as is the case with all other leaves of absence.


A person who is hospitalized or convalescing underwritten doctor's instruction from an injury
incurred in or aggravated during the performance of uniformed services will report at the first
opportunity to the bank and submit an application, except that such period may not exceed
two years.


Benefits Rights during Military Leave


In general, a person who is reemployed under this policy will receive benefits that are as
similar as can be provided by the vendor companies to those that would have been in place on
the day of reinstatement had the person been continuously employed during the military
service. Any benefits that require the employee to contribute funds will be funded only if the
employee makes such contributions. If you miss making contributions to plans such as to your
401(k) plan, you must begin making contributions on your date of reemployment and must
make all missed contributions within three times the amount of time you spend in uniformed
service, not to exceed five (5) years.


Any estimates of plan earnings and wage increases will be made by vendor companies and
management of the bank. Employees on military leave may elect to continue health coverage
for 18 months or until the first day after the employee failed to apply for reemployment,
whichever is shortest. This coverage depends on the employee paying normal cost if the leave
is less than 31 days and 100 percent of the cost if the leave is 31 days or longer. Upon
reemployment, vesting and contributions for employer-paid benefits will be treated as if there
were no break in service.


Pay During Military Leave


Employees will be paid the difference in their military base pay and their bank base pay,
provided the latter is greater, for up to 90 days. Vacation may be taken separately from
military leave.


Endorsement


The bank endorses the commitment that military service demonstrates and is pleased to
respond with these commitments to its participating employees.


If you are inducted in the U.S. Armed Forces, please show your orders to the human resources
department as soon as you receive them.




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Discrimination


The bank will not discriminate against persons who serve in the uniformed services or exercise
their rights under this law in the following areas: employment, reemployment, retention in
employment, promotion, and any benefit of employment.




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                         Section 4:


           Your Responsibilities


                       to the Bank




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JOB DUTIES


Along with the advantages and opportunities offered by your employment with the bank come
certain responsibilities and obligations that you must meet.        Your most important
responsibilities to the bank are to provide superior customer service, to perform your job, and to
comply with policies and procedures.


Your supervisor is responsible for what you do, so it is agood idea to respect your supervisor's
experience, learn and grow from instructions, and carry out your duties promptly and
cheerfully. Completing each assignment to the satisfaction of your supervisor is the best way to
make progress. If you have completed your work, check with your supervisor to see what other
jobs must be done. There is always work to do.


Doing agood job also implies certain obligations on your part. These include:


   I Actively seeking solutions to problems
   V Making suggestions for improvements
   V Maintaining your health and mental alertness
   V Using good judgment
   V Being prompt and regular in your attendance
   V Cooperating with your fellow workers and being loyal to the bank
   V Keeping yourself well informed about the bank
   V Meeting deadlines and goals


All officers and employees must conduct their personal affairs so there can be no opportunity
for unfavorable reflection on the bank, either expressed or implied. The use of common sense,
good ethical standards, and discretion will guide you in proper conduct.        Please refer to our
code of ethics earlier in this handbook for additional information.


You have been hired for avariety of job duties. Besides your daily assignments, you will be
asked to help with other work. Our purpose is to identify our customers' financial needs and
fulfill them. Therefore, no employee's duties are limited to one assigned job. Your assistance is
expected for any work necessary for our bank.


ATTENDANCE


Because individual working hours may vary, your schedule will be given to you by your
supervisor. At the bank, full-time employees' work schedules may consist of 40 hours or more
aweek. Consult your supervisor regarding the work schedule in your department.


If you need time oft request permission from your supervisor before you leave. If you expect
to be absent or late, it is your responsibility to notify your supervisor as soon as possible, but in


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no case should you call later than your regular starting time.   You should call your supervisor
on each succeeding day of absence unless you are confined for adefinite period of time and
your supervisor is so advised. This notification will allow adequate time to shift personnel to
serve our customers properly.      Unexcused or unexplained absences, at any time, will be
deducted from your pay or paid days off and may result in termination.


If an employee is absent without calling in, the employee will be considered to have voluntarily
quit.   Excessive and repeated absences or tardiness are just cause for dismissal.   Remember:
Good attendance includes returning on time from your breaks and your lunch.


It is very important that you report to work at your scheduled time.            We need your
contribution. You are expected to be at your desk, ready for work, at your starting time. You
must attend to all personal business, such as grooming or having a snack, before you are
scheduled to begin work. If you need to be away from your desk or work space during office
hours, let your supervisor know where you will be and when you will return. You are not to
leave the bank building during working hours, other than during your lunch period, without
permission from your supervisor.


YOUR PERSONNEL RECORD


When you were first employed by the bank, you completed an application form supplying us
with various facts we must know about you. This information is transferred to a permanent
and confidential tile, which is the bank's employment record. Keeping this record correct and
up to date is important to you because it enables the bank to reach you in an emergency,
properly maintain your insurance and other benefits, and compute your payroll deductions.


The human resources department should be notified promptly of changes in the following:


    • Address and telephone number
    • Marital status (for insurance and tax purposes)
    • Name
    • Beneficiaries listed for your insurance policies
    • Number of dependents (for insurance and tax purposes)
    • Person to notify in case of an accident


In addition, please let us know about the completion of training or educational courses so that
you may receive proper consideration as better job opportunities become available throughout
the bank. Your supervisor will send all this information to the human resources department,
where it will be maintained in your personnel file.




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ACCIDENTS


The bank is committed to providing asafe workplace for employees. You are the bank's eyes
and ears to spot unsafe work conditions.          Therefore, you have a responsibility to help us
maintain asafe workplace. Please utilize safe work practices and follow the safety instructions
on all equipment you operate. Report hazards to customers and employees immediately.
Contact your supervisor or the human resources department to locate the first aid supplies
nearest to your department or office.


Contact your supervisor or the human resources department to determine the location of the
nearest doctor or hospital.


Please refer to the Health and Safety section of this handbook for more details.


If you or acustomer should meet with an accident on the bank premises, even though you may
consider it of no consequence, report it immediately, within the hour, to the bank's workers'
compensation representative.      The bank must report some serious injuries to government
officials within 24 hours. The workers' compensation representative will follow through with
the appropriate actions. Under no circumstances are you authorized to tell an injured person
the bank will be responsible for medical bills.


DRIVING ON BANK BUSINESS


When driving on bank business you must:


   • Obey all traffic rules
   • Maintain avalid driver's license


TELEPHONE ETIQUETTE


A good telephone personality will win friends for you and the bank.           Telephone contacts
warrant special consideration because the person calling cannot see you. Customers can only
draw impressions from your voice and manner. You should apply the following guidelines:


   • Be alert, pleasant, natural, distinct, and expressive.
   • Speak at amoderate rate of speed to allow the caller time to hear and understand your
      message.
   • Answer the telephone promptly, no later than the second ring. Prompt answering helps
      build areputation of service for you and the bank.
   • Always identify yourself by name and department.
   • Have pen and paper available so you can write messages.
   • Use the hold key when leaving the phone line.

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   • Exercise care that one customer's confidential matters are not discussed where another
      party can hear the conversation.
   • Remember to use the caller's name in the conversation.
   • Say "Thank you for waiting," when you return to the line.


Each work area is supplied with telephone directories.


CELL PHONE


Customer Service comes first. Personal cell phone usage, texting, etc. should be kept to a
minimum.


COMPUTER USAGE


Customer service comes first.     Please refer to the Network Policy regarding the rules of
computer usage.
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APPEARANCE


First impressions are so significant in our relationships with customers that good grooming and
appropriate dress are important. Our customers are extremely sensitive to the appearance of
bank employees. They judge us by the employees they see every day. Therefore, all employees
are expected to maintain high standards of personal appearance and hygiene regardless of
where they work. After hours work and work not involving public or customer contact may
require less emphasis on style of dress. You should present aneat, businesslike appearance at
all times during working hours.


Any employee whose personal appearance is unacceptable to the bank's general standards will
be informed of this immediately. You will be asked to change as soon as possible. Failure to
correct the problem may result in dismissal.


Due to changing dress styles and fashions, the bank will from time to time provide suggested
guidelines for appropriate dress. If you have any questions concerning personal attire, you
should discuss it with your supervisor or the human resources department.




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The following guidelines for personal appearance apply to all the bank employees:


   • Clothing    -           You should exhibit professionalism in your dress.     Use conservative,
        businesslike taste in selecting the clothes you wear, avoiding extreme styles, excessively
        tight clothes, and fad type clothing. Businesslike dresses or well-coordinated pants and
        blouses are considered acceptable for women.            For men, ties, dress shirts, a suit or
        blazer, and dress slacks are considered acceptable.


   • Hair styles   Your hair style should be conservative and businesslike. Your hair must be
                         -




      clean and neatly styled. Beards or mustaches should always be well groomed.


   • Footwear        -       You should wear business style shoes and keep them clean and polished.
        Safety, comfort, and appearance are the main consideration for acceptable footwear.
        Tennis shoes, jogging shoes, or thong shoes are not appropriate.          Men should always
        wear socks.



MEN are expected to wear: ties, dress shirts, dress slacks (with belt) and appropriate shoes &
socks. No earrings or visible tattoos. Men cannot wear jewelry except awatch and one ring on
each hand. No extreme hair colors (Fad Colors purple, pink, blue, etc.)
                                                     -




WOMEN are expected to wear dresses, suits, dress slacks, skirts, with well coordinated
blouses or jackets and appropriate shoes. Moderation of makeup and accessories are
encouraged. Avoid extreme styles, tight clothing and fad type clothing. Dress crop pants may be
worn.

**Dress denim pants/jackets may be worn. This does not mean blue jeans or blue jean jackets.
Seek supervisor approval if in doubt.


ABSOLUTELY NO, NO, NO..................


NO sundresses (unless covered by ajacket)
NO sleeveless tops (unless covered by ajacket)
NO blue jeans or blue jean denim material
NO thong sandals, flip flops, casual slides, strappy sandals (dress, open toe sandals may be
   worn)
NO tennis shoes or athletic shoes
NO low riding pants or hip huggers or stretch pants
NO halter tops
NO tank tops
NO low cut tops revealing cleavage
NO midriff revealing tops
NO tight t-shirts, short t-shirts, long oversized t-shirts


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NO shirts that do not meet skirts or pants
NOTHING with alogo bearing name across the chest (only GDWB logos on Friday)
NO skirts shorter than 2" above knees
NO tight skirts or pants
NO shorts, cargo pants, jeans of any description
NO sweatshirts or sweatpants
NO heavy makeup (only normal daily wear at aminimum)
NO visible tattoos, body jewelry, body piercing (must be covered)
NO long, flashy painted nails
NO jingling jewelry
NO extreme hair styles
NO extreme hair colors (fad colors   -   purple, pink, blue, etc.)


"PLEASE USE COMMON SENSE."                                 IF IN DOUBT, DON'T.




CASUAL FRIDAY


We will wear specialized Bank shirts with business casual skirts or pants and shoes. Denim is
acceptable provided it is NOT BLUE JEANS. Crop pants are acceptable as long as they look nice
and fit properly. T-Shirts, stirrup pants, tight stretch pants, athletic shoes, flip flops are not
appropriate.

Keep in mind that an employee represents not him or herself, but the company he or she works
for at all times.

Appropriate appearance is clean hair, clean nails and clean clothes.    Clothes should always be
crisp, clean and pressed (not like they came right out of the dryer).




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                         PROFESSIONAL DRESS


Six Questions You Should Ask Before Buying Something to Wear


1.     Is it comfortable?

2.     Does it fit properly?

3.     Is the fabric of good quality?

4.     Is this appropriate for the kind of job Ihave?

5.     Will it be considered fashionable for two or more seasons?

6.     Will my budget allow for this purchase?



Six Strategies for Dressing Professionally

1.     View your clothes as an investment.

2.     Choose clothes that compliment your body style.

3.     Wear clothing appropriate to your audience.

4.     Clean and maintain your wardrobe.

5.     Count your shoes as apart of your outfit.

6.     Read agood book on executive dress.




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RUMORS


When you hear a business-related rumor, please ask your supervisor if there is any truth in it.
Your supervisor will get you an answer.


Personal gossip can be vicious. Do not participate. If you do not gossip about others, chances
are others will not gossip about you.


Our main goal is keep the lines of communications open. We are committed to keeping you
well informed. If you want to know something, ask your supervisor. It is the supervisor's job to
keep you informed.


CARE OF EQUIPMENT


The bank has invested thousands of dollars in equipment designed to enable you to do your
work more efficiently. Your cooperation in the care and use of this equipment is necessary to
keep it in good operating condition.


If any of our equipment is defective or is not best for the job, please notify your supervisor
immediately. A few timely repairs may prevent acomplete breakdown of the equipment.
You should be sure that all equipment is secured, turned off, and covered before you leave
work.


HOUSEKEEPING AND OFFICE APPEARANCE

Supervisors are responsible for making sure that employees' work areas are maintained in a
neat, orderly, and businesslike manner. At the end of the day, all areas should be cleaned and
prepared for the start of the next day's work. All confidential records, cash items, and any
other sensitive documents must be locked in asecure area.




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                      Section 5:


            Security and Work
                           Rules




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HEALTH AND SAFETY


Employees must follow all health and safety regulations. Any accident or injury must be
reported to the Bank's workers' compensation representative immediately. We will see that
you receive proper medical care and that an accident report is completed.


Keep your work area neat and clean. Assist in keeping all areas of our premises clean
(especially restroom facilities). Return supplies to their proper place when you have finished
with them.


Remember to clear your own lunch area and maintain cleanliness in the rest rooms. Use trash
containers for debris.


LOST AND FOUND


If you find any valuables, they must be returned to your supervisor immediately. This is an area
where we will certainly lose or gain our customers' confidence. Failure to turn in lost items will
be grounds for termination.


IMPROPER CONDUCT


The following list highlights some examples of behaviors the bank considers to be improper
conduct:


   • Performing inefficiently or unsatisfactorily, or failing to apply effort on the job, including
       intentionally slowing down work or productivity
   • Committing unsafe acts that affect equipment or personnel
   • Violating asafety rule or safety practice
   • Knowingly completing the time card of another employee, having one's card completed
       by another employee, or unauthorized altering of atime card
   • Being tardy without proper notice
   • Being absent without proper notice or excuse
   • Loafing or spending unnecessary time away from the job
   • Leaving your job or your regular work place during working hours for any reason
       without authorization from your supervisor except for scheduled lunches, rest periods,
       and going to the rest room
   • Leaving work before the end of the regular workday or not being ready to work at
       normal starting time
   • Reporting to work in an intoxicated condition or under the influence of drugs
   • Participating in disorderly conduct or indecency reflecting on the bank


                                                 5]

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    • Participating in immoral conductor indecency reflecting on the bank
    • Misrepresenting facts in seeking employment
    • Being dishonest or removing another employees' property or bank property without
       permission
    • Writing checks on insufficient funds (NSF checks)
    • Willfully destroying bank property
    • Refusing to perform a service connected with an employee's job as required by the
       employee's supervisor or by management, or being insubordinate
    • Contributing to unsanitary conditions or poor housekeeping
   • Failing to follow instructions
   • Arguing with your supervisor
   • Conducting yourself in amanner that shows disregard for the bank's best interest
   • Intentionally violating awork rule or inducing another employee to violate awork rule
   • Participating in criminal or illegal activities
   • Repeatedly wearing improper attire or evidence of uncleanliness
   • Failing to notify the bank immediately of any accident on the property
   • Conducting activities that endanger life, safety, or the health of others or self
   • Failing to respect the confidential nature of the bank's business, customer information,
       and bank records
   • Using, altering, removing, or destroying bank records without authorization
   • Engaging in horseplay, running, fighting, shoving, or throwing objects
   • Failing to observe traffic and parking regulations
   • Sleeping on the job or during working hours
   • Posting, altering, or removing any materials on bank bulletin boards
   • Exhibiting carelessness affecting the employee's own or another employee's safety
   • Using profane or abusive language, as determined by management
   • Falsifying bank records
   • Making false or malicious statements
   • Violating federal or state law on bank property or while conducting bank business
   • Harassing an employee or customer, including sexual and racial harassment
   • Violating conflict of interest and code of ethics policies
   • Failing to report aconviction within five (5) days under criminal statutes
   • Refusing to take adrug test or alcohol test


This list is provided to assist supervisors and employees.        It contains examples and is not
considered to be all inclusive. The list is subject to change by management without notice.




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Violations of the bank policies outlined here and in other sections of the handbook will be dealt
with by written correction or corrective actions up to and including dismissal, depending on the
frequency and nature of the offense.


SECURITY


Security is an important element of any business. Please read this policy with great care.


Any individual entering abank office should be there to transact business with the bank. Seek
out and greet the customer, then ask if you can be of help. If the individual appears to have no
definite purpose for being in the office or acts nervous or suspicious in any way, bring this fact
to the attention of your supervisor immediately. Please train yourself to be able to identify, not
just recognize people   -   that is, you should be able to provide a detailed description of their
physical appearance (height, weight, hair and eye color, skin, etc).


Do not permit visitors in restricted work areas without prior authorization from your supervisor.
Unless requested, do not remain in the bank after scheduled work time or arrive excessively
early before your scheduled starting time.       Please do not take packages from our premises
unless approved in advance by your supervisor. This includes material that is thrown away. Do
not take anything that does not belong to you.        Bank employees must preserve the public's
confidence. Therefore, participation in any illegal activity will not be tolerated.


SEARCHES


The bank may need to search desks, lockers, and personal items brought into the bank as part
of its investigation of suspicious occurrences in the bank.     Please do not bring items into the
bank thatyou would not want searched.


ENTERING AND LEAVING THE BUILDING


The following procedure applies when you enter or leave the bank:
   • Before entering, look for any strangers who may be loitering nearby.
   • Make positive identification before admitting anyone at other than business hours.
   • Always lock doors when the offices are not open for business.
   • People requesting appointments outside regular business hours must be known to an
       officer or employee. They should be met at the doors at apredetermined time.
   .   When leaving at the end of the business day, carefully observe the area near the door.




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KEYS


Those people to whom keys have been assigned are completely responsible for such keys and
should avoid unnecessary advertisement that they have them.                  Upon termination of
employment, all keys are to be returned, in person, to the human resources department.
Immediately advise your supervisor of any lost or stolen keys.


In the Event of   Robbery


Employees should familiarize themselves with the procedures outlined below and carefully
follow these instructions.   Bank security measures and the location of vaults, cash, checks,
safes, and alarms are classified information and should not be discussed with anyone outside
the bank.


It is not apart of your job to jeopardize yourself if arobbery occurs. Follow these rules:


   • Becalm.
   • Cooperate. Do what you are told      -   no more, no less.
   • Observe the following features of the robbers:
            > Size in relation to doors and furniture
            > Clothing— type & color
            > Scars, defects, hair, eyes, nose and lips
            > Mannerisms
            > Names, leaders, and speech
   • Set off alarm if one exists and it is safe to do so.


After arobbery, you should follow this procedure:


       Activate the alarm as soon as the robber has left.
   .   Inform the security officer or the nearest bank officer and provide the officer with a
       detailed description and the direction of the escape.           The officer will notify law
       enforcement officials.
   • Do not touch anything in the robbery area.             (The robber may have left fingerprints)
       Isolate and protect the area. Retain any notes or objects the robber leaves behind.
   • Lock up all cash.
   • Complete the robbery description form without the help of other witnesses.




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    • Avoid discussing the holdup with anyone except the officer in charge or the police.
        Witnesses should not confer with each other until after they have been interviewed by
        law enforcement officers.
    • Do not reopen the affected window until it is released by the security officer.
    • Refer    all   news   media   questions   to    the   bank   president or    the   bank's official
        representative.


In the Event of aBomb Threat


Most bomb threats are false.     However, it is essential that employees remain calm and assist
customers and other employees in leaving the bank premises in asafe and prompt manner.


The following procedure applies in the event of abomb threat:


    • In most instances, the bomb threat will be received via a phone call.               Get as much
        information as possible. Listen and repeat what is said to you.
    • As soon as the caller hangs up, quickly and quietly contact the senior manager in charge
       and convey the information.
    • The manager will contact the police and fire departments and the Federal Bureau of
        Investigation.
    • The manager will contact each department head to proceed in an orderly evacuation.
    • The tellers will secure all money drawers and all drawers containing important files and
       documents. Keys are to be taken with you.
    • All employees will exit the doors nearest to their work area and congregate in the
       employee parking lot as soon as the evacuation order has been received. No employee
       is to leave before receiving the official evacuation order.


In the Event of aFire


All employees need to learn the location of fire extinguishers in case the tire is localized and can
be extinguished quickly. If this is not possible, the procedure will be the same as in the event of
abomb threat, beginning with the second step.


It is crucial that all employees remain calm in order to avoid panic.             Your composure will
provide reassurance to those around you, employees and customers alike.




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DISASTER RECOVERY       /RESUMING    BUSINESS OPERATIONS


All employees are expected to report to work unless notified by the media or their supervisor
that work has been suspended. If adisaster warning occurs during working hours, the bank will
make very attempt to allow employees to leave in time to reach their homes and families
safely.    Supervisors will be the primary communications link with employees.        Therefore,
employees and supervisors should keep each other informed of their current telephone
numbers, and these should be kept both at home and at the office.


Getting abank back to business after anatural disaster or emergency involves concentrating on
three phases of action:


    • Preparation
    • The disaster
    • Recovery


PREPARATION


All employees and supervisors of the bank should attempt to anticipate their own needs in the
event of adisaster, such as a hurricane, earthquake, or flood, with regard to personal needs,
fellow employee needs, and customer needs. The following steps are taken in preparation for
disaster recovery:


    • The bank will provide training materials for the purpose of disaster preparedness.
    • Emergency communication procedures with cellular phone numbers and 800 number
          emergency information systems will be developed for employees.
    • Each department must make preparations for records retention and systems back-up so
          that any files that may be destroyed can be recovered.
    • Each department should designate an employee to conduct a damage survey of the
          department and to make alist of needs to begin operations as soon as possible.


The Disaster


If abranch or location is rendered dysfunctional, the closest branch capable of dealing with the
customer and employee workload will be used. A disaster recovery officer will be designated,
and employees will call that officer for instructions regarding work, transportation, and
personal needs during the disaster, and return-to-work and work processes after the disaster.



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The employee designated to conduct the damage survey will, in conjunction with the
department head, prepare the department for amove or cleanup. Additionally, he or she will,
if a natural disaster makes it impossible for certain vendors to reach the facility, identify
alternatives to provide essential supplies and replacement parts.


Every effort will be made to restore bank operations as quickly as possible. Senior management
will utilize the media, cellular phones, and 800 numbers to keep employees, customers, and
vendors informed of service hours, locations, and any changes in procedure.


Recovery


Senior management will meet to consider whether the disaster required special assistance with
transportation to work, housing near work, emergency financial assistance to employees for
immediate needs, needs for disaster leave, and establishing adisaster recovery headquarters.
Department heads, senior management, and supervisors will be considered an information and
action team that takes appropriate action to return the bank to full operations in the quickest
possible stages.


Employees will notify the human resources department of their needs and work availability at
the first opportunity on the day of or during the next work day after the disaster, or as soon as
feasible.




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ACKNOWLEDGMENT STATEMENT


The policies stated in the employee handbook are intended to give an employee an indication of how most
employment situations are normally handled.


STATEMENT


Ihave read the policies and programs outlined in this Employee Handbook. Specifically, Ihave read the Code of
Ethics stated therein. Iunderstand that Imust adhere to these policies.


Iunderstand that this handbook is not acontract of employment between me and the bank and Ishould not view
it as such. No employee is guaranteed employment for any specific duration. Ialso understand that no one from
the bank has any authority to represent tome, orally or in wrung that this handbook or any particular personnel
policy or procedure contained in it is or maybe viewed as an agreement or as acommitment tome, and no such
representation shall be binding upon the bank. I
                                               further understand that the bank reserves the right to unilaterally
modify, amend, or eliminate policies, procedures, and/or benefits at any time, or to require and/or increase
contributions toward these benefits with or without notice to me.


Ialso understand that the information in this handbook is confidential and for the use of our employees only.   It
will, at all times, remain the property of the bank. Should employment be terminated for any reason, Iwill return
this handbook to The bank.


Ifurther understand that the bank may withhold from my final paycheck the cost of any items that are not
returned priorto my last day of employment


Ifurther understand that:


        Policies and the handbook maybe updated from time to time as described herein.

        The bank has aformal 90-day introductory period for all employees. During this get-acquainted period, I
        or the bank may end the relationship.        If This happens, the bank may not be charged with any
        unemployment benefits paid, nor will any additional benefits accrue.


        Use of the bank's email, telecommunications and office equipment constitutes consent to monitoring the
        use of this equipment


        The bank has a right to search its property and for prohibited property anywhere on bank property as
        described in this handbook.


        The bank is an employment-at-will employer.           This basically means that at any time during my
        employment Imay resign, if it is in my best interest. The bank has acommensurate right to protect the
        bank's best interest       By signing this statement, Iacknowledge that Ihave received and read, not
        necessarily agree with, our employee handbook and this statement




Employee Name     (Please Print)                     (Date)




EMPLOYEE SIGNATURE


NOTE:   This page should be signed, dated and remain in your handbook.


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ACKNOWLEDGMENT STATEMENT (FOR PERSONNEL FILE)

The policies stated in the employee handbook are intended to give an employee an indication of how most
employment situations are normally handled.


STATEMENT


Ihave read the policies and programs outlined in this Employee Handbook. Specifically, Ihave read the Code of
Ethics stated therein. Iunderstand that Imust adhere to these policies.


Iunderstand that this handbook is not acontract of employment between me and the bank and Ishould not view
it as such. No employee is guaranteed employment for any specific duration. Ialso understand that no one from
the bank has any authority to represent tome, orally or in writing that this handbook or any particular personnel
policy or procedure contained in it is or maybe viewed as an agreement or as acommitment tome, and no such
representation shall be binding upon the bank. I
                                               further understand that the bank reserves the right to unilaterally
modify, amend, or eliminate policies, procedures, and/or benefits at any time, or to require and/or increase
contributions toward these benefits with or without notice tome.


Ialso understand that the information in this handbook is confidential and for the use of our employees only. It
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Ifurther understand that the bank may withhold from my final paycheck the cost of any items that are not
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        The bank has aformal 90-day introductory period for all employees. During this get-acquainted period, I
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        unemployment benefits paid, nor will any additional benefits accrue.


        Use of the bank's email, telecommunications and office equipment constitutes consent to monitoring the
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        The bank has a right to search its property and for prohibited property anywhere on bank property as
        described in this handbook.


        The bank is an employment-at-will employer.           This basically means that at any time during my
        employment Imay resign, if it is in my best interest. The bank has acommensurate right to protect the
        bank's best interest       By signing this statement, Iacknowledge that Ihave received and read, not
        necessarily agree with, our employee handbook and this statement



Employee Name     (Please Print)                     (Date)



EMPLOYEE SIGNATURE


NOTE:     This page should be signed, removed from the handbook, and returned to the Human Resources
Department



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                                                                                               GDWB 000440
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File MIuitenance Report for             -   Ri W CHECKING   -   Real   Bank #:       033        THE GEO 0 WARTHEN BANK
Saver                                                                  User:         kbauconi   Kim Baucom

Customer                                                               Relationship

DEBRA 0 HELTON                                                         Owner     -   Single                      $
DO NOT MAIL
DO NOT, GA 31089




                                                                                                    p



Date            Item Changed                From'T


04113/2019    .Suspended memo post          Amount:        $5.SL Debit                 DEBRA HELTON
09:17         trecord                       Do not post as next business day           0242
                                            transac
04/12/2019    'Suspended memo post          Amount:        $9497' Debit                DEBRA HELTON
1544          irecord -                     Do not post as next business day           0242
                                            transac




06/25/2018      Funds transfer purged       To              Amount:                    DEBRA HELTON
12:3.4                                      25.00                                      0242
                                            Tc:061 Times:999 Days:007
                                            06/29/18




                                                                            DEFENDANT'S
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              Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 202 of 230
File Maintenance Report to                   Business              Bank #:       033         THE c3EO D WARTHEN BANK
                                                                   User:         kbaucorn    Kim Baucom

Ci stoner                                                          Relationship

DEAN HELTON DBA                                                    Business       -   Authorized Signer      S   S
                                                                   Owner     -   Business                    $




Date                Item Changed


04/26/2019          Funds transfer purged    To                 Amount:           jDEBRA HELTON
1254                                         81.00                                 0242
                                             Tc:061 Times;999    Days:007
                                             05/03/19
041 1112019               transfer added     To              Amount:                  DEBRA HELTON
12:48                                        81.00                                    0242
                                             Tc:061 Times:999 Days: 007
                                             04/19/19

04109/2019     .,   Funds transfer added 1   To              Amount:                  DEBRA HELTON
10:39                                        12000                                    0242
                                             Tc:061 Times:999 Days:007
                                             04/09/19




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             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 203 of 230
File Maiiltenance Report to                    Installment Loans      Bank#:   033        THE GEO D WARTHEN BANK
                                                                      User:    kbaucom    Kim Baucom

Customer                                                              Relationship

NICHOLAS POWELL GREEN                                                 Borrower
ASHLEY HELTON GREEN                                                   Co-borrower




                Item Changed
                                         ..   From

04/26/2019      Funds transfer purged         From:           Amount:            DEBRA HELTON
12:54                                         81.00                              0242
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04/26/2019      Funds transfer added          From:                Amount:       1OEBRA   HELTON
12:54                                         ai.00                              0242
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04/1112019      Funds transfer purged         From:           Amount:            DEBRA HELTON
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12:48                                         81.00                              0242
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             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 204 of 230
File,Mai,aenance Report for CL 419989100-515 ARM        Bank 1$:   033           THE GEO D WARTHEN BANK
                                                        User:      kbaucom       Kim Baucorn

Customer                                                Relationchip

HEATHER DEAN HELTON                                     Borrower                                     $   S
441 WARTHEN ST
SANDERSVILLE, GA 31082




Date
'               Item Changed


04/2212019      Change name             HEATHER DEAN HELTON          DEBRA HELTON
11:16           relationship            cnothing>                    0242    -




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             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 205 of 230
Fite Maintenance Report for             Business            Bank #:   033        THE CEO B WARTHEN BANK
                                                            User:     3597       KAREN WILSON

Customer                                                    Relationship

DEAN HELTON DBA                                             Business Authorized Signer
                                                                       -                         S   S
                                                            Business Entity (DBA)                $




                                        Iario'        x     ,nci              Ate,&f2
Date          Item Changed              From                               BY:
                                        To

04/26/2019    Funds transfer purged     To           }  Amount:            DEBRA HELTON
12:54                                   81.00                              0242
                                        Tc:061 Times;999 Days.007
                                        05103/19
04/11/2019    Funds transfer added      To              Amount:            DEBRA HELTON
1248                                    81.00                              0242
                                        Tc:061 Times:999 Days:007
                                        04/19/19
04/09/2019    Funds transfer added      To :           Amount:             DEBRA HELTON
10.39                                   120.00                             0242
                                        Tc061 Times:999 Days:007
                                        04/09/19

05/19/2014    Funds transfer added      To :           Amount:             DEBRA HELTON
1722                                    222.55                             0242
                                        Tc:061 Times:001  Mth001
                                        05119/14
12/28/2011    Funds transfer added      To             Amount:             DEBRA HELTON
12.26                                   99999,999.99                       0242
                                        Tc:061 Times:999  Mth:001
                                        01/15!12
12/06/2011    Funds transfer added      To              Amount:            DEBRA HELTON
12:54                                   245.00                             0242
                                        Tc:061 Times:999 Days:007
                                        12106/11

12/06/2011    Funds transfer added      To              Amount:            DEBRA HELTON
1254                                    465.00                             0242
                                        Tc:061 Times:999 Days.007
                                        12/06/11




GneraWd on      10/11/2019 3-13:56 PM                                                      Page Il of 1
                                                                                          GDWB 000452
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 206 of 230
File Maintenance Report for             -   Installment R/E   Bank #:   033    THE GEO 0 WARTHEN BANK
Mortgage                                                      User:     3897   KAREN WILSON

Customer                                                      RelationshiQ

CHESTER DEAN'S STEAK & SEAFOOD LLC                            Borrower                          S   S    I




                                               i&ibaia ttCo                        4au
Date           Item Changed             From
                                        To




04/09/2019     Funds transfer added     From:          Amount.            DEBRA HELTON
10.39                                   120.00                            0242
                                        Tc:088 Tmes:999 Days:007
                                        04/09119




                                                                                          Page 11 of 1
Generated on     10/11/2019 301.53 PM
                                                                                         GDVB 000453
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 207 of 230
File Maintenance Report for               -515 ARM                     Bank#:   033    THE CEO 0 WARTHEN BANK
                                                                       User:    3897   KAREN WILSON

Customer                                                               Relationshin

DEAN HELTON                                                            Borrower
DEBRA 0 HELTON                                                         Co-borrower




Date           Item Changed               From                                    By
                                          To
12/0212014     FHLB Eligible              Yes                                     DEBRA HELTON
10:41                                     No                                      0242

12102/2014     FHLB Eligible              No                                      DEBRA HELTON
10:40                                     Yes                                     0242

07/17/2012     Added note record          changed to collect interest as          DEBRA HELTON
1027                                                                              0242

07/17/2012     Escrow analysis option     0                                       DEBRA HELTON
10:28                                                 1                           0242

07/17/2012     Interest collection code   Collect outstanding interest            DEBRA HELTON
1026                                      Collect interest as billed              0242
06/07/2012     Escrow analysis option     0                                       DEBRA HELTON
15:01                                                 1                           0242

06/07/2012     Interest collection code   Collect interest as billed              DEBRA HELTON
15.01                                     Collect outstanding interest            0242

06/06/2012     Fair Lending Act           Not applicable                          DEBRA HELTON
1201                                      Covered home                            0242

06)06/2012     Interest collection code   Not applicable                          DEBRA HELTON
12.01                                     Collect interest as billed              0242

02/28/2012     Over payment collection    Esc, Prin, tnt, Late chg                DEBRA HELTON
10:56          seq                        Prin, Int. Late chg, Esc                0242

02128/2012     Payment collection         Int, Prin, Late chg, Esc                DEBRA HELTON
10.56          sequence                   Esc, tnt, Pnn, Late chg                 0242




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                                                                                                 GDWB 000454
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 208 of 230
File Maintenance Report to               REWARD CHECKING       Bank II:       033      THE CEO D WARTHEN RANK
Consumer                                                       User:          3897     KAREN WILSON

Customer                                                       Relationship

DEAN HELTON                                                    Owner      -   Single                   $




Date            Item Changed             From
                                                       4-5, wwvv at•&-          By
                                         To
10/08/2009      Funds transfer changed   To              Amount:                DEBRA HELTON
12:20                                    100.00                                 0242
                                         Tc:061 Times:999 Days:007
                                         10/09/09
09/01/2009      Funds transfer purged    To              Amount                 DEBRA HELTON
13:06                                    100.00                                 0242
                                         Tc:061 Times:999 Days:007
                                         09/04/09
08/24/2009      Funds transfer changed   To   .   -      Amount:                DEBRA HELTON
08:58                                    200.00                                 0242
                                         Tc:061 Times:999 Days:007
                                         08/28/09
08/13/2009      Funds transfer changed   To             Amount:                 DEBRA HELTON
15:01                                    100.00                                 0242
                                         Tc:061 Times999 Days:007
                                         08/14/09

07/30/2009      Funds transfer added     To           I  Amount:               DEBRA HELTON
12:27                                    100.00                                0242
                                         Tc:061 Times:999 Days:007
                                         08/07/09
01/03/2009      Funds transfer changed   To              Amount:               DEBRA HELTON
08:05                                    100.00                                0242
                                         Tc:061 Times:999 Days:007
                                         01/09/09
01103/2009      Funds transfer added     To :            Amount:               DEBRA HELTON
08:05                                    100.00                                0242
                                         Tc.061 Times:999 Days:007
                                         01/09/09

12103/2008      Funds transfer changed   To:              Amount:              DEBRA HELTON
15:26                                    126.84                                0242
                                         Tc:061 Tirnes:001 Days:007
                                         12/09/08
08/20/2008      Funds transfer added     To              Amount:               DEBRA HELTON
09:43                                    100.00                                0242
                                         Tc:061 Times:999 Days:007
                                         08/29/08
08/20/2008      Funds transfer added     To               Amount:              DEBRA HELTON
09:42                                    99999999.99                           0242
                                         Tc:061 Times:001   Mth:001
                                         08/20/08
01(17/2008      Funds transfer changed   To                 Amount:            DEBRA HELTON
13:12                                    ioo.00                                0242
                                         Tc:061 Times.999    Days:007
                                         01/22/08


                                                                                                 Page 11of 3
Gcweratecio,J     10/11(20193.1557 PM
                                                                                               GDWB 000455
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 209 of 230
File Maintenance Report for             REWARD CHECKING        Bank #: 033           THE GEO 0 WARTHEN BANK
Consumer                                                       User:   3897          KAREN WILSON

Customer                                                       Relationshio

DEAN HELTON                                                    Owner    -   Single                   $




Date           Item Changed             From                                  By
                                        To
04/06/2007     Funds transfer added     To            I     Amount:           DEBRA HELTON
15:17                                   99999,999 99                         0242
                                        Tc:061 Times:999      Mth:001
                                        04115107
03/05/2007     Funds transfer changed   To               Amount:             DEBRA HELTON
13:39                                   508.90                               0242
                                        Tc:061 Times:999   Mth:001
                                        03/20/07
03/02/2007     Funds transfer changed   To               Amount:             DEBRA HELTON
13:24                                   508.90                               0242
                                        Tc.061 Times:999   Mth:001
                                        04/20/07

01(24/2007     Funds transfer added     To :            Amount:              DEBRA HELTON
11:58                                   99999,999.99                         0242
                                        Tc:061 Times:999 Mth:001
                                        02/01/07
09(18/2006     Funds transfer changed   To            )     Amount:          DEBRA HELTON
16:25                                   458.04                               0242
                                        Tc061 Times:999       Mth:001
                                        10(20/06
06/27/2003     DDP transfer increment   100                                  DEBRA HELTON
                                                 10                          0242

06/27/2003     DDP account(1)                                                DEBRA HELTON
                                                                             0242

06/27/2003     ODP account(1)           Line of Credit                       DEBRA HELTON
               application              Demand Deposit                       0242

02/28(2002     Stop purged              WORK NOT SATISFACTORY                DEBRA HELTON
                                        Amount: $175.03 Check# 2640          0242

0212712002     Stop payment added       WORK NOT SATISFACTORY                DEBRA HELTON
02:25                                   Amount: $175 03 Check# 2640          0242

10/09/2001     NSF charge waived        Yes                                  DEBRA HELTON
                                        No                                   0242

10/09/2001     Image statement rows     Unknown value                        DEBRA HELTON
                                        2 rows per column                    0242

10/09(2001     Image statement columns Unknown value                         DEBRA HELTON
                                       1column per page                      0242

10/09(2001     NSF charge waived        No                                   DEBRA HELTON
                                        Yes                                  0242

10123/2000     Internet access code     Yes                                  DEBRA HELTON
                                        No                                   0242

10120(2000     Internet access code     No                                   DEBRA HELTON
                                        Yes                                  0242


Generatea on     10/11/2019 3.1557 PM                                                          Page 12 of 3
                                                                                             GDWB 000456
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 210 of 230
File Maintenance Report to           -   REWARD CHECKING   Bank #:       033      THE CEO D WARTHEN BANK
Consumer                                                   User          3897     KAREN WILSON

Customer                                                   Relationship
DEAN FIELTON                                               Owner     -   Single                   S        I




Date           Item Changed              From                              By
                                         To
10/04/1999     Stop payment added        BILL INCORRECT                    DEBRA HELTON
21:45                                    Amoun 0                           0242
10/04/1999     Stop purged               CANCELLATION                      DEBRA HELTON
                                         Amoun  0                          0242
09/27/1999     Geographic location       NOT ASSIGNED                      DEBRA HELTON
10:52                                    <nothing>                         0242
07/29/1999     Stop payment added        CANCELLATION                      DEBRA HELTON
                                         Amoun  0                          0242




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Genorateda'F     10111/20193 1557 PM
                                                                                          GDWB 000457
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 211 of 230
File Maintenance Report for                Select Home Equity   Bank#   033     THE GEO D WARTHEN BANK
Lines Of Credit                                                 User:   3597    KAREN WILSON

Customer                                                        Relationshiu

DEAN HELTON                                                     Borrower                          S      S
DEBRA D HELTON                                                  Co-borrower                       $      S




                                                                aL      /,&      Fe4dt
Date            Item Changed                                               By
                                           To

09/25/2018      Stop Draw Date             Unknown                         DEBRA HELTON
10:44                                      8/09133                         0242

09/25/2018      Prime code                 PRIME RATE                      DEBRA HELTON
10:44                                      Employee Rate                   0242

09/25/2018      Secondary officer          Unknown value                   DEBRA HELTON
10:44                                      Kenneth A Bibb                  0242

09/25/2018      Date of expiration         Unknown                         DEBRA HELTON
1044                                       8(09133                         0242

09/2512018      Director/Officer/Employe   Customer                        DEBRA HELTON
10:44           e                          Officer                         0242

09/25/2018      Officer                    Not Assigned                    DEBRA HELTON
10:44                                      Tracy B Welch                   0242




Generatecion.     10/11/20193 0933 PM
                                                                                           Page   11of   1

                                                                                          GOWB 000458
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 212 of 230
File Maintenance Report for LC                                 Bank#: 033          THE GEO D WARTHEN BANK
                                                               User   3897         KAREN WILSON

Customer                                                       Relationship
                                                                Borrower                            S   S
CHESTER DEAN'S STEAK & SEAFOOD LLC




                                                  -     •Vu,)knrL S/KLtO 5
                                                          ,



Date              Item Changed             From                 By


08/07/2012        Maximum late charge                                       DEBRA HELTON
10:05                                                                       0242

06/07/2012        Payment minimum (1)                                       DEBRA HELTON
10:05                                                     50                0242

06/07/2012        Product payment override No                               DEBRA HELTON
10:05                                      Yes                              0242

08/07/2012        Limit                    $0                               DEBRA HELTON
10:05                                                 $5,175                0242

08107/2012        Date limit changed       6/19/12                          DEBRA HELTON
10:05                                           9Z1iZ                       0242

12/28/2011        Funds transfer added      ram:            ArñountP    -   DEBRA HELTON
12:26                                      99999,999.99                      242
                                           Tc070 Tinies:999   Mth:001
                                           011151 12




Gear, rated o,;      0/11/2019 3:2038 pM
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                                                                                                    1of I

                                                                                           GDWB 000459
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 213 of 230
File Maintenance Report for            -   REWARD CHECKING        Bank #:       033      THE CEO 0 WARTHEN BANK
Consumer                                                          User:         3897     KAREN WILSON

customer                                                          EelationshiD
                                                                  Owner         Single                     $   S   I
ASHLEY HELTON GREEN
                                                                            -




Date          Item Changed                 From
                                                  &hmS               14&
                                           To

04/11(2019    Suspended memo post          Amount        $16200 Debit       DEBRA HELTON
15:02         record                       Do not post as next business day 0242
                                           transac
04/11/2019    Funds transfer purged        To           I Amount:                 DEBRA HELTON
12:52                                      50.00                                  0242
                                           Tc:061 Times:999 Mth:001
                                           04/15119

04/1112019    Funds transfer purged        To :             Amount.               DEBRA HELTON
12:S2                                      50.00                                  0242
                                           Tc:061 Times:999   Mth:001
                                           05/01/19
04/11/2019    Funds transfer purged        To              Amount.                DEBRA HELTON
12:48                                      162.00                                 0242
                                           Tc:061 Times:999 Days:014
                                           04/19/19
06/25/2018    Funds transfer added         To               Amount:               DEBRA HELTON
12:35                                      5000                                   0242
                                           Tc.061 Times:999   Mth:001
                                           08101/18
06/25/2018    Funds transfer added         To               Amount:               DEBRA HELTON
12:34                                      50.00                                  0242
                                           Tc:061 Times:999   Mth001
                                           07/15/18

10/23/2014    Funds transfer changed       To               Amount:               DEBRA HELTON
12:08                                      900.00                                 0242
                                           Tc:061 Times:360   Mth:001
                                           11/01/14
10/01/2009    Funds transfer purged        From:           Amount:                DEBRA HELTON
16:57                                      50.00                                  0242
                                           Tc:006 Times:999 Days:007
                                           10/02/09

06/19/2007    Funds transfer added         From:           Amount:                DEBRA HELTON
14:43                                      50.00                                  0242
                                           Tc:006 Times:999 Days:007
                                           06/22/07

10/14/2004    Added memo post record       Amount:    $50.00 Credit               DEBRA HELTON
                                           Do not post as next business day       02 4 2
                                           txs




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Genwaledon,     10/11(2019 3:22:47 PM
                                                                                                 GDWB 000460
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 214 of 230
                                        REWARD CHECKING       Bank #:       033       THE GEO 0 WARTHEN BANK
File Maintenance Report for
Consumer                                                      User:         3897      KAREN WILSON

Customer                                                      Relationship
                                                              Owner         Primary                     S   S
NICHOLAS POWELL GREEN
                                                                        -




                                        At/czl                  7cv/au)
Date           Item Changed             From                                  By
                                        To

06107/2018     Funds transfer purged    To                 Amount:            DEBRA HELTON
0934                                    575.00                                0242
                                        Tc:061   Times:002 Cycle:055

06)07/2018     Funds transfer changed   To             I   Amount:            DEBRA HELTON
09.34                                   430.00                                0242
                                        Tc:061   Times:999 Cycle:055

05/31/2018     Funds transfer changed   To :U              Amount.            DEBRA HELTON
13:03                                   575.00                                0242
                                        Tc:061   Times:003 Cycle:055

05/31/2018     Funds transfer added     To :U              Amount:            DEBRA HELTON
13.02                                   430.00                                0242
                                        Tc:061   Times:999 Cycle:055

05/31/2018     Funds transfer added     To   .          Amount:               DEBRA HELTON
1301                                    575.00                                0242
                                        Tc:061 Times:003 Days:007
                                        06/01/18




                                                                                                 Page   1of 1
Generatod on     10/11/2019 323:59 PM
                                                                                               GDWB 000461
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 215 of 230
File Maintenance Report for                -   Installment Loans      Bank #:   033    THE CEO D WARTHEN BANK
                                                                      User:     3897   KAREN WILSON

Customer                                                              Relationship

NICHOLAS POWELL GREEN                                                 Borrower                          $   S
                                                                      Co-borrower                       $   S




Date            Item Changed               From                                   By
                                           To

04/26(2019      Funds transfer purged      From.                   Amount:        DEBRA HELTON
12.54                                      81.00                                  0242
                                           Tc:674     Times999      Days:007
                                           05/03/19

04/26/2019      Funds transfer added       From:           Amount:                DEBRA HELTON
12:54                                      81.00                                  0242
                                           Tc:674 Times 999 Days:007
                                           05/03/19

04/11/2019      Funds transfer purged      From:           Amount:                DEBRA HELTON
12:48                                      162.00                                 0242
                                           Tc:674 Times:999 Days:014
                                           04/19/19

04/11/2019      Funds transfer added       From:            Amount:               DEBRA HELTON
1248                                       81.00                                  0242
                                           Tc:674 Times -999 Days:007
                                           04/19/19

08/27/2018      RATE                       No                                     DEBRA HELTON
12.19                                      Yes                                    0242

08/27(2018      TERM                       No                                     DEBRA HELTON
12:19                                      Yes                                    0242




                                                                                                  Page II of 1
Generaieci on     10111120 1S 3.25 26 PM
                                                                                                 GDWB 000462
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 216 of 230
File Maintenance Report for                    Installment Loans      Bank #:   033     THE GEO D WARTHEN BANK
                                                                      User:     3897    KAREN WILSON

customer                                                              Relationship

ASH[ FY HELTON GREEN                                                  Borrower                          S   S




Date              Item Changed                From
                                                      Lth'&
                                              To
04/11/2019        Funds transfer purged       From.            Amount:            DEBRA HELTON
12 62                                         5000                                0242
                                              Tc.674 Times:999   Mth:001
                                              04(15/19
04/11/2019        Funds transfer purged       From:            Amount:            DEBRA HELTON
12:52                                         5000                                0242
                                              Tc:674 Times:999   Mth001
                                              05(01/19
04/11/2019        Funds transfer added        From:           Amount:             DEBRA HELTON
1252                                          25.00                               0242
                                              Tc:674 Times:999 Days 007
                                              04126119
06125/2018        Funds transfer added        From:            Amount:            DEBRA HELTON
12.35                                         50.00                               0242
                                              Tc:674 Times:999   Mth:0I
                                              08/01/18
06/25/2018        Funds transfer purged       From:           Amount:            DEBRA HELTON
12:34                                         25.00                              0242
                                              Tc:674 Times:999 Days:007
                                              06/29/18
06/25/2018        Funds transfer added        From:                Amount:        DEBRA HELTON
12:34                                         50.00                              0242
                                              Tc:674 Times:999      Mth:001
                                              07/15/18




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                                                                                                 GDWB 000463
             Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 217 of 230
File Maintenance Report for              -   Installment Loans   Bank It:   033    THE GEO D WARTHEN BANK
                                                                 User:      3897   KAREN WILSON

Customer                                                         Belationshio

HFATHFR DFAN HFI TON                                             Borrower                          $   S




                                         -    uth&4; cLaaghtvt
Date           Item Changed              From                                 By

                                         P
11/26/2018     Added note record         skipping draft for 11/30 since       DEBRA HELTON
1221                                                                          0242

11/26/2018     Funds transfer changed    From:           Amount               DEBRA HELTON
1220                                     220.00                               0242
                                         Tc:674 Times:999 Days:014
                                         12/14/18

03/23/2018     Change name               Internet access off                  DEBRA HELTON
1302           relationship              Internet access on                   0242

03/23/2018     Change name               HEATHER U HELTON                     DEBRA HELTON
1302           relationship              <nothing>                            0242




                                                                                              Page I1of 1
Generated on     10/11/2019 3:30:13 PM
                                                                                             GDWB 000464
                Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 218 of 230
Kim i. Baucom

From:                            Kim B. Baucorn
Sent                             Tuesday, September 04, 2018 3:31 PM
To:                              GDWB
Subject:                         Account Reminder



Please remember that as an employee of the bank, you are not permitted to make changes to anything pertaining to
relatives or immediate family members. This includes teller transactions, account transfers, and any maintenance changes
including loans. If you find something that needs to be changed, please have someone else in the necessary department
handle the change. Feel free to let me know if you have any questions or concerns about atransaction.


Thanks!


IC.nbertg 13. 6wcon AAP
Vice President of Operations
Internal Auditor/Asst. BSA Officer
Enterprise Risk Manager
The Geo. Li Worthen Bank
216 N. Harris St
Sandersville, GA 31082
478-552-6906
478-553-0961 Ext. 2013
Fax 478-552-2728




                                                                              DEFENDANTS


                                                                          I1nj-kNtr
                                                                                 EXHIBIT
                                                             1

                                                                                                  GDWB 000446
                                                                          L :Zia SB                     Def Ex. 6
   Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 219 of 230




                                 DISPLINARY WARNING




DATE ISSUED:                  May 13, 2019

ISSUED BY:                    Ken Bibb

ISSUED TO:                    Debra D. Ilelton

EMPLOYEE'S POSITION:          Vice President/Compliance Officer



This warning is being issued to you as it result of your violation of certain bank policies.
Specifically, the bank's policy with regard to an employee either transacting their own bank
business or that of relative. The hank's EMPLOYEE HANDBOOK sets forth the following:


"All employees should assume the position of regular customer when handling their
personal bank business. All transactions should be handled in the normal over-the-counter
procedure. No employees will be permitted to transact their own or arelative's hank
business (including boyfriend, girlfriend, or partner)."

The attached information sets forth the dates of personal bank business and the
transactions performed by you on each date in violation of the bank's policy with regard to
same.

Effective immediately you are expected to adhere to this policy and refrain from such
behavior going forward. Failure to demonstrate immediate and sustained compliance with
regard to bank policy will result in further disciplinary action, up to and including
dismissal.



By your signature below, you acknowledge this violation and what is expected of you in the
future.



DATE:     5-13-         9
                        \oiq

DATE:




                                                                            0
                                                            DEFENDANT'S
                                                        -     EXHIBIT
                                                            '7 Ffeifon
                                                                                GDWB 000466
                                                      )&I8'Iaa.             4         Def Ex. 7
       Case 5:21-cv-00404-MTT Document 15-3 Filed 09/16/22 Page 220 of 230


•KU11BTF "A                           RE:   DEBRA HELTON ***_**_0242


 Monday, Nay L., 2019


 RE:     Disciplinary Warning / Debra Helton



 Ken Bibb, Lamar Doolittle and Imet with Debra this morning to discuss apolicy
 violation as well as other points of concern. The policy violation had to do
 with her transacting her own business or that of her family members. See
 attached.

 In further discussion. Ken advised Debra that she is to focus completely on her
 compliance duties and to leave the other department heads to handle their area
 of responsibility. He further slated that her loan portfolio would be divided up
 among other loan officers in the near future, so that she could focus primarily
 on compliance issues only.



 lie reemphasized the importance of her being present at the hank more than
 she has in the past (i.e. attending multiple conferences, out sick or vacation
 being taken consecutive with conferences).

 Ken further stated that Banc l'ac maintenance issues and/or the setting up of
 new bank products would be delegated to Ashley Ilaynes, as the Loan 0 p
 Manager, and she may he called upon the help Ashley with taking on that new
 role. Lamar has removed aconsiderable amount of admin privileges from
 Debra and will monitor the issue accordingly.

 In further discussion, Ken reminded Debra that each of us should be respectful
 when talking to our fellow co-workers and that angry outbursts will not be
 tolerated. Each bank officer is to maintain aprofessional and levelheaded
 demeanor at all times.




                                     CONFIDENTIAL
                                                                       GOWB 000310
  Case 5:21-cv-00404-MTT Document
                         4'       15-3 Filed 09/16/22 Page 221 of 230




Sent:                    Fri, 17 May 2019 11:00:57 -04:00
To:                      Ken Bibb (KBIBB@GDWBANK.NE1)
Cc:                     Chris Irwin
Attachments:             Information requested, RE: EXTERNAL: call codes




May 17, 2019
Good morning.
Iwould like to discuss our Monday morning meeting and see if Ican get some answers to questions I
have tossed around in my mind for aweek.


Alter 30 years of employment Ihave never been so devastated but lam fully aware that Idid do and
knowledge completely the transactions until further review.


Alter discussing the funds transfer addition and change, this is nothing that could not have been done
on my phone or any computer worldwide thru my internet banking. Idid sign into the internet banking
and tried to set up scheduled transactions. Icould not figure it out and even asked Lamar if we had any
instructions for doing this. There are no instructions and not user friendly for me. It was aknee jerk
reaction to do it at my computer, after trying desperately to do it online. Nonetheless lam guilty of
setting up transfers and deleting.


Heather name change- After reviewing report 85 and discussing the report with FIS there were no
changes to Heather's account name. Her name was changed 9/10/18 by Krystal Pittman. This was an
inquiry to Heather's account reviewing the collateral screen and adding info Lops is not adding. Ihave
asked Ashley twice Iknow to please add this info while the loan is being added and her reply is it does
not matter or make adifference. However the collateral subsystem is agrowing product in the AS world
and at any time these fields can provide information to the loan officer. Currently if everything was
completed you could look at the customer in BancPac and tell what collateral they had available and the
amount available to process another loan.


During our meeting there was no discussion of removal of any of my administrative rights. When I
returned to my computer everything had been completely wiped away and/or deleted. Due to the
conversation in your office, Iunderstand the removal of administrative rights in BancPac but not FLO.
There was no discussion of any FLO problems or issues with the FLO product. We moved to this loan
document processing in 2009 Ibelieve. This product was not being monitored and updated so we began
having issues with some documents. At that time, Ibegan to study the program and make changes
needed to run the loan processing smoothly. Ihave considered this my baby and some fore warning
that it was being taken away would have been nothing but considerate. The only issue that Ican think
could be the problem is the setup of anew product that Idiscussed with you before setup. This new
product was created to straighten out the call codes brought to my attention from an FIS email that
were in the wrong product (see attached). Ieven discussed with you that you would need to know the
amounts being moved and the call report code that would be moved from and to because someone




                                                                                         E
would be calling from FDIC asking why our numbers had changed so much from the previous call report.
Your reply was to move forward and let me know. No this is not my job, but Ihappen to be at this time
the only employee that is watching the call codes on new loans to be sure they are in the right call code
field.( Ihave given these changes to Ashley.)


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This is not my job is aremark that you will not hear me say. Iwas raised that if there is something that
needs doing then you do it.


The E-Oscar program is aprogram where credit reporting companies submit disputes on their credit
reports. At one time Iwas receiving the email concerning these disputes and somehow they just
stopped coming. Fair Credit Reporting act is apart of loan compliance. Ashley is the only person set to
change credit reports and this is fine, but no one is monitoring the reports. This is asubject that FDIC is
beginning to monitor and as Isaid in the meeting we need to be sure it is monitored. Iwould like to
make anote that this responsibility is being transferred to the "Deposit Operations Manager". Also
when customers enter the bank with credit report disputes, the loan officers and loan assistants can
make those changes in Kroll as well. Ashley will need copies of these changes. Ihave been making these
corrections and giving Ashley acopy of the changed credit report for her files. This process is pretty
much instant.


Attitude   -   Ihave addressed my attitude reminding myself every day when Ienter the building to have
self-discipline regarding attitude.   -   Not to mention we all have an attitude when the last button is
pushed.
To be questioned why Ineed access to E-Oscar is understandable but to be denied when the Fair Credit
reporting act is apart of compliance is not understandable.


Ialso asked the question if this was aprobationary period to be sure Idid nothing else wrong or a
permanent suspension. Ihave not received your answer but Ihave read between the lines and know
that it is permanent. Iwill just work harder to be abetter compliance officer.


For thirtyyears Ihave worked and treated thisjob (bank) as much my own knowing that it is not, butto
make sure everything that Iknew was corresponded to other employees and when new products or
services were adopted to embrace them and learn as much as possible. When customers were told they
could not be helped, usually with extra time and effort there problems could be resolved. (Priscilla credit
card payment) (JoAnne Mathis refund of $1700+ in fraudulent ACH insurance drafts).


Iappreciate my job and can promise you Iwill do it to the best of my ability. Ido understand now that
loan compliance isthe only thing Ishould be concerned with and making sure all loans are correct. Iwill
also make sure that the training for loan compliance and any other compliance training is done
annually. If there are any other job responsibilities that Ihave left out please let me know.


Respectfully submitted:


Debra D. Helton


Je6taJ?. /te1ton

AAP, ACT Specialist
Vice President/Corn pi lance Officer
NMI.S #433212


"It takes less time to do at hing right than to explain why you did it wrong." Henry Wadsworth
Longfellow




                                                                                                              G DWB 000779
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The Geo. D. Warthen Bank
NMLS Co. IDIt 408904
P.O. Box 637
216 N Harris St.
Sandersville, GA 31082


Phone     -   478-552-6901 x 2009
Fax   -   478-552-8517




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From:                     Brieno, Cynthia
Sent:                     Wed, 01 May 2019 11:05:26 -04:00
To:                        Debra Helton
Subject:                  RE: EXTERNAL: call codes
Attachments:              The Geo D Warthen Bank bk 033 product vs call code.docx




Hi Debra,
This may help you also.
I'll give you acall to review.
Thank you


From: Debra Helton <dheltoncPGDWBANK.NEr>
Sent: Wednesday, May 01, 2019 10:03 AM
To: Brieno, Cynthia <Cynthia.Brieno@fisglobal.com>
Subject: EXTERNAL: call codes
Importance: High


Ithink Ihave fixed the problem. Iwent into bank maintenance and selected the loan products for the
information. If this is not correct please let me know. Also when should the customer receive SCRA
disclosure, Ihave been told those are not printing with past dues.


J)e&afi. c/is/ton

PAP, ACT Specialist
Vice President/Compliance Officer
NMLS 4433212


"it takes less time to do athing right than to explain why you did it wrong." Henry Wadsworth
Longfellow




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Sandersville, GA 31082


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Fax   -   478-552-8517


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use the message in any manner, and (iii) noti f ythe sender immediately. In addition, please be
aware that any message addressed to our domain is subject to archiving and review by persons
other than the intended recipient Thank you.




                                                                                                         G DWB_000783
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File Maintenance    -   Customer Level   -   Name Record

 File Maintenance



  Date                         Item Changed                Fr om                      By
                                                           TO
                                                                                      DEBRA HELTON
  04/22/2019 11:32            Coll RE lnstrumentType                                  0242

  04/22/2019 11:32             Coil internal accounti      No
                                                           Yes                        DEBRAHELTON
                                                                                      0242


                                                                                      DEU RA HELTON
  04/22/2019 11.32             Coll Pledged Percent
                                                                                      0242
  04/22/2                                                                       DEBRAHELTON
            01911:
              Coll PledgedAmount                                             0242
                                                                                DEBRAHELTON

  04122/2019 11:32             Coll Original Value                                    0242

                                                           Not Required               DEBRAHELTON
  04/22/2019 11:32             Coll Insurance Required     Required
                                                                                      0242

                                                           4/08/2019                  DEBRAHELTON
  04/22/2019 11:32             Coll Change Date            4122J201
                                                                                      0242
                                                                                      DEBRAHELTON
  04/22/2019 11:32             Coll Current Value
                                                                                      0242
                                                           HELTON      -042219        DEBRAHELTON
  04/2212019 11:32             Collateral System           Changed, 04/22/19
                                                                                      0242


File Maintenance — Account Level

File Maintenance



  Date                        Item Changed                 Fr om                      By
                                                           To
 04/2212019 11:16                                          TOMCTQI POI-AZ TQXGLZDEBRAHELTON
                              Change name relationship     <nothing>                  0242




                                                                                             GDWB_000781
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File Maintenance       -   Customer Level    -    Name Record Collateral level

    Linked


                                                                               Amount Pledged   Linked To                        Total Balance        Dale
     Prionty#     Collateral Record Type           Collateral Owners
     Status       Description                                                  Avalableto Lend.                                  Number of Loans      Date

                 2-Real Estate                      FERN DEN"J HARDING
     Active      003 DM10102 HOI More.                                                                                                              1 04/2:




RPT 085 from 4/22/19
    Date      Time            User ID User Name        Station   IP address        Request          Request data   Result code and description
    4/22/2019 11.13:00 AM        242 DEBRA HELTON 0005321        172.020.053.021   KAMEIND                                                   5515
    4122,2019 11 .
                 13:00 AM        242 DEBRA HELTON 0D05321        172.020.053.021   INQACCT                            HEATHER DEAN HELTON
    4/22,2019 1113:00 AM         242 DEBRA HELTON 0005321 172.020 063.021          INQACCT                            HEATHER DEAN HELTON
    41220019 1113:00 AM          242 DEBRA HELTON 0005321 172,020 053.021          INQTRANS
    4/22,2019 11:14:00AM         242 DEBRAHELTON 0005321         172.020.053.021   NAMEAREL                                                  5515

    4122/2019 11:14:00 AM        242 DEE'RAHELTON 0005321 172.020.053.021          NAMEST\tST
    4/22,2019 11:14:00 AM        242 DEBRA HELTON 0005321        172.020.053.021   INQNEACLS1
H   412212019 11.15:00 AM        242 DEBRA HELTON 0005321 172.020.053.021          NAMEINQ                                                   5515
'4122/2019 11 .
              16:00 AM           242 DEBRA HELTON 0005321        172.020053.021 NAMEINQ                                                      5515
    4122/2019 11:16:00 AM        242 DEBRA HELTON 0005321 172.020.053.021          NAMERELA                                     55150000000000
4 412212019     11:16:00AM       242 DEBRA HELTON 0D05321 172,020 053.021          CHGACCT                             HEATHER DEAN HELTON
 4122/2019 11:16:00 AM           242 DEBRA HELTON 0005321 172,020,053.021          CHOENOTICE
14122/2019 11.16.00 AM           242 DEBRA HELTON 0005321 172,020,053.021 INQENO1'ICE
    4122/2019 1117:00AM          242 DEBRA HELTON 0005321 172.020053.021 NAMEAREL                                                            5515
    4/2212019 11:17:00AM         242 DEBRA HELTON 0005321        172 .020 053.021 NAMEINQ                                                    5515
    4/2212019 11:17:00 AM        242 DEBRA HELTON 0005321 172.020 053.021          NAMEINQ                                                   5515
 4/22/2019 11:17:00 AM           242 DEBRA HELTON 0D05321 172,020,053.021          NAIAEINQ                                                  5515
14/22/2019 11.17.00 AM           242 DEBRA HELTON 0005321        172.020.053.021   ll'IQACCT                           HEATHER DEAN HELTON
    4122/2019 11:17:00 AM        242 DEBRA HELTON 0005321        172.020.053.021   INQLACCT                            HEATHER DEAN HELTON
    4/22/2019 11:17:00 AM        242 DEBRA HELTON 0005321        172.020.053.021   INQACCT                             HEATHER DEAN HELTON
    4,2212015 11:17:00 AM        242 DEBRA HELTON 0005321 172,020,053.021          INQNEVVCLST
4 4122/2019     11:17:00 AM      242 DEBRA HELTON 0005321        172.020.053.021   INQTRANS
    4/22/2019 11:32:00 AM        242 DEBRA HELTON 0005321 172.020.053.021          NAMEAREL                                                  5515
    4,22/2019 11:32:00 AM        242 DEBRA HELTON 0005321 172.020.053,021          NAMEINQ                                                   5515
    4(22/2019 11.3200 AM         242 DEBRA HELTON 0006321 172.020.053.021          NAMEINQ                                                   5515
    4,22/2019 11:3200 AM         242 DEBRA HELTON 0005321 172.020.053.021          NAMEINQ                                                   5515
    4/22/2019 11:32:00 AM        242 DEBRA HELTON 0005321 172.020.053.021          NAMEINQ                                                   5515

    4/22/2019 11:32:00 AM        242 DEBRA HELTON 0005321 172.020.053.021          ll'IQNEV'JCLST
    4/22/2019 11.3200 AM         242 DEBRA HELTON 0005321 172.020.053.021          INQNEVVCLST
    4/22/2019 11:35:00 AM        242 DEBRA HELTON 0005321 172,020,053.021          INQXFERSFR
    4/22/2019 11:35:00 AM        242 DEBRA HELTON 0005321 172.020.053.021          INQXFERSTO




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October 16, 2019




On April 11, 2019, Debra Helton was the officer in charge of closing the bank. It was sometime after
5:00 when she came to the teller line. A teller in the drive-thru was having problems balancing and had
called inside needing assistance. Since this is one of the closing officer responsibilities, Debra was asked
if she would go to the drive-thru and recount the teller's drawer. At that moment, she replied, "SHIT', I
have a"DAMN" appointment. Afterwards, she stormed out and went to the drive-thru. The incident
was very upsetting to several of the tellers, and one made the remark "I don't work well when people
are using profanity and yelling at me".   The department supervisor was on the phone with the bank's
processor at the time of the outburst. She noticed the tellers' reactions and tried to allay the situation
by replying, "Don't take it personal everyone, because no doubt Debra's upset with me because I
refused to close the bank this afternoon for her". The following witnesses were present during this
incident:


1. Belinda Salisbury


2. Pat Herringdine
                                                                 4&av& oi/vthw
3. Starkayla Wiley


4. Alice Mathews (Head Teller)                       &thhM4t If), flu)?t
5. Jimmy Lewis (Maintenance)
                                                     4 Jtth2t0 -Pt                            LI
6. Denise Griswell (Dept. Supervisor)                          mapb7 q.'1t       ,

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From:                     Debra Helton
Sent:                     Sat, 23 Mar 2019 00:07:49 -04:00
To:                       Ken Bibb
Subject:                  Re: FDIC Compiance Exam Response




Iwill call her no problem. Ihave been in conversations with John Henwood and Matias Cerda on
several different issues and the response has completely slipped my mind. It will be in the mail
on Tuesday. Iwill call her Tuesday without fail.

Sent from my iPhone

On Mar 22,2019, at 2:09 PM, Ken Bibb <kbibb(Wgdwbank.net> wrote:



        Debra,


        Ms Adger from the FDIC called today to follow up on the compliance exam response that

        was due on March l.     Itold her Iwould speak with you about it and have you return her
        phone call. Could you please call her at 678-916-2422. Itold heryou were out of the bank
        and would call her as soon as you got back, so please try to do this first thing Tuesday
        Morning when you return and let me know that you have made the call. Also, please
        complete the response and copy me so that Ican have for my records. If for some reason
        you are not able to do this please let me know so that Ican follow up with Ms Adger.


        Thanks,


        Kenneth A. Bibb
        President
        The Geo. D. Warthen Bank
        P0 Box 637
        Sandersville GA 31082
        Ph 478-552-6901 FAX 770-234-6744




                                                                                              DEFENDANT'S       *
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Date of Incident: 10/07/19


Background Info: Debra keeps fussing about the payment collection sequence for the loans. She wants
me to go in and make ahard code fix for the overpayments on commercial loans to where the default
for overpayments is "Principal, Interest, Late Fees, Escrow". Right now it is defaulted to "Principal,
Interest, Escrow, Late Fees". Ihave told her before that this is   non-issue and that the system would
know how to disburse any overpayments. If the loan doesn't have escrow, it moves to the next option.
It doesn't make adifference which one is selected.


Today's Situation:
Debra came up to my office door raising her voice and talking in acondescending tone, and wanted to
know if Iwas going to change the payment collection for the loans. She proceeded to tell me that she
had talked to Lamar, Ken, and me, and that no one would make the change.        Ireminded her again that
it works the same way no matter which choice is selected and that it was not causing any issues. She
told me that she is covering herself and that it needs to be right. She said she was tired of writing up the
change sheets for it and that it was awaste of time for her. Itold her that it wasn't acompliance issue
and that she really didn't even have to worry about writing up asheet for that. She told me, while
waiving her arms all around to my department, that "they" needed to do it right. Itold her that they
aren't the only ones that add loans and that it could be someone else that was doing it. She said "well,
there needs to be some training"! We went back and forth about it until she finally walked out. She
went out to the lobby then came back here and turned off her light, closed her door, and said that she
would see us later. Then she left.


Situation during the week of September    z3d:

After Iget back from vacation, Iget informed by Ivan and by Peggy (separately) that Debra had been

raising her voice at Ivan about the rates on the ARM loans. She asked him about something with them
and when he told her, she got upset ... Iguess because he didn't go along with what she said. So she
starts hollering at him that they are all wrong and that Ashley can just worry about it.




(2) OTHER EMPLOYEES IN THE LOAN DEPARTMENT WITNESSED THIS ENCOUNTER:




                                                                                       I
                     IVAN GONZALEZ & PEGGY VEAL




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Ashley Haynes


From:                             Debra Helton
Sent                              Monday, October 07, 2019 10:26 AM
To:                               Ashley Haynes
Subject:                          Compliance



Hey after thinking about it, this is not acompliance issue so don't worry about making that change. Iwont check that
part any more.
Iwill just do the exceptions on the loan code sheet and documents that go with the real estate loans. This will keep it
simple.
Thanks so much.


Sent from my iPhone




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